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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

                                              )
      MAKE THE ROAD NEW YORK, et al., )
                                              )
                                              )
                   Plaintiffs,                )
                                              )
                   v.                         )                         No. 19-cv-2369 (KBJ)
                                              )
      KEVIN McALEENAN, Acting Secretary )
      of the Department of Homeland Security, )
      et al.,                                 )
                                              )
                   Defendants.                )
                                              )

                                             MEMORANDUM OPINION


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I.       INTRODUCTION

         Administrative agencies have long been required by law to adhere to certain

procedural standards when they evaluate options and assess alternatives with respect to

the implementation of policy objectives. See, e.g., 5 U.S.C. § 553(b)–(c) (requiring

agencies to provide notice and solicit public participation as part of agency rulemaking,

commonly known as “notice and comment”). This is by design; statutory requirements

that pertain to how an agency conducts its internal deliberations are intended to promote

transparency and to prevent arbitrary decision making by unelected government

officials. See Batterton v. Marshall, 648 F.2d 694, 703 (D.C. Cir. 1980) (“The essential

purpose of according . . . notice and comment opportunities is to reintroduce public

participation and fairness to affected parties after governmental authority has been

delegated to unrepresentative agencies.” (footnote omitted)); see also Wong Yang Sun v.

McGrath, 339 U.S. 33, 40–41 (1950), superseded by statute on other grounds

(explaining that the Administrative Procedure Act, 5 U.S.C. § 551 et seq., was enacted

to supplant unregulated rule making by independent commissions, and that one of the

Act’s “fundamental . . . purpose[s]” was “to curtail and change the practice of

embodying in one person or agency the duties of prosecutor and judge”). Thus, even

when an agency has the authority to make a final policy decision, procedural mandates

that constrain its decision making processes operate as safeguards of individual liberty,

and therefore, are entirely consistent with foundational democratic and constitutional

norms.

         The instant case requires this Court to determine whether, inter alia, the

Department of Homeland Security (“DHS”) unlawfully dispensed with core procedural
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prerequisites when it suddenly announced that the agency was designating

undocumented non-citizens who have been in this country for up to two years, and who

are located far beyond the border, as eligible for “expedited removal” from the United

States. Designating Aliens for Expedited Removal, 84 Fed. Reg. 35,409, 35,409 (July

23, 2019). 1 Generally speaking, expedited removal is the statutory authorization that

enables federal immigration officers to slate certain undocumented non-citizens for

rapid deportation “without further hearing or review[.]” 8 U.S.C. § 1225(b)(1)(A)(i).

       Prior to July 23, 2019, DHS had authorized expedited removal with respect to

undocumented non-citizens who arrived in the United States by land only if such

persons were encountered near the border and had been in the country for no longer

than 14 days. See 84 Fed. Reg. at 35,409. In a “Notice” that DHS published in the

Federal Register on July 23, 2019 (more than two and half years after President Donald

Trump issued an executive order that demanded that DHS expand its established

expedited removal practices), the agency instantly authorized line immigration-

enforcement agents to apply expedited removal to non-citizens encountered anywhere in

the United States for up to two years after the non-citizen arrived in the United States,

effective immediately. See id. This abrupt change in the official policies that govern

DHS’s deportation practices is the subject of the legal claims that have been presented

to the Court in this case.

       Three immigrant-rights organizations—Make the Road New York, La Union Del

Pueblo Entero (“LUPE”), and WeCount! (collectively, “Plaintiffs”)—have filed the


1
  The Court uses the term “undocumented non-citizens” throughout this Memorandum Opinion to refer
to persons born abroad—the federal immigration statutes call them “aliens”—who are deemed
“inadmissible” under 8 U.S.C. §§ 1182(a)(6)(C) or 1182(a)(7) because they have not received
authorization to come into, or remain, in the United States.


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instant lawsuit against DHS, its Secretary, and other agency officials (collectively,

“DHS” or “Defendants”). Plaintiffs allege, among other things, that DHS’s July 23rd

Notice violated the Administrative Procedure Act (“APA”), because the agency did not

engage in notice-and-comment rulemaking prior to issuing the July 23rd Notice, and

also because DHS failed to take the established flaws in the preexisting expedited

removal system into account before it reached the conclusion that the expedited

removal process should be applied to a broader category of non-citizens. (See Compl.,

ECF No. 1, ¶¶ 129–34, 149–51.) 2

        Before this Court at present is a motion for a preliminary injunction that

Plaintiffs have filed “to prevent severe and irreparable harm” to their members while

the parties litigate the myriad legal issues that this legal action raises. (Pls.’ Mot. for a

Prelim. Inj. (“Pls.’ Mot.”), ECF No. 13, at 2.) 3 The array of legal issues that this Court

must ultimately decide includes whether the APA even applies to the expedited-removal

designations that the DHS Secretary makes under 8 U.S.C. § 1225(b)(1)(A)(iii)(I), and

the parties have made various arguments that, at bottom, relate to that key question. As

a threshold matter, Plaintiffs contend that this Court has subject-matter jurisdiction over

their APA challenges under the circumstances that are expressly addressed in the

Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et seq., and that at least




2
  Plaintiffs also assert that, under the Due Process Clause of the U.S. Constitution, the July 23rd Notice
provides insufficient process to people who are apprehended in the interior of the United States (far
from the border), and who have lived continuously in this country for extended periods of time. (See,
e.g., Pls.’ Mem. in Supp. of Mot. for a Prelim. Inj., ECF No. 13-1, at 48–49.) This Court need not
evaluate the merits of Plaintiffs’ Due Process claim, or their similar Suspension Clause accusation, for
the reasons explained in this Memorandum Opinion (see infra, n.12), and it has not done so.
3
 Page-number citations to the documents that the parties have filed refer to the page numbers that the
Court’s electronic filing system automatically assigns.



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seven of their members have Article III standing to pursue the instant APA claims.

Plaintiffs also assert that they have a likelihood of success on the merits of their claims

that DHS has violated the APA, and that without a preliminary injunction to prevent

enforcement of the policy change announced in the July 23rd Notice, their members

will suffer irreparable harm. Defendants respond that this Court cannot review

Plaintiffs’ claims consistent with its power under Article III, either because Congress

intended to preclude the exercise of subject-matter jurisdiction over the Secretary’s

expedited removal designations or because Plaintiffs lack standing and a cause of action

to bring these kinds of claims. Defendants also maintain that Plaintiffs are unlikely to

succeed on the merits of their contention that the July 23rd Notice was procedurally

defective or otherwise violates the law.

       For the reasons explained fully below, Plaintiffs’ motion for a preliminary

injunction will be GRANTED, and as a result, DHS will be PRELIMINARILY

ENJOINED from enforcing the expedited removal expansion that the Acting DHS

Secretary prescribed in the July 23rd Notice while the instant claims are being litigated,

pending further order of this Court. In short, the Court finds that Plaintiffs are likely to

be able to establish successfully that the Court has subject-matter jurisdiction under

section 1331 of Title 28 of the United States Code; that the INA’s section 242 (8 U.S.C.

§ 1252) does not strip the federal courts of jurisdiction over APA claims like the ones

that Plaintiffs are asserting; that the APA, rather than the INA, provides the cause of

action for Plaintiffs’ procedural claims; and that Congress did not intend to commit

implementation of the expedited removal process it authorized entirely to agency

discretion such that the APA cause of action is precluded. In addition, given Plaintiffs’




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identification of members who attest to being subject to the challenged policy, these

Plaintiff-organizations are also likely to be able to demonstrate that they have

associational standing, and the Court further finds, at least preliminarily, that the effect

of the July 23rd Notice is likely sufficiently binding to qualify as a rule to which the

APA’s notice-and-comment procedures apply.

       Plaintiffs are also likely to succeed on the merits of their contention that the July

23rd Notice is arbitrary and capricious, and therefore unlawful, because DHS did not

address significant flaws in the expedited removal system, nor does it appear that the

agency considered the potential impact of the expansion of that system on settled

undocumented non-citizens and their communities. Unlike private citizens, government

officials are required by law to engage in reasoned decision making that takes into

account all of the facts and circumstances that are relevant to their consequential policy

determinations. Based on the record presented here, the Court finds it likely that, with

respect to the July 23rd Notice, DHS failed to do so.

       The Court also concludes that a preliminary injunction is warranted while this

lawsuit is pending, because Plaintiffs have demonstrated that they have members who

are subject to the expanded expedited removal policy, and that those members, and

others, might suffer irreparable harm in the absence of a preliminary injunction. The

record also supports a finding that the fear caused by DHS’s current threat to commence

enforcement of its expanded expedited removal policy may be presently harming

Plaintiffs’ members and others in immigrant communities. Moreover, given the

potential for mistaken application of the expedited removal practice to persons who are

not otherwise subject to deportation, which has serious implications for society writ




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large, the Court finds that interim injunctive relief is in the public’s interest, while, on

the other hand, it is unlikely that the issuance of such an injunction would harm DHS or

the public to such an extent that that injury would outweigh the benefits of preserving

the status quo while this matter is under review.

       Finally, in ordering the preliminary relief that Plaintiffs have requested, this

Court squarely rejects DHS’s argument that any injunctive relief that is issued in this

case, whether preliminary or permanent, can only prohibit application of the agency’s

unlawful rule as it applies to these plaintiffs. (See Defs.’ Mem. in Opp’n to the Mot.

for Prelim. Inj. (“Defs.’ Opp’n”), ECF No. 25, at 75–76.) This contention is not only

flatly inconsistent with the plain language of the APA, it is also entirely impractical

when invoked in the realm of judicial review of administrative action. The APA states

in no uncertain terms that, to remedy defective rulemaking after a plaintiff successfully

challenges the process that an agency has used to promulgate a rule, the reviewing court

must “hold unlawful and set aside” the challenged agency action, 5 U.S.C. § 706(2),

and that is precisely what this Court’s injunction does, as a preliminary matter, pending

full litigation of the issues in this case. This statutorily prescribed remedy has nothing

to do with the standing or status of the plaintiff-challengers. Nor is there anything

“nationwide” about the resulting prohibition (Defs.’ Opp’n at 75); indeed, such an

injunction pertains only to an agency’s act of enacting the defective rule; it is addressed

only to the agency that has failed to adhere to the required rulemaking procedures; and

it binds only that particular entity with respect to the rule in question. Thus, the

injunctive relief that the APA plainly prescribes is a targeted restriction that, by statute,




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essentially treats an unlawfully promulgated agency rule as void ab initio due to the

agency’s failure to adhere to the APA’s procedural mandates.

      Apparently unwilling to accept that required result, the government has conjured

up a strawman by insisting that, even when a plaintiff successfully establishes that an

agency’s rulemaking is fatally flawed, federal district courts must avoid enjoining an

agency rule on a “nationwide” basis. (See Defs.’ Opp’n at 75.) As explained below,

injunctions that invalidate procedurally deficient agency rules on APA grounds, and

thereby prohibit an agency from enforcing those rules, do no such thing. If this Court’s

Order preliminarily prohibiting DHS from enforcing the expedited removal policy the

agency announced in the July 23rd Notice reverberates nationally, that is simply and

solely because DHS previously decided to apply its potentially defective rule

nationwide.


II.   BACKGROUND

      A.      The Immigration And Nationality Act’s Expedited Removal Provision

      “The Immigration and Nationality Act sets forth the conditions under which a

foreign national may be admitted to and remain in the United States and grants the

Department of Homeland Security the discretion to initiate removal proceedings.”

R.I.L.-R v. Johnson, 80 F. Supp. 3d 164, 171 (D.D.C. 2015) (citing 8 U.S.C. §§ 1181–

82, 1184, 1225, 1227–29, 1306, 1324–25). With respect to the removal of unauthorized

non-citizens, the INA, which was enacted in 1952, has always generally provided that

“[a]n immigration judge shall conduct proceedings for deciding the inadmissibility or

deportability of an alien[,]” 8 U.S.C. § 1229a(a)(1), and in the context of such

proceedings before an immigration judge, the INA makes clear that non-citizens are to



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be afforded certain rights, including the right to counsel, to examine and cross-examine

witnesses, to present evidence, and to appeal, see id. § 1229a(b). However, 44 years

after the INA was enacted, Congress undertook an extensive border-security reform

effort that ultimately resulted in its adoption of a piece of legislation known as the

Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”), Pub.

L. No. 104-208, Div. C., Title I, 110 Stat. 3009-546 (1996), which authorized an

alternative, truncated process for the removal of certain non-citizens.

       To understand the IIRIRA’s impact, it is helpful to have a sense of what

preceded it. “Before IIRIRA’s passage, United States immigration law established ‘two

types of proceedings in which aliens can be denied the hospitality of the United States:

deportation hearings and exclusion hearings.’” Vartelas v. Holder, 566 U.S. 257, 261

(2012) (quoting Landon v. Plasencia, 459 U.S. 21, 25 (1982)). “The deportation

hearing [was] the usual means of proceeding against an alien already physically in the

United States, and the exclusion hearing [was] the usual means of proceeding against an

alien outside the United States seeking admission.” Landon, 459 U.S. at 25.

Deportation hearings provided more procedural safeguards than exclusion hearings did,

such as notice, the right to appeal, and the right to designate the country of deportation.

See id. at 26. However, “[i]n IIRIRA, Congress abolished the distinction between

exclusion and deportation procedures and created a uniform proceeding known as

‘removal.’” Vartelas, 566 U.S. at 262 (citing 8 U.S.C. §§ 1229, 1229a; Judulang v.

Holder, 556 U.S. 42, 45–46 (2011)).

       The impetus for this statutory change was, apparently, Congress’s determination

that “[e]xisting procedures to deny entry to and to remove illegal aliens from the United




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States [were] cumbersome and duplicative[.]” H.R. Rep. No. 104-469, at 107 (1996).

Thus, Congress reformed those procedures in the IIRIRA, and created a removal

process that contained procedural options that varied based on the undocumented non-

citizen’s arrival status. The House Committee on the Judiciary explained at the time of

the IIRIRA’s enactment that “[a]liens who arrive in the United States with no valid

documents will be removed on an expedited basis[,]” except for those “with credible

asylum claims[,]” who would be allowed to pursue those claims, and “[f]or illegal

aliens already present in the U.S., there will be a single form of removal proceeding,

with a streamlined appeal and removal process.” Id. at 107–08; see also O.A. v. Trump,

Civ. No. 18-2718, 2019 WL 3536334, at *3 (D.D.C. Aug. 2, 2019) (noting that,

“[a]mong other changes, IIRIRA established two types of removal proceedings”).

          As relevant here, the IIRIRA explicitly designates certain non-citizens as

potentially subject to the fast-track, near-immediate ejection removal procedure that is

commonly referred to as “expedited removal.” Specifically, Congress amended section

235 of the INA (presently codified as 8 U.S.C. § 1225) to address “Inspections of aliens

arriving in the United States and certain other aliens who have not been admitted or

paroled[,]” and to provide for the “[s]creening” of such individuals, as follows:

          (i)     In general

                  If an immigration officer determines that an alien . . . who is
                  arriving in the United States or is described in clause (iii) is
                  inadmissible . . . , the officer shall order the alien removed
                  from the United States without further hearing or review
                  unless the alien indicates either an intention to apply for
                  asylum . . . or a fear of persecution.

8 U.S.C. § 1225(b)(1)(A)(i). 4 Thus, under the IIRIRA’s expedited removal process, “an


4
    The inadmissibility determination under this provision is governed by Title 8, sections 1182(a)(6)(C)


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arriving alien can be denied entry into the U.S. by an immigration officer because of

misrepresentation, use of fraudulent documents, or lack of any documents[,]” and “[t]he

alien may be ordered removed without a hearing before an immigration judge, and

without administrative or judicial review.” H.R. Rep. No. 104-469, at 157.

        Notably, under federal immigration statutes and their accompanying regulations

as they currently exist, there is a substantial difference between being permitted to

engage in regular removal proceedings and being subjected to expedited removal.

“Regular, or ‘formal,’ removal proceedings allow aliens to challenge their removal in

administrative proceedings with various procedural guarantees, including the rights to

written notice of the charge of removability, to counsel, to appear at a hearing before an

immigration judge and to present evidence, to appeal an adverse decision to the Board

of Immigration Appeals (‘BIA’), and to seek judicial review.” O.A., 2019 WL

3536334, at *3; see also id. (explaining, further, that “[a]n alien placed in formal

removal proceedings may avoid removal by establishing, through the adversarial

process, that she is eligible for asylum, withholding of deportation, or some other form

of relief”). By contrast, the Code of Federal Regulations makes clear that, for

expedited removal, an immigration officer need only question and record the non-

citizen’s statement concerning her “identity, alienage, and inadmissibility,” 8 C.F.R.

§ 235.3(b)(2)(i), and allow the non-citizen to present evidence that she has been

admitted or paroled, see id. § 235.3(b)(6), before ordering the non-citizen removed.



and 1182(a)(7). The former makes inadmissible “[a]ny alien who, by fraud or willfully misrepresenting
a material fact, seeks to procure (or has sought to procure or has procured) a visa, other documentation,
or admission into the United States[,]” 8 U.S.C. § 1182(a)(6)(C), while the latter makes inadmissible
any immigrant who does not have “a valid unexpired immigrant visa, reentry permit, border crossing
identification card, or other valid entry document . . . and a valid unexpired passport, or other suitable
travel document or document of identity and nationality[,]” id. § 1182(a)(7).


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The immigration officer “will attempt to verify the alien’s status through a check of all

available Service data systems”; however, “[t]he burden rests with the alien to satisfy

the examining immigration officer of the claim of lawful admission or parole.” Id. 5

        The regulations do require that “[i]nterpretative assistance . . . be used if

necessary to communicate with the alien,” id. § 235.3(b)(2)(i), and if the non-citizen

“indicates an intention to apply for asylum, or expresses a fear of persecution or torture,

or a fear of return to his or her country, the inspecting officer shall not proceed further

with removal of the alien until the alien has been referred for an interview by an asylum

officer[,]” id. § 235.3(b)(4). Once the immigration officer orders the non-citizen

removed, a supervisor reviews the order before it is considered final, see id.

§ 235.3(b)(7), but there is no right to appeal of the order of removal or to any hearing

before an immigration judge, see id. § 235.3(b)(2)(ii).

        According to the House Judiciary Committee, when Congress adopted expedited

removal in the IIRIRA in 1996, it specifically found that rapid removal procedures were

“necessary” because “thousands of aliens arrive in the U.S. at airports each year

without valid documents and attempt to illegally enter the U.S.[,]” and it determined

that “[u]nless such aliens claim to be U.S. nationals, or state a fear of persecution, there

is no requirement under the Constitution or international treaty to do anything other

than return them, as promptly as possible, to where they boarded the plane to come



5
 If “[a]n alien[’s] claim to lawful permanent resident, refugee, asylee status, or U.S. citizen status
cannot be verified,” the non-citizen “will be advised of the penalties for perjury, and will be placed
under oath or allowed to make a declaration[.]” 8 C.F.R. § 235.3(b)(5)(i). Once this has occurred,
“[t]he immigration officer shall issue an expedited order of removal . . . and refer the alien to [an]
immigration judge for review of the order[.]” Id. Pending that review, “[t]he person shall be
detained[,]” unless deemed eligible for parole. Id.; see also id. § 235.3(b)(5)(iv). Also, “[t]here is no
appeal from the decision of the immigration judge” reviewing the immigration officer’s order of
removal. Id. § 235.3(b)(5)(iv).


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here.” H.R. Rep. No. 104-469, at 158. Thus, “[t]he purpose of [the IIRIRA’s expedited

removal] provisions is to expedite the removal from the United States of aliens who

indisputably have no authorization to be admitted to the United States, while providing

an opportunity for such an alien who claims asylum to have the merits of his or her

claim promptly assessed by officers with full professional training in adjudicating

asylum claims.” H.R. Rep. No. 104-828, at 209 (1996) (Conf. Rep.).

       B.     Agency Implementation Of The INA’s Expedited Removal Provision

       As noted, the statutory provision that authorizes expedited removal—

section 1225(b)(1) of Title 8 of the United States Code, which is also sometimes

referred to as “section 235(b)(1)” of the INA—specifically states that an undocumented

non-citizen is subject to removal without a hearing or review if he is “arriving in the

United States” or if he is “described in clause (iii)” of that provision. 8 U.S.C.

§ 1225(b)(1)(A)(i). Clause (iii), in turn, authorizes the Attorney General to “apply” the

expedited removal process to “any and all aliens” that fit a broad category of

undocumented non-citizens that Congress generally describes, “as designated by the

Attorney General[.]” Id. § 1225(b)(1)(A)(iii)(I). And the statute further describes the

category of persons from which the Attorney General may choose to designate classes

of individuals for expedited removal, as follows: “[a]n alien described in this clause is

an alien . . . who has not been admitted or paroled into the United States, and who has

not affirmatively shown, to the satisfaction of an immigration officer, that the alien has

been physically present in the United States continuously for the 2-year period

immediately prior to the date of the determination of inadmissibility[.]” Id.

§ 1225(b)(1)(A)(iii)(II).




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       The statute also states that the designation of which particular classes of “aliens”

will be subject to expedited removal within the scope of this provision will be made “in

the sole and unreviewable discretion” of the Attorney General and “may be modified at

any time.” Id. § 1225(b)(1)(A)(iii)(I); see also H.R. Rep. No. 104-828, at 209 (“The

provisions also may be applied, in the sole and unreviewable discretion of the Attorney

General, to an alien who has not been paroled or admitted into the United States and

who cannot affirmatively show to an immigration officer that he or she has been

continuously present in the United States for a period of 2 years immediately prior to

the date of the officer’s determination.”). To date, the Attorney General and DHS (the

agency to whom the Attorney General has now delegated his authority to make clause

(iii) designations) have identified classes of non-citizens that will be subject to the

INA’s expedited removal process, per section 1225(b)(1)(A)(iii), on four occasions.

               1.      Prior Section 1225(b)(1)(A)(iii) Expedited Removal Designations

       First, when the IIRIRA’s expedited removal provision initially went into effect

(on April 1, 1997), Attorney General Janet Reno opted to subject to expedited removal

only “arriving aliens” seeking entry into the United States. See 62 Fed. Reg. 10,312,

10,312–13 (Mar. 6, 1997). 6 Thus, no foreign national who was already inside the

United States and who had not been admitted or paroled was initially exposed to the

expedited removal process. See id. Moreover, the Attorney General expressly

“acknowledge[d] that application of the expedited removal provisions to aliens already

in the United States [would] involve more complex determinations of fact and [would]

be more difficult to manage”; therefore, the government sought “to gain insight and


6
 Attorney General Reno’s Notice also delegated her authority to designate who can be subject to
expedited removal to the Immigration and Naturalization Service. See 62 Fed. Reg. at 10,312.


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experience by initially applying these new provisions on a more limited and controlled

basis.” Id.

       In 2002, the Immigration and Naturalization Service invoked the authority that

had been given to it under section 1225(b)(1)(A)(iii) to designate as subject to

expedited removal “all aliens who arrive in the United States by sea, either by boat or

other means, who are not admitted or paroled, and who have not been physically present

in the United States continuously for the two-year period prior to a determination of

inadmissibility by a Service officer[.]” 67 Fed. Reg. 68,924, 68,925 (Nov. 13, 2002).

The agency justified this new designation by stating that it “believe[d] that

implementing the expedited removal provisions, and exercising its authority to detain

this class of aliens . . . , will assist in deterring surges in illegal migration by sea,

including potential mass migration, and preventing loss of life.” Id. at 68,924.

According to the agency, the designation “will deter additional aliens from taking to the

sea and traveling illegally to the United States. Illegal migration by sea is perilous and

the Department of Justice has repeatedly cautioned aliens considering similar attempts

to reject such a hazardous voyage.” Id. at 68,925.

       In 2004, DHS 7 exercised its designation authority once more, expanding

expedited removal beyond those individuals who arrive by sea, to include

“[a]liens . . . who are encountered by an immigration officer within 100 air miles of any

U.S. international land border, and who have not established to the satisfaction of an

immigration officer that they have been physically present in the U.S. continuously for



7
 In 2002, Congress abolished the Immigration and Naturalization Service, and thus transferred its
designation authority under the INA to DHS. See Homeland Security Act of 2002, Pub. L. No. 107-
296, 116 Stat. 2135 (Nov. 25, 2002); 6 U.S.C. § 557.


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the 14-day period immediately prior to the date of encounter.” 69 Fed. Reg. 48,877,

48,880 (Aug. 11, 2004). According to the agency, “exercising its statutory authority to

place these individuals in expedited removal proceedings will enhance national security

and public safety by facilitating prompt immigration determinations, enabling DHS to

deal more effectively with the large volume of persons seeking illegal entry, and ensure

removal from the country of those not granted relief, while at the same time protecting

the rights of the individuals affected.” Id. at 48,877. The agency maintained that

expedited removal is “a valuable tool[,]” and that, “[p]resently DHS officers cannot

apply expedited removal procedures to the nearly 1 million aliens who are apprehended

each year in close proximity to the borders after illegal entry”; the agency also

emphasized that “[i]t is not logistically possible for DHS to initiate formal removal

proceedings against all such aliens.” Id. at 48,878.

       DHS further acknowledged that “[t]his is primarily a problem along the southern

border, and thus the majority of such aliens are Mexican nationals, who are

‘voluntarily’ returned to Mexico without any formal removal order[,]” and “[b]ased

upon anecdotal evidence, many of those who are returned to Mexico seek to reenter the

U.S. illegally, often within 24 hours of being voluntarily returned[.]” Id. Additionally,

“[b]ecause DHS lacks the resources to detain all third-country nationals (aliens who are

neither nationals of Mexico nor Canada) who have been apprehended after illegally

crossing into the U.S. from both the northern and southern land borders, many of these

aliens are released in the U.S. each year with a notice to appear for removal

proceedings[,]” but, the agency noted, “[m]any of these aliens subsequently fail to

appear for their removal proceedings, and then disappear in the U.S.” Id.




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              2.     Acting DHS Secretary Kevin McAleenan’s Notice Of July 23, 2019

       DHS’s third and most recent expansion of the expedited removal designation

occurred on July 23, 2019, and is the subject of Plaintiffs’ complaint. On that date, the

Acting Secretary of DHS issued a “Notice” in the Federal Register that stated that he

was “exercising his statutory authority through this Notice to designate for expedited

removal the following categories of aliens not previously designated[,]” 84 Fed. Reg. at

35,409, effective immediately:

       [a]liens . . . who either (a) did not arrive by sea, are encountered by
       an immigration officer anywhere in the United States more than 100
       air miles from a U.S. international land border, and have not been
       physically present in the United States continuously for the two-year
       period immediately prior to the date of the determination of
       inadmissibility, or (b) did not arrive by sea, are encountered by an
       immigration officer within 100 air miles from a U.S. international
       land border, and have been physically present in the United States
       continuously at least 14 days but less than two years immediately
       prior to the date of the determination of inadmissibility.

Id. at 35,414; see also id. at 35,410. According to the Notice, this “New Designation”

(as the Notice refers to it) is intended to “harmonize the authorization for aliens

arriving by land with the existing authorization for aliens arriving by sea.” Id. at

35,409. Thus, while distance from the border, means of arrival, and the relative

recency of an undocumented non-citizen’s arrival in the United States had previously

been distinguishing factors that determined one’s risk of being subjected to expedited

removal, under DHS’s New Designation, an undocumented non-citizen who arrives by

land and is “encountered” anywhere in the United States “bears the affirmative burden

to show to the satisfaction of an immigration officer that the alien has been present in

the United States continuously” for at least two years, id. at 35,414, and if he is unable




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to satisfy this burden, he can be subjected to expedited removal, at the discretion of an

immigration official. 8

        Acting DHS Secretary McAleenan’s July 23rd Notice spells out reasons for the

agency’s reasons for pursuing this policy change. The Notice maintains that the New

Designation will “enhance national security and public safety—while reducing

government costs—by facilitating prompt immigration determinations.” Id. at 35,409.

The agency states that it “is issuing the New Designation to use more effectively and

efficiently its limited resources to fulfill its mission to enforce the immigration laws

and ensure the security of the Nation’s borders[,]” and that “[f]ully implementing

expedited removal will help to alleviate some of the burden and capacity issues

currently faced by DHS and [the Department of Justice] by allowing DHS to remove

certain aliens encountered in the interior more quickly, as opposed to placing those

aliens in more time-consuming removal proceedings.” Id. at 35,411. Additionally,

“ICE will be able to use expedited removal for certain aliens who[m] it arrests in the

interior, which will likely result in those aliens spending less time in ICE detention than

if they were placed in full removal proceedings[,]” which “will more quickly make

available additional ICE bed space, which can be used for additional interior arrests and

removals.” Id. Finally, the agency explains that it “expects that the New Designation


8
  The July 23rd Notice does not alter the substantial degree of officer discretion that DHS has always
afforded with respect to whether expedited removal will be imposed in any given case. That is, even if
an undocumented non-citizen is covered by the expanded designation, the immigration officer who is
considering the matter has “broad discretion to apply expedited removal” or to “permit certain aliens
otherwise eligible for placement into expedited removal proceedings” to resolve their immigration
status through other means, including by placement in “full removal proceedings[.]” 84 Fed. Reg. at
35,412. Moreover, if an undocumented non-citizen who has been pegged for expedited removal claims
“under oath, after being warned of the penalties for perjury,” that he is entitled to remain in the United
States as an authorized permanent resident, refugee, asylum asylee, or citizen, the Notice provides that
he will receive “prompt review of th[e] determination” that he is subject to expedited removal. Id. at
35,411.


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will help mitigate additional backlogs in the immigration courts and will reduce the

significant costs to the government associated with full removal proceedings before an

immigration judge, including the costs of a longer detention period and government

representation in those proceedings.” Id. at 35,412.

       Whatever its motivation, per the July 23rd Notice, DHS has now designated for

expedited removal the entire category of persons that the INA’s section

235(b)(1)(A)(iii)(II) describes. DHS implemented this policy change approximately 30

months after President Trump signed an Executive Order specifically calling on DHS to

expand expedited removal to its full possible scope, see Exec. Order No. 13,767, Border

Security and Immigration Enforcement Improvements, 82 Fed. Reg. 8,793, 8,796 (Jan.

30, 2017), and some 29 months after former Secretary of DHS John Kelly issued a

memorandum that expressed DHS’s intention to expand the application of the expedited

removal process, as the President requested. 9 In the time that elapsed between then-

DHS Secretary Kelly’s memorandum of February 20, 2017, and the Federal Register

Notice of July 23, 2019, DHS did not issue a proposed rule that notified the public that

the agency was considering this change, nor did it otherwise solicit public comment

regarding its generally expressed intent to expand the expedited removal designation to

the fullest extent authorized by statute. However, the July 23rd Notice itself invites

“[i]nterested persons” to “submit written comments” about the New Designation, via

the federal government’s rulemaking website. 84 Fed. Reg. at 35,410.




9
 See Implementing the President’s Border Security and Immigration Enforcement Improvement
Policies, U.S. Department of Homeland Security, 5–7 (Feb. 20, 2017),
https://www.dhs.gov/sites/default/files/publications/17_0220_S1_Implementing-the-Presidents-Border-
Security-Immigration-Enforcement-Improvement-Policies.pdf.


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       C.     Judicial Review Of Legal Claims Regarding Expedited Removal

       The IIRIRA not only establishes that certain undocumented non-citizens can be

designated in the sole discretion of administrative authorities as subject to the expedited

removal process, it also addresses whether and to what extent the federal courts can

entertain challenges to various aspects of the statutorily prescribed expedited removal

scheme. Indeed, as part of its enactment of the IIRIRA, Congress crafted an entirely

new judicial review provision within the INA that is expressly entitled “Judicial review

of orders of removal[,]” 8 U.S.C. § 1252, which is codified at section 1252 of Title 8 of

the United States Code, and is also known as “section 242.” See also IIRIRA, Pub. L.

No. 104-208, Div. C., Title I, § 306, 110 Stat. 3009-546, 607–12 (1996).

       Two subsections of the aforementioned judicial review provision plainly pertain

to this Court’s review of claims relating to the statutory section that authorizes

expedited removal (8 U.S.C. § 1225(b)(1)): namely, section 1252(a)(2)(A) and section

1252(e). See 8 U.S.C. § 1252(a)(2)(A) (“Review relating to section 1225(b)(1)”); id.

§ 1252(e)(“Judicial review of orders under section 1225(b)(1)”). To aid the reader,

relevant portions of these two sections, and others, are appended to this Memorandum

Opinion in their entirety. (See infra, Appendix.)

       Section 1252(a)(2)(A) is the first of a series of judicial review provisions that

Congress lays out in the IIRIRA regarding “[m]atters not subject to judicial review.” 8

U.S.C. § 1252(a)(2) (emphasis added). Prior to broaching this subject, the statute

plainly distinguishes, on the one hand, judicial review of final orders of removal that

result from standard removal procedures (which are reviewed by Courts of Appeals),

see id. § 1252(a)(1); see also O.A., 2019 WL 3536334, at *9, from, on the other hand,

judicial review of final orders of removal that result from the section 1225(b)(1)


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expedited removal process. Section 1252(a)(2) then lists “[r]eview relating to section

1225(b)(1)” as the first of four categories of matters concerning removal orders in

which judicial review has been restricted. That section reads, in relevant part:

       (2) Matters not subject to judicial review
               (A) Review relating to section 1225(b)(1)
                  Notwithstanding any other provision of law (statutory or
                  nonstatutory), 10 . . . no court shall have jurisdiction to review—

                  (i)     except as provided in subsection (e), any individual
                          determination or to entertain any other cause or claim arising
                          from or relating to the implementation or operation of an order
                          of removal pursuant to section 1225(b)(1) of this title,

                  (ii)    except as provided in subsection (e), a decision by the Attorney
                          General to invoke the provisions of such section,

                  (iii)   the application of such section to individual aliens, including
                          the determination made under section 1225(b)(1)(B) of this
                          title, or

                  (iv)    except as provided in subsection (e), procedures and policies
                          adopted by the Attorney General to implement the provisions of
                          section 1225(b)(1) of this title.

8 U.S.C. § 1252(a)(2)(A).

       The IIRIRA’s judicial review provision thus plainly homes in on the expedited

removal process prescribed in section 1225(b)(1), and generally prohibits courts from

exercising jurisdiction with respect to four categories of legal actions—to wit, actions

that challenge: (1) “individual determinations” or bring “any other cause or claim

arising from or relating to the implementation or operation of an order of [expedited]

removal,” id. § 1252(a)(2)(A)(i); (2) the Attorney General’s decision “to invoke the

provisions” of the expedited removal statute, id. § 1252(a)(2)(A)(ii); (3) “the


10
 The “(statutory or nonstatutory)” language was added in 2005. See REAL ID Act of 2005, Pub. L.
No. 109-13, Div. B., Title I, § 106, 119 Stat. 231, 310 (2005).


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application of” the expedited removal statute “to individual aliens,” including the

consideration and resolution of asylum claims made by individuals subject to expedited

removal, id. § 1252(a)(2)(A)(iii); and (4) the “procedures and policies” that the

Attorney General adopts “to implement the provisions” of the expedited removal

statute, id. § 1252(a)(2)(A)(iv). See also H.R. Rep. No. 104-828, at 219 (explaining

that, in general, under section 1252(a)(2)(A), “no court shall have jurisdiction to review

any individual determination or cause or claim arising from the implementation or

operation of an order of removal” under the expedited removal statute, and no court can

“review . . . a decision by the Attorney General to invoke [the expedited removal

statute], the application of such section to individual aliens (including the

determination . . . regarding credible fear of persecution), or . . . procedures and

policies to implement [the expedited removal provision]”). Significantly for present

purposes, with one exception, Congress has made each of these jurisdictional

limitations expressly subject to the provisions of subsection (e). See 8 U.S.C.

§ 1252(a)(2)(A)(i), (ii), (iv) (opening with “except as provided in subsection (e)”

(emphasis added)). And in so doing, the statute carves out exceptions to the

jurisdictional restrictions, and also further clarifies what courts can and cannot do with

respect to legal challenges that relate to the expedited removal process.

       For its part, section 1252(e) is entitled “Judicial review of orders under section

1225(b)(1)[.]” Id. § 1252(e). The section has five subdivisions, each of which speaks

to one or more aspects of a federal court’s power to review certain types of claims

and/or afford certain types of relief. See, e.g., id. § 1252(e)(1) (addressing

“[l]imitations on relief[,]” and prohibiting, among other things, “declaratory, injunctive




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or other equitable relief in any action pertaining to an order to exclude an alien in

accordance with section 1225(b)(1)” except under specified circumstances); id.

§ 1252(e)(2) (permitting habeas review of expedited removal orders, with limitations);

id. § 1252(e)(5) (providing, with respect to a case in which “an alien has been ordered

removed under section 1225(b)(1)[,]” that the court’s “[s]cope of inquiry” is restricted

to a determination of “whether such an order in fact was issued and whether it relates to

the petitioner” and does not include “whether the alien is actually inadmissible”); see

also H.R. Rep. No. 104-828, at 219 (explaining that “[i]ndividual determinations under

[section 1225(b)(1)] may only be reviewed under [section 1252(e)(1)–(2)]”). It is the

third subdivision of subsection (e)—8 U.S.C. § 1252(e)(3)—that is most pertinent for

present purposes, as it forms the basis for many of the jurisdictional claims and

arguments that are at issue in this case.

       The title of section 1252(e)(3) is “[c]hallenges on validity of the system[.]” 8

U.S.C. § 1252(e)(3). In their entirety, the provisions of that statute state:

       (3) Challenges on validity of the system
          (A) In general
          Judicial review of determinations under section 1225(b) of this
          title and its implementation is available in an action instituted in
          the United States District Court for the District of Columbia, but
          shall be limited to determinations of—
              (i) whether such section, or any regulation issued to
                  implement such section, is constitutional; or

              (ii) whether such a regulation, or a written policy directive,
                   written policy guideline, or written procedure issued by or
                   under the authority of the Attorney General to implement
                   such section, is not consistent with applicable provisions
                   of this subchapter or is otherwise in violation of law.




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           (B) Deadlines for bringing actions
          Any action instituted under this paragraph must be filed no later than 60 days
          after the date the challenged section, regulation, directive, guideline, or
          procedure described in clause (i) or (ii) of subparagraph (A) is first
          implemented.

          (C) Notice of appeal

          A notice of appeal of an order issued by the District Court under this
          paragraph may be filed not later than 30 days after the date of issuance of
          such order.

          (D) Expeditious consideration of cases

          It shall be the duty of the District Court, the Court of Appeals, and the
          Supreme Court of the United States to advance on the docket and to expedite
          to the greatest possible extent the disposition of any case considered under
          this paragraph.

Id. From the plain language of the text of this provision, it is clear that the statute

comprehensively addresses the particular circumstances under which challenges to the

validity of the expedited removal system are permitted, see H.R. Rep. No. 104-828, at

220–21 (“[J]udicial review . . . is limited to whether [section 1225(b)(1)], or any

regulations issued pursuant to that section, is constitutional, or whether the regulations,

or a written policy directive, written policy guidance, or written procedures issued by

the Attorney General are consistent with the INA or other law.”), as well as the time

frame in which any such challenge must be brought and considered.


III.   PROCEDURAL HISTORY

       As explained in Part I.B.2, above, on July 23, 2019, Acting DHS Secretary Kevin

McAleenan announced that the agency was “exercis[ing] the full remaining scope of its

statutory authority to place in expedited removal, with limited exceptions, aliens

determined to be inadmissible . . . who have not been admitted or paroled into the



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United States, and who have not affirmatively shown, to the satisfaction of an

immigration officer, that they have been physically present in the United States

continuously for the two-year period immediately preceding the date of the

determination of inadmissibility.” 84 Fed. Reg. at 35,409. Plaintiffs filed the instant

lawsuit on August 6, 2019 (see Compl.), bringing six claims under the APA, the INA,

and the Constitution. Plaintiffs specifically allege that, “[i]n addition to violating the

APA, expanding expedited removal to individuals apprehended in the interior of the

United States who have been living in the country for extended periods of time violates

the Due Process Clause of the Fifth Amendment, because it deprives them a meaningful

opportunity and process to contest removal before they are deported.” (Id. ¶ 11.)

Additionally, Plaintiffs claim that “the expanded use of expedited removal violates

federal statutes requiring that noncitizens appearing before an immigration officer or

immigration judge be permitted to be represented by counsel.” (Id.)

       Plaintiffs filed a motion for a preliminary injunction on August 8, 2019, seeking

to enjoin Defendants from applying expedited removal as laid out in the notice of July

23, 2019, pending the resolution of their lawsuit. (See Pls.’ Mot.) Per an Order of the

Court that issued on August 14, 2019 (see Min. Order of Aug. 14, 2019), the parties

proceeded to brief the issues raised in Plaintiffs’ preliminary injunction motion,

including concerns that defense counsel had raised in a conference call with Plaintiffs

and the Court regarding Plaintiffs’ standing to pursue their claims. (See Pls.’ Suppl. Br.

in Supp. of Prelim. Inj. (“Pls.’ Suppl. Br.”), ECF No. 23; Defs.’ Opp’n, ECF No. 25;

Pls.’ Reply in Supp. of Mot. for Prelim. Inj. (“Pls.’ Reply”), ECF No. 28.) 11


11
 Seventeen states and the District of Columbia also filed an amicus brief in support of Plaintiffs’
motion for a preliminary injunction on August 21, 2019. (See ECF No. 24-1.) In their brief, the states


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        In the motion for a preliminary injunction, Plaintiffs argue that they have

associational standing to bring this lawsuit (see generally Pls.’ Suppl. Br.); that they are

likely to succeed on the merits of their individual claims (see Pls.’ Mem. in Supp. of

Pls.’ Mot. (“Pls.’ Mem.”), ECF No. 13-1, at 25–52); and that the remaining factors that

the Court must consider in assessing whether or not to grant preliminary injunctive

relief weigh in their favor (see id. at 52–55). Defendants respond in opposition that

Plaintiffs’ claims are not justiciable, because the Court lacks subject-matter jurisdiction

(see Defs.’ Opp’n at 33–36); that Plaintiffs lack standing (see id. at 36–41); and that

Plaintiffs lack a cause of action to bring their claims under the APA (see id. at 41–46).

Defendants further maintain that Plaintiffs’ claims are meritless (see id. at 46–72), and

that the remaining preliminary-injunction factors weigh in DHS’s favor (see id. at 72–

75). Finally, Defendants insist that “any interim relief must be sharply limited.” (Id. at

75 (capitalization altered).)

        This Court held a hearing regarding Plaintiffs’ motion for a preliminary

injunction on September 6, 2019, and took the motion under advisement. (See Min.

Entry of Sept. 6, 2019; Hr’g Tr. (“AM Hr’g Tr.”), ECF No. 32; Hr’g Tr. (“PM Hr’g

Tr.”), ECF No. 33.)


IV.     MOTIONS FOR PRELIMINARY INJUNCTIONS IN CASES
        CHALLENGING AGENCY ACTION

        Federal Rule of Civil Procedure 65 authorizes a plaintiff who fears that a

defendant’s actions will irreversibly and irremediably injure the plaintiff’s interests




argue that DHS’s expansion of expedited removal will undermine their ability to protect the rights and
interests of their residents, and will harm “individuals, families, communities, and the public served by
amici states[.]” (Id. at 26 (capitalization altered).)


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before the court can rule on legal claims that the plaintiff has filed to seek a court order

that “preserve[s] the relative positions of the parties until a trial on the merits can be

held[,]” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006); in other words, an order that preserves the status quo, see Fed. R. Civ. P. 65.

When a plaintiff invokes this rule to claim that he will be irreparably injured by the

unlawful actions of a federal administrative agency, the typical request asks the court to

suspend implementation of the challenged agency action during the pendency of the

lawsuit, which is an authorized means of preserving the status quo and preventing harm

to the plaintiff pending the outcome of the litigation. See, e.g., League of Women

Voters of U.S. v. Newby, 838 F.3d 1, 14–15 (D.C. Cir. 2016); League of Women Voters

of U.S. v. Newby, 671 Fed. App’x 820, 821 (D.C. Cir. 2016) (per curiam); Nat’l Ass’n of

Farmworkers Orgs. v. Marshall, 628 F.2d 604, 622–23 (D.C. Cir. 1980). It is well

established that “[t]he grant or denial of a [requested] preliminary injunction rests in

the discretion of the trial court.” 11A Charles Alan Wright, Arthur R. Miller, & Mary

Kay Kane, Federal Practice & Procedure § 2949 (3d ed. 2019).

       Regardless of whether a plaintiff is seeking a preliminary injunction in a case

challenging agency action or in a standard civil action brought against a private

defendant, a motion for a preliminary injunction “require[s] the Court to assess

prospectively the merits of the plaintiffs’ case and their need for immediate judicial

intervention.” Shelley v. Am. Postal Workers Union, 775 F. Supp. 2d 197, 203 (D.D.C.

2011). Moreover, any such injunction is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (citation omitted); see also Guedes




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v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 10 (D.C. Cir. 2019)

(per curiam). Indeed, “[i]t frequently is observed that a preliminary injunction is an

extraordinary and drastic remedy, one that should not be granted unless the movant, by

a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S.

968, 972 (1997) (internal quotation marks, citation, and emphasis omitted).

       Give the movant’s burden of persuasion, “[e]vidence that goes beyond the

unverified allegations of the pleadings and motion papers must be presented to support

or oppose a motion for a preliminary injunction.” Id.; see also id. (explaining that the

strict evidentiary standards required for summary judgment do not necessarily apply for

preliminary injunctions, given the need for speedy resolution, and because issuing a

preliminary injunction does not replace the need for a trial on the merits). In particular,

to be granted a preliminary injunction, the movant “must establish (1) that it is likely to

succeed on the merits, (2) that it is likely to suffer irreparable harm in the absence of

preliminary relief, (3) that the balance of equities tips in its favor, and (4) that an

injunction is in the public interest.” Elec. Privacy Info. Ctr. v. Dep’t of Justice, 15 F.

Supp. 3d 32, 38 (D.D.C. 2014) (alterations omitted) (quoting Winter, 555 U.S. at 20)).

And when analyzing these four factors, “a district court must balance the strengths of

the requesting party’s arguments in each of the four required areas. If the showing in

one area is particularly strong, an injunction may issue even if the showings in other

areas are rather weak.” Id. (internal quotation marks and ellipsis omitted) (quoting

Chaplaincy of Full Gospel Churches, 454 F.3d at 297). That being said, “a movant

must demonstrate ‘at least some injury’ for a preliminary injunction to issue.”

Chaplaincy of Full Gospel Churches, 454 F.3d at 297 (citation omitted).




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       It is also clear beyond cavil that the most significant factors of the preliminary

injunction test are likelihood of the movant’s success on the merits of his claims and

whether or not he is likely to suffer irreparable injury while the lawsuit is pending,

because these factors relate directly to the purpose of a preliminary injunction. “It is

particularly important for the movant to demonstrate a substantial likelihood of success

on the merits[,]” because “absent a ‘substantial indication’ of likely success on the

merits, ‘there would be no justification for the court’s intrusion into the ordinary

processes of administration and judicial review.’” Hubbard v. United States, 496 F.

Supp. 2d 194, 198 (D.D.C. 2007) (quoting Am. Bankers Ass’n v. Nat’l Credit Union

Admin., 38 F. Supp. 2d 114, 140 (D.D.C. 1999)). Moreover, “the basis of injunctive

relief in the federal courts has always been irreparable harm and inadequacy of legal

remedies,” Sampson v. Murray, 415 U.S. 61, 88 (1974) (internal quotation marks and

citation omitted), since a preliminary injunction entitles the movant to judicial

intervention before a ruling on the merits precisely because “the applicant is likely to

suffer irreparable harm before a decision on the merits can be rendered.” Wright,

Miller, & Kane, § 2948.1.


V.     ANALYSIS

       As noted above, a federal court that invokes its authority to enjoin an agency’s

conduct preliminarily pending the court’s final order in the matter is thereby effectively

accelerating provision of the relief that the plaintiff seeks, prior to the conclusion of the

litigation. Thus, before a preliminary injunction issues, this Court must be persuaded

that there is a substantial likelihood that the plaintiff will eventually prevail on the

merits and that interim injunctive relief is warranted because the plaintiff will suffer



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irreparable harm without such relief. See Sampson, 415 U.S. at 88; Apotex, Inc. v.

Sebelius, 700 F. Supp. 2d 138, 140 (D.D.C. 2010). For the reasons explained below,

this Court concludes that Plaintiffs Make the Road New York, LUPE, and WeCount! are

likely to be successful with respect to the merits of the APA claims they have brought

in this case, and that the irreparable injury, balance of the harms, and public interest

factors also support the issuance of a preliminary injunction. The Court further imposes

a preliminary injunction that prevents DHS from enforcing the expanded expedited

removal policy announced in the July 23rd Notice with respect to anyone to whom the

designation in the Notice would apply while the question of the legal propriety of the

agency’s action is pending in this Court, consistent with the plain language of the APA.

       A.     Plaintiffs Have A Likelihood Of Succeeding With Respect To Their
              Administrative Procedure Act (“APA”) Claims

       A court’s determination of a plaintiff’s likelihood of success with respect to the

legal claims they have brought involves various considerations, including the plaintiff’s

potential of carrying threshold burdens such as the requirement that a plaintiff

demonstrate subject-matter jurisdiction and Article III standing. See Shelley, 775 F.

Supp. 2d at 203 (“[I]n evaluating plaintiffs’ likelihood of success on the merits, the

Court must determine that it may properly exercise jurisdiction over the action.”); Elec.

Privacy Info. Ctr. v. U.S. Dep’t of Commerce, 928 F.3d 95, 104 (D.C. Cir. 2019) (“In

determining whether the plaintiff has ‘a substantial likelihood of success on the

merits,’ . . . [courts] have considered whether the plaintiff has a ‘substantial likelihood

of standing’—that is, whether the plaintiff is likely to be able to demonstrate standing

at the summary judgment stage.”). In the instant case, it is likely that the Court has

jurisdiction over Plaintiffs’ APA claims and that Plaintiffs have associational standing.



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Plaintiffs are also likely to be successful with respect to their claims that the APA’s

procedural mandates apply and that DHS’s July 23rd Notice violated its notice-and-

comment and non-arbitrary rulemaking requirements. 12

                1.      Plaintiffs Are Likely To Be Able To Demonstrate That Article III’s
                        Jurisdictional And Standing Requirements Are Satisfied

        Because federal courts are courts of limited jurisdiction, the threshold concern of

any plaintiff is to demonstrate that the Court has subject matter jurisdiction to review

the claims alleged and that the plaintiffs themselves have standing to bring such claims

in federal court. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994) (“It

is to be presumed that a cause lies outside [federal courts’] limited jurisdiction, and the

burden of establishing the contrary rests upon the party asserting jurisdiction[.]”

(internal citations omitted)); Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (“The

party invoking federal jurisdiction bears the burden of establishing [the] elements [of

Article III standing].” (citation omitted)). Here, Plaintiffs maintain that this Court has

subject matter jurisdiction over their APA claims pursuant to two federal statutes: 28

U.S.C. § 1331 and 8 U.S.C. § 1252(e)(3). (See Compl. ¶ 16 (alleging that section

1252(e)(3) provides jurisdiction in the United States District Court for the District of

Columbia over “‘[c]hallenges [to the] validity of the system,’” and stating that “[t]he

Court also has jurisdiction under 28 U.S.C. § 1331” (first and second alterations in


12
  Given this Court’s finding that Plaintiffs are likely to succeed on the merits of those two claims
(Counts One and Five of Plaintiffs’ complaint), the Court need not address Plaintiffs’ other
allegations—i.e., their claims that DHS’s expanded expedited removal designation breaches: the
Constitution’s Due Process Clause (Count Two), the INA and the APA’s requirement that DHS provide
meaningful process (Count Three), the INA’s and APA’s right to counsel in particular (Count Four),
and the Constitution’s Suspension Clause (Count Six). See infra Part V.A; see also, e.g., FTC v.
Mallett, 818 F. Supp. 2d 142, 148 n.5 (D.D.C. 2011) (noting that “[b]ecause the Court finds that the
FTC has shown a likelihood of success on the merits of its first claim . . . , it need not address whether
the FTC has also established a likelihood of success on the merits of its [other] claims”).



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original)).) Plaintiffs also assert that “[a]ll three Plaintiff Organizations . . . have

associational standing to challenge” the July 23rd Notice (Pls.’ Suppl. Br. at 5), because

“[e]ach Plaintiff Organization has one or more members with standing to challenge” the

July 23rd Notice (id.); the interests Plaintiffs seek to protect are germane to the

organizations’ purposes (see id. at 10); and the issues involved in this matter do not

require the participation of individual members to be resolved properly (see id. at 11).

       Testing these propositions requires this Court to evaluate the jurisdictional basis

for its own power to review claims like the ones Plaintiffs have raised, which

necessarily includes an examination of the interaction between federal question

jurisdiction under section 1331 and the INA’s judicial review provision under the

circumstances presented here. The Court must also determine whether it is likely that

these Plaintiff organizations have members who have a redressable injury-in-fact that is

sufficient to support Plaintiffs’ assertion of Article III standing. For the following

reasons, this Court finds, as a preliminary matter, that Plaintiffs are likely to succeed in

establishing that their APA claims satisfy Article III’s jurisdiction and standing

requirements.

                      a.     It is likely that this Court has subject-matter jurisdiction to
                             consider Plaintiffs’ APA claims under 28 U.S.C. § 1331

       Plaintiffs’ argument that this Court has subject-matter jurisdiction under section

1331 of Title 28 to consider their APA claims is likely correct, as a general matter,

since the D.C. Circuit has long held that a federal court’s jurisdiction to consider claims

challenging agency action under the APA derives from the “so-called ‘federal question’

statute, 28 U.S.C. § 1331, which grants the district court ‘original jurisdiction o[ver] all

civil actions arising under the Constitution, laws, or treaties of the United States[.]”



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Oryszak v. Sullivan, 576 F.3d 522, 524–25 (D.C. Cir. 2009). Indeed, it is by now well

established that “while many APA claims are brought pursuant to a separate substantive

statute, a court may alternatively have jurisdiction under Section 1331 over a claim

under the APA, based on allegations that an agency action was arbitrary and capricious

or that an agency took action without observing procedures required by law.” Seeger v.

Dep’t of Defense, 306 F. Supp. 3d 265, 276 (D.D.C. 2008) (citing Trudeau v. FTC, 456

F.3d 178, 185 (D.C. Cir. 2006)).

        For what it’s worth, in this Court’s view, it is doubtful that the INA provides a

separate font of jurisdictional authority, as Plaintiffs assert. This is because the

statutory provision upon which Plaintiffs rely for this jurisdictional argument—section

1252(e)(3)—is not couched in jurisdictional terms. Cf. Arbaugh v. Y & H Corp., 546

U.S. 500, 515 (2006) (explaining that a statutory restriction on judicial review that

“does not speak in jurisdictional terms or refer in any way to the jurisdiction of the

district courts” is not jurisdictional). 13 Moreover, the only part of the INA’s judicial

review provision that expressly references “jurisdiction” is section 1252(a), and that

provision is plainly devoted to laying out restrictions on the court’s jurisdiction to



13
   It is well established that not every statute that addresses the circumstances under which judicial
review is “available,” 8 U.S.C. § 1252(e)(3), qualifies as a jurisdictional provision. See, e.g., Califano
v. Sanders, 430 U.S. 99, 104–05 (1977) (holding that the APA does not grant subject-matter
jurisdiction to review agency action, despite the fact that “the statute undoubtedly evinces Congress’
intention and understanding that judicial review should be widely available to challenge the actions of
federal administrative officials”). And while section 1253(e) plainly places review authority for the
claims that it preserves in the U.S. District Court for the District of Columbia, in the absence of any
jurisdictional language, it is likely that the better reading of this part of the provision is that it indicates
Congress’s intent regarding venue rather than establishing subject-matter jurisdiction. See, e.g.,
Panhandle E. Pipe Line Co. v. Fed. Power Comm'n, 324 U.S. 635, 638–39 (1945) (interpreting statute
that authorized plaintiffs to “obtain a review of such order in the circuit court of appeals of the United
States for any circuit wherein the natural-gas company to which the order relates is located or has its
principal place of business, or in the United States Court of Appeals for the District of Columbia” and
holding that the language “goes to venue not to jurisdiction”); cf. Oryszak, 576 F3d at 524 (interpreting
the APA’s own judicial review provision to provide a limited cause of action, but not jurisdiction).


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consider certain claims. Subdivision (a) unquestionably pertains to when jurisdiction is

not available, and makes no affirmative statement about what a federal court does have

the power to consider with respect to claims pertaining to orders for expedited removal

and the implementation of the INA’s expedited removal procedures. Thus, in this

Court’s view, section 1252(a) reads much more like a jurisdiction-stripping provision

than one that establishes subject-matter jurisdiction independent of any other source.

See, e.g., 22 U.S.C. § 6450 (“No court shall have jurisdiction to review any Presidential

determination or agency action under this chapter or any amendment made by this

chapter.”); 42 U.S.C. § 9622(e)(3)(C) (“[N]o court shall have jurisdiction to review the

nonbinding preliminary allocation of responsibility.”).

       In any event, as already mentioned, section 1331 of Title 28 provides subject-

matter jurisdiction for a federal court to consider challenges to agency action such as

the APA claims that Plaintiffs bring here, as a general matter. See Chrysler v. Brown,

441 U.S. 281, 417 n.47 (1979). Given the language of the judicial review provision of

the INA, however, the key jurisdictional question becomes whether the INA divests this

Court of the power that it would otherwise have had to review Plaintiffs’ APA claims.

See Tex. Alliance for Home Care Servs. v. Sebelius, 681 F.3d 402, 408 (D.C. Cir. 2012);

see also Ass’n of Nat’l Advertisers v. FTC, 617 F.2d 611, 619 (D.C. Cir. 1979) (holding

that “[g]eneral federal question jurisdiction . . . gives the district courts the power to

review agency action absent a preclusion of review statute” (emphasis added)); Am.

Immigr. Laws. Ass’n v. Reno, 18 F. Supp. 2d 38, 58 (D.D.C. 1998) (rejecting plaintiffs’

argument that, “even if the Court finds that the plaintiffs’ claims are not reviewable

under INA § 242(e)(3), the Court would still have federal question jurisdiction under 28




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U.S.C. § 1331 over many of these claims”). After a careful review of the statutory

provisions at issue, this Court concludes that the INA does not bar the Court’s exercise

of subject-matter jurisdiction over Plaintiffs’ APA claims.

       First of all, when considered in context, the language of the INA’s section 1252

establishes that, while Congress has revoked the jurisdiction of the federal courts to

consider certain claims pertaining to the expedited removal process, this Court’s power

to consider claims that relate to a regulation or a written policy of DHS “to implement”

expedited removal is plainly preserved. Beginning with section 1252(a)(2)(A),

Congress makes clear that “[n]otwithstanding any other provision of law (statutory or

nonstatutory) . . . no court shall have jurisdiction to review” legal claims concerning

expedited removal—including claims that challenge “a decision by [DHS] to invoke the

provisions” of the expedited removal statute, 8 U.S.C. § 1252(a)(2)(A)(ii), or

“procedures and policies adopted by [DHS] to implement the provisions” of the

expedited removal statute, id. § 1252(a)(2)(A)(iv)—“except as provided in subsection

(e),” id. § 1252(a)(2)(A)(i), (ii), (iv) (emphasis added). Subsection (e) thus operates as

a carveout from subdivision (a)(2)’s jurisdiction-stripping function.

       Subdivision (e)(3) then specifically states that United States District Court for

the District of Columbia has the power to review “determinations under section 1225(b)

of this title and its implementation[,]” id. § 1252(e)(3)(A), so long as the claim at issue

concerns (1) whether section 1225(b), or “any regulation issued to implement [that]

section,” is unconstitutional, id. § 1252(e)(3)(A)(i), or (2) whether “a regulation, or a

written policy directive, written policy guideline, or written procedure issued by or

under the authority of the Attorney General to implement” section 1225(b) is




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inconsistent with the INA “or is otherwise in violation of law[,]” id.

§ 1252(e)(3)(A)(ii). Consequently, in practical effect, “[s]ection 1252(e)(3) vests

exclusive jurisdiction in the United States District Court for the District of Columbia to

review ‘[c]hallenges [to the] validity of the [expedited removal] system[]’” and “[s]uch

systemic challenges include . . . challenges claiming that a given regulation or written

policy directive, guideline, or procedure is inconsistent with law.” Grace v. Whitaker,

344 F. Supp. 3d 96, 115 (D.D.C. 2018) (alterations in original) (ellipsis added) (quoting

8 U.S.C. § 1252(e)(3))).

      As relevant here, this Court has little doubt that Plaintiffs’ APA claims assailing

DHS’s July 23rd Notice qualify as challenges to “a regulation, or a written policy

directive, written policy guideline, or written procedure issued by or under the authority

of the Attorney General to implement” section 1225(b). 8 U.S.C. § 1252(e)(3)(A)(ii)

(emphasis added). Far from attacking any particular expedited removal determination

or the substance of DHS’s expanded expedited removal designation, Plaintiffs’

complaint claims that the procedures DHS used (or failed to use) when exercising its

authority under section 235(b)(1)(A)(iii) to designate a new class of non-citizens as

subject to expedited removal pursuant to that provision violates the APA. (See Compl.

¶¶ 129–34, 149–51.) This Court agrees with Plaintiffs that a challenge to the

procedures DHS used when it exercised its discretion to designate categories of persons

as subject to expedited removal is an attack on DHS’s implementation of the expedited

removal scheme. (See Pls.’ Reply at 18 (explaining that Plaintiffs are challenging “the

manner in which Defendants implement the designation decision, including the process

by which that designation is made, as well as the manner in which Defendants




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implement the expedited removal statute through written rules and policies that set out

the procedures that apply in expedited removal proceedings” (emphasis in original)).)

Thus, per the plain text of section 1252(e)(3), the United States District Court for the

District of Columbia retains the power to review claims that a written policy of DHS

has implemented the agency’s designation authority as set forth in the INA’s section

1225(b) in a manner that violates law (namely, the APA), despite the jurisdiction-

stripping force of section 1252(a)(2).

       The primary thrust of Defendants’ opposition to this jurisdictional analysis is the

strange contention that only individuals who are subject to an expedited removal order

under the INA’s section 1225(b)(1) can challenge the implementation of the expedited

removal scheme under section 1252(e)(3), yet “no Plaintiff [in the instant case] is an

individual who is presently subject to expedited removal procedures.” (Defs.’ Opp’n at

34; see also id. (“The triggering provision’s reference to ‘determinations under section

1225(b)’ requires just that—a ‘determination.’”).) This amounts to an argument that an

actual removal order—or at least its potential—is a prerequisite to this Court’s power to

consider challenges to the expedited removal system under section 1252(e). (See id.)

But that articulation of the scope of this Court’s subject-matter jurisdiction finds no

support in the relevant statutory text.

       To understand why this is so, one must first acknowledge that “[t]he INA plainly

distinguishes among three different [DHS] decisions—‘designation,’ ‘implementation,’

and ‘determination’—and expresses a clear intent to provide judicial review over the

latter two.” (Pls.’ Reply at 18–19 (citing 8 U.S.C. § 1252(e)(3)).) 14 Contrary to


14
  Black’s Law Dictionary defines “designation” as “[t]he act of choosing someone or something for a
particular purpose[,]” Black’s Law Dictionary 541 (10th ed. 2014), and “determination” as “[t]he act of


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Defendants’ contentions, nothing in the text of the INA’s section 242(e)(3)(A) requires

that a determination that a particular individual will be placed in expedited removal

proceedings be made in order for the D.C. district court to have the power to consider a

challenge to the implementation of the statutory provision governing expedited removal.

Indeed, as the judge in O.A. v. Trump, Civ. No. 18-2718, 2019 WL 3536334, (D.D.C.

Aug. 2, 2019), recently observed, “[t]he language of § 1252(e)(3) is plain: it applies to

both ‘judicial review of determinations’ made under the expedited removal provision

and to judicial review of the ‘implementation’ of that provision[,]” id. at *19 (emphasis

added).

        This Court, too, has no doubt that Congress intended to authorize the federal

district court in the District of Columbia to review challenges to both “determinations”

made under section 1225(b) and the “implementation” of the process of expedited

removal that that statutory provision establishes. 8 U.S.C. § 1252(e)(3). Thus, this

Court rejects defense counsel’s vigorous efforts to characterize section 1252(e)(3)’s

reference to “implementation” as relating to the decision to subject a particular

individual to the expedited removal process. (See AM Hr’g Tr. at 35:21–23 (“You have

to have an individual who is in these proceedings to have jurisdiction under Section

1252(e)(3).”).) Not only does this characterization make little sense in the context of



deciding something officially; esp[ecially], a final decision by a court or administrative agency[,]” id.
544. Black’s Law Dictionary does not define “implementation,” but Merriam-Webster’s Collegiate
Dictionary defines “implement” as “carry out, accomplish; esp[ecially] to give practical effect to and
ensure of actual fulfillment by concrete measures[.]” Merriam-Webster’s Collegiate Dictionary 624
(11th ed. 2003). While the INA does not itself provide definitions for these terms, the distinction
between the terms “designation,” “implementation,” and “determination” appears to have been
maintained consistently throughout the relevant sections of the INA. See, e.g., 8 U.S.C.
§ 1252(a)(2)(A) (precluding jurisdiction over “any individual determination” or “any other cause of
action or claim arising from or relating to implementation or operation of an order of removal”
(emphasis added)); id. § 1252(e)(3)(A) (governing judicial review of “determinations under section
1225(b) of this title and its implementation” (emphasis added)).


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section 1252(e)(3)’s preservation of challenges to the validity of the system, it is also

unfaithful to language that Congress uses in that provision. As the court in O.A. ably

explained, although “[o]ne might argue that ‘its implementation’ refers to

implementation of the removal order, and not to implementation of § 1225(b)[,]

[t]hat . . . is not the best reading of the provision[;] [a]mong other things, the reference

to ‘implementation’ is in the singular, as is the reference to ‘section 1225(b),’ while the

reference to ‘determinations’ is in the plural.” 2019 WL 3536334, at *19 n.12.

       Defendant’s best argument in this regard is the fact that section 1252(e) itself is

entitled “[j]udicial review of orders under section 1225(b)(1)[.]” 8 U.S.C. § 1252(e).

But this language cannot be read to mean that judicial review is limited to challenges

that pertain to expedited removal determinations when, within that very provision,

Congress says in no uncertain terms judicial review is also available for challenges to

the “implementation” of section 1225(b)(1). Id. § 1252(e)(3)(A); see also O.A, 2019

WL 3536334, at *19 (rejecting argument that section 1252(e) limited the court’s

jurisdiction to cases in which DHS has issued a final expedited-removal order). Along

these same lines, Defendants have not explained how the being-in-expedited-removal-

proceedings prerequisite that they insist lurks in the interstices of the provisions of

section 1252 could have been overlooked by Congress when it spelled out in

considerable detail the exact circumstances under which the federal district court in the

District of Columbia may consider (and the appellate courts may review) a challenge to

the implementation of section 1225(b)(1). Defendants also fail to say how the removal-

order requirement jibes with Congress’s unambiguous mandate that any legal action

challenging the “section, regulation, directive, guideline, or procedure” must be filed in




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court “no later than 60 days after the date” such provision or practice “is first

implemented.” 8 U.S.C. § 1252(e)(3)(B); see also O.A., 2019 WL 3536334, at *19

(noting that the “suggestion that review is nonetheless unavailable unless and until

[DHS] makes a final determination of expedited removal is both unsupported by the text

and at odds with the fact that a challenge must be brought within sixty days of the ‘first

implement[ation]’ of a challenged regulation[.]” (second alteration in original) (citing

Am. Immigr. Laws. Ass’n v. Reno, 199 F.3d at 1354)).

       Perhaps most importantly for present purposes, Defendants have offered no

reason why Congress would possibly have predicated this Court’s jurisdiction to review

claims regarding the implementation of the expedited removal scheme (which the INA

explicitly references and expressly preserves) on the existence of a determination that

an individual be subject to expedited removal procedures, and this unanswered inquiry

is especially mysterious given that the INA restricts the exercise of federal court

jurisdiction to review the propriety of individual expedited removal determinations.

See, e.g., 8 U.S.C. § 1252(a)(2)(A)(i). In other words, does it make any sense that a

Congress that would take care to carve out and preserve implementation challenges, as

distinguished from challenges to individual determinations regarding removal, would

then implicitly tether these two types of claims together, by making implementation

challenges available only if brought by a person who has received an individualized

expedited-removal determination that cannot itself be challenged unless he can

plausibly claim that his own determination is unconstitutional or unlawful (as opposed

to merely imprudent or wrong)? To agree with Defendants’ reading of section

1252(e)(3), one would have to assume that Congress intended to erect a virtually




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unscalable threshold barrier to this Court’s power to consider claims that its statute

plainly authorizes—a set of circumstances that this Court finds highly unlikely.

       Nor can Defendants rely on American Immigration Lawyers Association v. Reno

(hereinafter referred to as “AILA”), 199 F.3d 1352 (D.C. Cir. 2000), to propel this

jurisdictional argument forward. To be sure, the D.C. Circuit did state in that case that

“Congress meant to allow litigation challenging the [expedited removal] system by, and

only by, aliens against whom the new procedures had been applied.” Id. at 1360; (see

also Defs.’ Opp’n at 18.) But that statement was made in the specific context of an

analysis of whether or not the plaintiff organizations in that case could assert third-

party standing on behalf of “unnamed aliens who were or might be subject to

[expedited removal][.]” AILA, 199 F.3d at 1357. The panel was particularly focused on

the broad “sweep” of those plaintiffs’ proposition that they had standing to represent

“nearly all aliens anywhere in the world who have tried or will try to enter the United

States[,]” id. at 1359, and in analyzing that question, the court searched for “signs” in

section 1252 regarding what Congress meant to authorize, id., and came away with “the

distinct impression” that Congress did not intend to override the traditional presumption

against third-party standing, id. at 1360; see also id. at 1357 (“[O]ne of the judicially

self-imposed limits on the exercise of federal jurisdiction is the general prohibition on a

litigant’s raising another person’s legal rights.” (internal quotation marks and citation

omitted)). Thus, AILA does not speak to the question before this Court, which is

whether the provision of the INA that authorizes challenges to the validity of the

expedited removal system permits the U.S. District Court for the District of Columbia

to exercise jurisdiction over challenges to the implementation of section 1225(b)’s




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expedited removal process, even if the plaintiff has not been placed in expedited

removal proceedings under section 1225(b)(1). 15 And in this Court’s view, section

1252 undoubtedly reflects Congress’s intent to preserve the subject-matter jurisdiction

of at least one federal district court (the U.S. District Court for the District of

Columbia) to review challenges to the implementation of the expedited removal

process; challenges that necessarily extend beyond mere claims regarding an expedited

removal determination.

        Defendants’ other tack on the jurisdictional waters is an attempt to invoke

section 1252(a)(2)(B)(ii) of the INA as the statutory provision that bars this Court’s

subject-matter jurisdiction under the circumstances presented here. (See Defs.’ Opp’n

at 34–35.) This approach fares no better. Section 1252(a)(2)(B)(ii) states in relevant

part that, “[n]otwithstanding any other provision of law (statutory or

nonstatutory), . . . and regardless of whether the judgment, decision, or action is made

in removal proceedings, no court shall have jurisdiction to review” any “decision or

action of the Attorney General or the Secretary of Homeland Security the authority for

which is specified under this subchapter to be in the[ir] discretion.” 8 U.S.C.

§ 1252(a)(2)(B)(ii). At first glance, one might think that this provision obviously

precludes this Court’s exercise of subject-matter jurisdiction over Plaintiffs’ APA

claims, because section 1225(b)(1)(A)(iii) of the INA grants the Attorney General “the

sole and unreviewable discretion” to designate the classes of non-citizens subject to

expedited removal, within the limits that Congress has established. Id.


15
   Not only is AILA inapposite as far as this jurisdictional question is concerned, given that it was
issued in 2000—which “was like a million years ago in terms of standing jurisprudence” (AM Hr’g Tr.
78:18–20)—it most certainly also fails to capture the current state of the law with respect to Article III
standing.


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§ 1225(b)(1)(A)(iii)(I). But recall that section 1252(a)(2)(B) is the second of four

categories of “[m]atters not subject to judicial review” that are laid out in the INA’s

judicial review provision (see supra Part II.C), and the first category—section

1252(a)(2)(A)—is the one that expressly relates to Plaintiffs’ challenges to the

expedited removal process. See 8 U.S.C. § 1252(a)(2)(A) (entitled “[r]eview relating to

section 1225(b)(1)”).

       What is more, section 1252(a)(2)(B) relates to judicial review of “[d]enials of

discretionary relief[,]” id. § 1252(a)(2)(B), and nothing about Plaintiffs’ claims

challenges relief at all, much less discretionary relief or denials thereof. Plaintiffs do

not even attempt to challenge DHS’s new “designation,” i.e., “the decision as to what

categories of noncitizens will be subject to expedited removal.” (Pls.’ Reply at 18.)

Rather, Plaintiffs claim that “the manner in which Defendants [have] implement[ed] the

designation decision, including the process by which that designation [was] made, as

well as the manner in which Defendants [have] implement[ed] the expedited removal

statute through written rules and policies that set out the procedures that apply in

expedited removal proceedings” is unlawful. (Id. (emphasis in original).) And as the

Court will explain below (see infra Part V.A.2.b), it appears that the requirement that

DHS proceed through notice-and-comment rulemaking, as well as the requirement that

the agency’s decision making be reasoned, are not within the agency’s discretion, even

if the final designation can be determined by DHS in its “sole and unreviewable

discretion[.]” 8 U.S.C. § 1225(b)(1)(A)(iii)(I).

       Therefore, Defendants are hard pressed to maintain that section 1252(a)(2)(B)

prevents this Court from exercising jurisdiction over Plaintiffs’ APA claims. See




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Heredia Mons v. McAleenan, Civ. No. 19-1593 (JEB), 2019 WL 4225322, at *4 (D.D.C.

Sept. 5, 2019) (“Where plaintiffs challenge an overarching agency action as

unlawful[,] . . . Supreme Court and Circuit precedent dictate that such a challenge does

not fall within § 1252’s jurisdictional bar.” (citing Zadvydas v. Davis, 533 U.S. 678,

688 (2001); R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 176–77 (D.D.C. 2015)). 16

                        b.      It is likely that Plaintiffs have associational standing

        Defendants’ arguments concerning Plaintiffs’ lack of Article III standing to bring

the APA claims at issue here fail for similar reasons. To begin, the Court recognizes

that Plaintiffs bear the burden of establishing that they have standing to sue, see Lujan,

504 U.S. at 561; and, for present purposes, Plaintiffs assert that they “have

associational” standing to pursue this legal action. (Pls.’ Suppl. Br. at 5.) In order to

demonstrate associational standing, an organization must show that: “(a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to the organization’s purpose; and (c) neither the claim asserted nor

the relief requested requires the participation of individual members in the lawsuit.”

Am. Chem. Council v. Dep’t of Transp., 468 F.3d 810, 815 (D.C. Cir. 2006) (internal

quotation marks and citations omitted). Moreover, to satisfy the first prong of this

associational standing test, Plaintiffs must show that they have “at least one member”

who has suffered, or imminently will suffer, an injury-in-fact, meaning an injury that is



16
  Defendants also argue that this Court lacks subject-matter jurisdiction to consider Plaintiffs’ claims
because Plaintiffs “necessarily also challenge the existing regulations and policies implementing
expedited removal themselves, because [Plaintiffs’] APA and due process claims assert that those
regulations provide insufficient process to safeguard Plaintiffs’ putative members’ alleged due process
rights” (Defs.’ Opp’n at 35 (emphasis altered) (citing Pls.’ Mem. at 34–47)), and the Court is time-
barred from considering those claims (see id.); see also 8 U.S.C. § 1252(e)(3)(B). Because the Court
does not address Plaintiffs’ due-process and due-process-related claims in this Opinion, it similarly
does not address Defendants’ jurisdictional argument with respect to those claims.


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(1) “concrete and particularized” and “actual or imminent, not conjectural or

hypothetical”; (2) “fairly traceable to the challenged action of the defendant”; and (3)

“likely, as opposed to merely speculative, . . . [to] be redressed by a favorable

decision.” Id. (internal quotation marks and citations omitted); see also Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 914 (D.C. Cir. 2015). In this Court’s view,

Plaintiffs are likely to be able to satisfy these associational standing requirements for

several reasons.

       First, Plaintiffs have offered evidence that demonstrates that some of their

members would probably have standing in their own right. Plaintiff Make the Road

New York, for example, has provided sworn declarations (including affidavits from

three pseudonymous members), and based on these statements, asserts that “at least

three members . . . could be placed in expedited removal proceedings pursuant to the

[July 23rd] Rule, because they entered without inspection, and have been continuously

present in the United States for less than two years.” (Pls.’ Suppl. Br. at 6; see also,

e.g., Exs. 1–3 to Pls.’ Reply, ECF Nos. 28-2, 28-3, 28-4 (declarations of pseudonymous

members).) Thus, Plaintiffs have shown that at least one identified member faces an

injury that is “concerted and particularized[,]” Am. Chem. Council, 468 F.3d at 815

(internal quotation marks omitted)—i.e., (a) the member could be placed in expedited

removal, rather than the traditional removal proceedings that would otherwise have

been required and that would have afforded the individual significantly more procedural

safeguards; (b) the injury is “fairly traceable to the challenged action of the

defendant[s][,]” id. (internal quotation marks omitted), i.e., that the member could not

have been subject to expedited removal had the agency not issued the July 23rd




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designation; and (c) the injury is likely to be redressed by a favorable opinion, i.e., that

if the Court finds the July 23rd designation invalid, the member could not be subjected

to expedited removal. 17

        With respect to whether these individual members’ alleged injury is “actual or

imminent, not conjectural or hypothetical[,]” id. (internal quotation marks omitted), this

Court concludes, at least preliminarily, that it is. Being deprived of the procedural

protections that would otherwise be available prior to a consequential determination

such as removal from the United States is a recognized harm, so long as the plaintiff

“show[s] that ‘the procedures in question are designed to protect some threatened

concrete interest of his that is the ultimate basis of his standing.’” Ctr. for Law &

Educ. v. Dep’t of Educ., 396 F.3d 1152, 1157 (D.C. Cir. 2005) (emphasis omitted)

(quoting Lujan, 504 U.S. at 573 n.8). And while none of Plaintiffs’ members have

already been placed into the expedited removal process pursuant to the July 23rd Notice

—to date, apparently no individuals have been so treated (see Joint Statement

Concerning the Court’s Sept. 6, 2019 Min. Order (“Joint Statement”), ECF No. 31, at

2)—Plaintiffs’ members plainly face sufficiently imminent injury to have Article III

standing. This is because, by its own terms, the July 23rd Notice publicly authorized

immigration officers to subject undocumented non-citizens who are apprehended


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   Defendants suggest that Plaintiffs cannot establish associational standing without identifying the
allegedly injured members by name. (See Defs.’ Opp’n at 38 (“[Plaintiffs] fail to identify the alleged
injured members ‘by name’ or ‘allege facts sufficient to establish harm to those members.’” (quoting
Am. Immigration Laws. Ass’n, 18 F. Supp. 2d at 51 (alterations omitted)).) Not so. See, e.g., NAACP
v. Trump, 298 F. Supp. 3d 209, 225 & n.10 (D.D.C. 2018). And, once again, Defendants quote a D.C.
Circuit case out of context. (See Defs.’ Opp’n at 38 (“This requires showing that at least ‘one
specifically-identified member has suffered an injury-in-fact.’” (emphasis in original) (quoting Am.
Chem. Council, 468 F.3d at 820).) Plaintiffs have specifically identified at least three members who
aver that they are within the category of persons to whom the July 23rd Notice is directed, and that they
will be injured if that new policy is enforced anytime soon. The Court is satisfied that Plaintiffs have
met their burden of identifying members who likely meet the standing criteria.


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anywhere in the United States and have been present here for two years or less to

expedited removal “effective immediately,” 84 Fed. Reg. at 35,410, and in the context

of this litigation, DHS has repeatedly represented that the agency’s enforcement of

these newly expanded expedited removal procedures would begin as early as September

1, 2019 (see, e.g., Teleconf. Tr., ECF No. 22, at 3:7–8 (“[T]hey intend to deport

beginning September 1st.”)). 18 DHS has also vigorously maintained that there was

simply not enough time for the agency to adhere to the APA’s notice-and-comment

procedures prior to the adoption of the New Designation, given the pressing need for

swift application of this new policy. (See Defs.’ Opp’n at 49–50); see also 84 Fed. Reg.

at 35,413 (implying that, given the state of affairs at the border, DHS needs to begin

enforcing the New Designation policy immediately). It is well established that, with

respect to Article III standing, “threatened” agency action in the form of an announced

policy change must be taken just as seriously as already-completed injury, “because

administrative action, like arrest or prosecution, may give rise to harm sufficient to

justify pre-enforcement review.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 165

(2014). Thus, this Court finds that DHS’s own words and actions are likely to be

sufficient to support Plaintiffs’ argument that there now exists a substantial threat of

imminent harm to their members.

       DHS’s only retort is to point to platitudes plucked from cases and to suggest

generally that a plaintiff’s injuries cannot be speculative. (See, e.g., Defs.’ Opp’n at 39

(“‘It is not enough for the [organization] to assert that it [or its members] might suffer

an injury in the future, or even that it is likely to suffer an injury at some unknown


18
  DHS has since stated that it would start enforcing the new designation as soon as September 27,
2019. (See Joint Statement at 2.)


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future time. Such “someday” injuries are insufficient.’” (alterations and emphasis in

original) (quoting J. Roderick MacArthur Found. v. FBI, 102 F.3d 600, 606 (D.C. Cir.

1996))); id. at 40 (“‘[P]otentially’ does not mean ‘certainly impending,’ and it certainly

does not mean that Plaintiffs’ Doe members will be placed in expedited removal.”

(quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013))).) But there is

nothing speculative about a threatened injury if the one who makes the threat

simultaneously and unequivocally states that he intends to inflict the threatened harm as

soon as possible and without further warning. And that, in effect, is precisely what

DHS has done, even as it now maintains that there is no imminent risk of harm. In this

context, DHS cannot expect to have its cake (by purposefully threatening to subject

settled undocumented non-citizens to expedited removal in a manner that elicits

widespread fear) without eating it, when representatives of the targeted individuals seek

access to the courts on the grounds that their members are afraid. (See Pls.’ Reply at 43

(“Defendants’ position is illogical; they cannot implement a wide-ranging and

aggressive policy but nevertheless claim that individuals subject to that policy are not at

risk.”).)

       It is also clear that, as a matter of law, a plaintiff need not even show that harm

is “certainly impending” to establish Article III standing; she “may instead show a

‘substantial risk’ that the anticipated harm will occur.” N.Y. Republican State Comm. v.

SEC, 927 F.3d 499, 504 (D.C. Cir. 2019) (citing Susan B. Anthony List, 573 U.S. at

158). The D.C. Circuit has affirmed that “the proper way to analyze an increased-risk-

of-harm claim is to consider the ultimate alleged harm . . . as the concrete and

particularized injury and then to determine whether the increased risk of such harm




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makes injury to an individual citizen sufficiently ‘imminent’ for standing purposes.”

Id. (ellipsis in original) (quoting Attias v. Carefirst, Inc., 865 F.3d 620, 627 (D.C. Cir.

2017)); cf. Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019) (finding that

“the predictable effect of Government action on the decisions of third parties” was

sufficient to establish standing). Moreover, the series of events that failed to persuade

the Supreme Court that the plaintiffs in Clapper v. Amnesty International USA faced

such imminent injury involved “a series of independent actors, including intelligence

officials and Article III judges, [exercising] their independent judgment in a specific

way.” Attias, 865 F.3d at 628. Here, on the other hand, DHS alone made the New

Designation effective as of July 23, 2019, see 84 Fed. Reg. at 35,410, and no other

independent policymakers need to take any action in order for the feared injury to be

inflicted on the undocumented non-citizens to whom the new policy might apply. Thus,

Defendants’ contention that the July 23rd Notice does not pose a “substantial risk” of

harm to Plaintiffs’ identified members is untenable.

       As a final note, there seems to be agreement that Plaintiffs have a high likelihood

of establishing that they have they have satisfied the other associational standing

criteria, given that Defendants do not appear to dispute that the interests Plaintiffs seek

to protect are germane to the organizations’ purposes, or that this matter does not

require individual members’ participation. (See Pls.’ Suppl. Br. at 10–11.) Thus, based

on its finding that Plaintiffs are likely to be able to establish that at least one identified

individual member would otherwise have standing to sue in their own right for the

reasons just explained, this Court concludes that Plaintiffs have a substantial likelihood




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of being able to demonstrate associational standing. See Elec. Privacy Info. Ctr., 928

F.3d at 104.

               2.    Plaintiffs Are Likely To Be Able To Establish That The APA
                     Provides A Cause Of Action For Their Claims That DHS Has
                     Committed Procedural Violations

       Turning to another potential impediment to Plaintiffs’ success with respect to the

claims it has brought in this Court, the Court notes that any plaintiff must have a cause

of action (i.e., legal authorization to pursue the claim he brings), and this requirement

implicates a different set of issues than the question of whether the Court has subject-

matter over each such claim. See, e.g., Brown v. FEC, 386 F. Supp. 3d 16, 28 (D.D.C.

2018) (concluding that plaintiffs were “unlikely to succeed on the merits of” a count

that “contains no discernible cause of action”); see also Steel Co. v. Citizens for a

Better Envt., 523 U.S. 83, 89 (1998) (“It is firmly established in our cases that the

absence of a valid (as opposed to arguable) cause of action does not implicate subject-

matter jurisdiction.”). In the instant case, Plaintiffs appear to maintain that both the

INA and the APA provide a cause of action that Plaintiffs can rely upon with respect to

their procedural challenges to the July 23rd Designation. (See, e.g., Pls.’ Reply at 18–

21.) And it is true that, as a general matter, under the APA, any person “adversely

affected or aggrieved” by agency action has a statutory right to seek “judicial review”

of that agency decision. 5 U.S.C. § 702. But it is also clear that “‘if an adequate

remedy at law exists’ for the agency action about which the plaintiff complains, then

‘equitable relief is not available under the APA.’” R.J. Reynolds Tobacco Co. v. U.S.

Dep’t of Agric., 130 F. Supp. 3d 356, 378 (D.D.C. 2015) (quoting Cohen v. United

States, 650 F.3d 717, 731 (D.C. Cir. 2011); see also 5 U.S.C. § 704 (“Agency action




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made reviewable by statute and final agency action for which there is no other adequate

remedy in a court are subject to judicial review.”).

        Thus, if the INA provides a cause of action with respect to Plaintiffs’ claims,

then the APA cannot also provide a cause of action, as Plaintiffs have suggested. (See,

e.g., Pls.’ Reply at 20–21.) 19 Furthermore, even when the APA provides the only

remedy and thus might otherwise apply, that statute contains an exception, such that the

APA will not be deemed to provide a cause of action to challenge agency decisions that

have been “committed to agency discretion by law.” 5 U.S.C. § 701(a)(2); see also

Oryszak, 576 F.3d at 526 (holding that “the APA provides no cause of action” for the

court to review an agency determination that has been committed to agency discretion

by law).

        Consequently, whether or not the INA provides a cause of action for the

procedural claims that Plaintiffs bring here, and whether or not Plaintiffs’ claims

concern matters that are “committed to agency discretion by law” and thus do not give

rise to a cause of action under the APA, are crucial threshold questions that might well

extinguish Plaintiffs’ likelihood of being able to succeed on their claims that DHS has

engaged in unlawful action in violation of the APA. The Court has examined these

possibilities, and concludes for the following reasons that the APA’s authorization to


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  To be fair, Plaintiffs have provided mixed messages regarding their position as to whether or not the
INA’s “[s]ection 1252(e)(3) . . . provid[es] a specific cause of action for injunctive relief for Plaintiffs’
claims.” (Pls.’ Reply at 20–21 (quoting 8 U.S.C. § 1252(e)(3)(A)).) In Plaintiffs’ briefs and during the
motion hearing, Plaintiffs’ counsel stated that section 1252(e)(3) “does specifically provide
for . . . review of certain types of claims and, as such, is a cause of action.” (AM Hr’g Tr. at 10:23–
25.) But, later, counsel clarified that the INA provides the cause of action only for Plaintiffs’ “second
and . . . fourth claims” (id. at 12:1–2; see also id. at 12:20–24)—i.e., Plaintiffs’ claims that the July
23rd designation violates either the substantive requirements of the Due Process Clause or the INA (see
Pls.’ Mem. at 32–47), and that the July 23rd designation violates the right to counsel under the INA
(see id. at 49–52). Thus, at this point, Plaintiffs may be relying solely on the APA for the cause of
action for their notice-and-comment and arbitrary-and-capricious claims. (See AM Hr’g Tr. at 13:6–8.)


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bring a claim against an administrative agency on the grounds that the agency has

committed procedural violations of the type the APA prohibits is a cause of action this

is likely to be deemed available to these Plaintiffs.

                     a.     It is unlikely that the INA provides a cause of action for
                            Plaintiffs’ procedural claims

       To start, it is significant that the text of the INA does not prescribe particular

procedural requirements for the Attorney General (or his assignees) to follow when he

exercises his discretion to designate the categories of persons who will be subject to

expedited removal pursuant to the INA’s section 1225(b)(1)(A)(iii), nor does that

statute explicitly provide aggrieved persons with the opportunity to police the

government’s conduct in this regard by filing an action in court. Yet, section

1252(e)(3) does make a legal action “available” if a plaintiff maintains that the

“implementation” of the expedited removal process is unconstitutional or unlawful.

8 U.S.C. § 1252(e)(3). In this Court’s view, rather than providing plaintiffs with a

cause of action to challenge the government’s implementation of the expedited removal

system, section 1252(e)(3), read in conjunction with section 1252(a)(2), is doing the

work of clarifying that, despite the severely restricted scope of jurisdiction to consider

claims involving expedited removal that the INA imposes, the United States District

Court for the District of Columbia is still open for business as far as implementation

claims that allege a violation of the Constitution or other laws are concerned. This

Court has previously expressed its skepticism about whether section 1252(e)(3) confers

jurisdiction on the U.S. District Court for the District of Columbia or any other federal

court. (See, supra, Part V.A.1.a.) Here, the Court observes that the text of section

1252(e)(3) also raises doubts about whether Congress intended to authorize plaintiffs



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who have implementation challenges to utilize that statute to bring claims, particularly

claims for which there is no other authorization.

       The first clue that section 1252(e)(3) is merely clearing a path for this Court’s

review of existing legal claims, rather than crafting a new cause of action, is the

language that Congress has used; indeed, typically, a statute that creates a cause of

action expressly confers upon an aggrieved party the right to bring an action in court to

challenge specified conduct. See Lee v. USAID, 859 F.3d 74, 77 (D.C. Cir. 2017); see,

e.g, 5 U.S.C. § 702 (“A person suffering legal wrong because of agency action, or

adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” (emphasis added)); 8 U.S.C. § 1503 (“If

any person who is within the United States claims a right or privilege as a national of

the United States and is denied such right or privilege by any department or

independent agency, or official thereof, upon the ground that he is not a national of the

United States, such person may institute an action[.]” (emphasis added)). Not so here:

the most Congress has mustered is the statement that judicial review of the

implementation of the expedited removal system is “available,” which is hardly the type

of ringing endorsement of legal action that courts have generally required as indicative

of a statute that confers on plaintiffs the right to be in federal court. See O.A., 2019 WL

3536334, at *18 (“[Defendants] fail to identify any feature of § 1252(e)(3) suggesting

that it provides a cause of action, much less an exclusive cause of action for claims

brought challenging implementation of the expedited removal statute.”); cf. Holloway v.

Bristol-Myers Corp., 485 F.2d 986, 988–89 (D.C. Cir. 1973) (noting, with respect to the

FTC Act, that “[t]he Act nowhere purports to confer upon private individuals, either




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consumers or business competitors, a right of action to enjoin the practice prohibited by

the Act or to obtain damages following the commission of such acts”). And, indeed, “in

those cases finding . . . implied private remedies, the statute in question at least

prohibited certain conduct or created federal rights in favor of private parties.” Touche

Ross & Co. v. Redington, 442 U.S. 560, 569 (1979) (collecting cases). Section

1252(e)(3) “neither confers rights on private parties nor proscribes any conduct as

unlawful.” Id.

       Second, the breadth of the potential legal claims that might be brought due to the

availability of a right to challenge the implementation of expedited removal system as

violative of “the law” under section 1252(e)(3) is staggering, and that, too, cuts against

interpreting that statutory provision as creating a cause of action in and of itself. A

complex administrative program can violate provisions of law in innumerable ways,

only some of which Congress may have intended to give rise to a legal action in federal

court. Cf. Ctr. for Biological Diversity v. McAleenan, No. 18-cv-655, 2019 WL

4228362, at *4 (D.D.C. Sept. 4, 2019) (explaining that, in another part of the IIRIRA,

Congress’s use of the phrase “all law” rather than “all legal requirements” as it relates

to the DHS Secretary’s waiver authority clarified the legislature’s intent to permit the

agency to address “any local, state[,] or federal statute, regulation, or administrative

order that could impede expeditious construction of border security infrastructure’”

(emphasis added) (internal quotation marks and citation omitted)). This Court finds it

highly unlikely that, through the enactment of section 1252(e)(3), Congress’s intent was

to create a vehicle for this Court’s review of any and all claimed violations of any and

all legal provisions that might relate to the implementation of the INA’s expedited




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removal process. Moreover, at the very least, reading section 1252(e) to open the door

to all sorts of challenges based on any potentially violative conduct cuts against the

primary thrust of the INA’s judicial review provision, which is indisputably to limit,

rather than expand, the number and nature of the attacks that can be launched against

the expedited removal process.

       Third, and similarly, with the possible exception of an ultra vires claim, it is not

at all clear that Congress envisioned allowing plaintiffs to bring challenges to the

validity of the expedited removal system pursuant to section 1252(e)(3) if such

challenges are not of the type that could otherwise have been made to enforce the

provisions of law that the defendant has allegedly violated. Section 1252(e)(3)(ii)

plainly permits a plaintiff to claim that DHS’s implementation of the expedited removal

process is “not consistent with applicable provisions of this subchapter” (i.e., is ultra

vires) or “is otherwise in violation of law.” 8 U.S.C. § 1252(e)(3)(ii). The question is

whether, through this language, Congress sought to permit plaintiffs to police DHS’s

compliance with the universe of potentially applicable legal requirements under

circumstances in which there would have otherwise been no relief with respect to that

violation? This Court finds that doubtful. Cf. Inst. for Truth & Marketing v. Total

Health Network Corp., 321 F. Supp. 3d 76, 86 (explaining that “[t]he fact that Congress

did not provide a federal cause of action for violations of the FTC Act in the first place

strongly suggests that Congress did not believe that this federal issue was substantial

enough in the context of the federal system to authorize private claims of this type to be

adjudicated in a federal forum.”) And it is also, quite frankly, impractical to view the

INA as establishing a cause of action for claims relating to the designation of categories




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of person subject to expedited removal under section 1225(b)(1)(A)(iii), because that

statute itself does not establish standards that govern DHS’s exercise of its discretion to

make such designations. So, if section 1252(e)(3)’s judicial review provision is

interpreted to create a cause of action for the claims that Plaintiffs bring, what

substantive standards is this Court to use to determine whether DHS has committed an

actionable violation?

        The takeaway is that this Court finds it highly unlikely that the INA itself

provides a cause of action for judicial relief with respect to a claim that DHS has

implemented the expedited removal process in violation of the law. 20 In this Court’s

view, both the substantive standards for making any such claim, and the authorization

for seeking to enforce those substantive standards, must come from elsewhere. Luckily

for Plaintiffs, the procedural standards that an agency must use, as well as the

authorization for Plaintiffs to sue to enforce them, are present in the APA. See Block v.

Cmty. Nutrition Inst., 467 U.S. 340, 345 (1984) (explaining that, among other things,

“[t]he APA confers a general cause of action upon persons ‘adversely affected or

aggrieved by agency action within the meaning of a relevant statute’” (quoting 5 U.S.C.



20
  The possible exception to this is a plaintiff’s claim that an implementation action “is not consistent
with [the] applicable provisions of [the INA],” 8 U.S.C. § 1252(e)(3)(ii), which, of course, necessarily
relates to the substantive standards that the INA itself prescribes. Arguably, however, the claim that
DHS has violated provisions of the INA does not need, and does not rely upon, an authorization to
pursue relief that is embedded in the statute; instead, the authority to bring a claim of that nature exists,
presumptively, with respect to every statute that confers guided discretion upon agency actors. See
Adamski v. McHugh, 304 F. Supp. 3d 227, 236–37 (D.D.C. 2015) (describing “ultra vires claim that can
be brought in federal court ‘[i]f a plaintiff is unable to bring his case predicated on either a specific or
a general statutory review provision[,]’” and explaining that “this type of ultra vires claim derives from
the contention that the agency has acted without the authority to do so” (first alteration in original)
(quoting Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996)). In any event,
here, Plaintiffs are generally maintaining that their claims concerning the notice-and-comment and
arbitrariness violations that DHS allegedly committed with respect to its July 23rd Notice can proceed
despite the restrictions in the INA because the agency has acted “otherwise in violation of law.” (See
Pls.’ Mem. at 13 (explaining that “[t]he July 23 Rule is illegal[,]” in part because it violates the APA).


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§ 702)); see also North Am.’s Bldg. Trade Unions v. OSHA, 878 F.3d 271, 282 (D.C.

Cir. 2017) (“The APA governs the procedural challenge to ensure the Rule is not

promulgated “without observance of procedure required by law.” (quoting 5 U.S.C.

§ 706(2)(D)); Ethyl Corp. v. EPA, 541 F.2d 1, 34 (D.C. Cir. 1976) (citing 5 U.S.C.

§ 706(2)(A) as governing arbitrary-and-capricious review).

                     b.     It is unlikely that the INA commits to agency discretion the
                            process by which the section 1225(b)(1)(A)(iii) expedited
                            removal designation is to be determined

       That all said, what the APA giveth, it can also taketh away. Indeed, it is well

established that “[t]he APA confers a general cause of action upon persons ‘adversely

affected or aggrieved by agency action within the meaning of a relevant statute,’ but

withdraws that cause of action to the extent the relevant statute ‘preclude[s] judicial

review[.]’” Block, 467 U.S. at 340 (emphasis added) (second alteration in original)

(quoting 5 U.S.C. §§ 702, 701(a)(1)). And, thus, we arrive at Defendants’ primary

argument with respect to the key question of whether the APA even applies to the

matter at hand: Defendants insist that Plaintiffs have no cause of action to pursue their

APA claims in this Court, because the Acting DHS Secretary’s July 23rd designation

was an “agency action . . . committed to agency discretion by law.” 5 U.S.C.

§ 701(a)(2); (see also Defs.’ Opp’n at 41–43).

       To support this contention, Defendants rely primarily if not exclusively on the

language of the INA’s section 1225(b)(1)(A)(iii)(I), which does provide DHS with the

“sole and unreviewable discretion” to designate which categories of undocumented non-

citizens will be subject to expedited removal (within the outer limits that Congress has

set), and further states that any such designation “may be modified at any time.”

8 U.S.C. § 1225(b)(1)(A)(iii)(I). Defendants take this statutory authorization to mean


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that the DHS Secretary can make any determination that he wants to with respect to the

section 1225(b)(1)(A)(iii) designation, and that there are no “meaningful standards” for

this Court to apply when it is asked to determine whether the agency’s implementation

of its discretion is unlawful. But it is more likely that Congress intended to confer to

the agency the ultimate authority to make the decision of who will be subject to

expedited removal under the statute, which is not the same thing as giving the agency

sole discretion to determine the manner in which that decision will be made. Moreover,

distinguishing between substance and procedure in this manner is entirely consistent

with Congress’s ordinary practices when it sets outer boundaries and gives an

administrative agency authority to fill in the details. See, e.g., Nat’l Ass’n of Clean

Water Agencies v. EPA, 734 F.3d 1115, 1147–48 (D.C. Cir. 2013) (ruling that

Environmental Protection Agency’s rulemaking was procedurally flawed in context of

setting emissions standards under 42 U.S.C. § 7429(a)(2), in which Congress set floor

but afforded agency broad discretion otherwise); 21 U.S.C. § 346a(b)(4) (requiring that

the Food and Drug Administration proceed through notice-and-comment rulemaking if

it opts to depart from any maximum residue level for a pesticide chemical established

by the Codex Alimentarius Commission).

       So it is here. In the text of the INA, Congress specifies, inter alia, that an

immigration officer “shall order [an] alien removed from the United States without

further hearing or review” upon determining that said “alien” is a person “described in

clause (iii)” and is “inadmissible.” 8 U.S.C. § 1225(b)(1)(A)(i). Clause (iii) both

delegates to the agency the “sole and unreviewable” discretion to designate the

categories of aliens who fit these circumstances that will be subjected to expedited




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removal, id. § 1225(b)(1)(A)(iii)(I), and also establishes the outside parameters within

which this designation determination must be made, see id. § 1225(b)(1)(A)(iii)(II)

(“An alien described in this clause is an alien . . . who has not been admitted or paroled

into the United States, and who has not affirmatively shown, to the satisfaction of an

immigration officer, that the alien has been physically present in the United States

continuously for the 2-year period immediately prior to the date of the determination of

inadmissibility under this subparagraph.”). Nothing in this statute speaks to how the

agency is to reach its conclusion regarding the category of aliens to which expedited

removal will apply; moreover, and significantly for present purposes, nothing in the

statute relieves the agency from its obligation to make that discretionary decision in the

ordinary course, consistent with any otherwise applicable procedural requirements.

Indeed, Congress was undoubtedly aware of the APA’s procedural mandates when it

penned the amendments to the INA that gave birth to the expedited removal process, yet

it was silent about whether or not the agency had a duty to make the discretionary

section 1225(b)(1)(A)(iii) designation determination after providing public notice and

receiving comment, and whether or not the agency had to engage in reasoned decision

making to select the categories of persons who would be subject to expedited removal

under the statute. In this Court’s view, it is also quite telling that Congress did not

stand idly by with respect to the prospect that the agency might be held to account for

flaws in the implementation of the expedited removal system; to the contrary, it

expressly allowed for review of such challenges under section 1252(e)(3). Thus,

insofar as Plaintiffs here are claiming that “the manner in which Defendants implement

the designation decision, including the process by which that designation is made” is




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unlawful (Pls.’ Reply at 18 (emphasis in original)), there is nothing in the INA that

demonstrates that Congress intended to commit that matter to the agency’s discretion,

and in fact, the language of section 1252(e)(3) appears to leave the door wide open for

“[j]udicial review of . . . section 1225(b)[’s] . . . implementation[.]” 8 U.S.C.

§ 1252(e)(3).

       Notably, this analysis of Defendants’ “committed to agency discretion” argument

is entirely consistent with binding precedent about how that exception to APA review

must be interpreted. “To give effect to § 706(2)(A) and to honor the presumption of

review, [the Supreme Court] ha[s] read the exception in § 701(a)(2) quite narrowly,

restricting it to ‘those rare circumstances where the relevant statute is drawn so that a

court would have no meaningful standard against which to judge the agency’s exercise

of discretion.’” Weyerhaeuser Co., 139 S. Ct. at 370 (quoting Lincoln v. Vigil, 508 U.S.

182, 191 (1993)). Indeed, “[t]he few cases in which [the Supreme Court] ha[s] applied

the § 701(a)(2) exception involved agency decisions that courts have traditionally

regarded as unreviewable, such as the allocation of funds from a lump-sum

appropriation, or a decision not to reconsider a final action.” Id. (internal citations

omitted). Defendants struggle valiantly to shoehorn the instant case into this narrow

framework (see Defs.’ Opp’n at 45 (arguing that Plaintiffs’ notice-and-comment claims

are barred due to the “‘sole and unreviewable’ nature of the designation”), but doing so

requires them to distort Plaintiffs’ claims beyond all recognition (see, e.g., id.

(characterizing Plaintiffs’ claims concerning substantive violations of the INA as

“nothing more than a challenge how the Secretary chooses to implement his

discretionary authority,” which, according to Defendants, is barred by language of




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section 1225(b)(1)(A)(iii)(I)). But, again, Plaintiffs’ core contention with respect to the

APA is that Acting DHS Secretary McAleenan failed to use the required procedures to

implement the expedited removal authority provided to him by Congress when the

agency issued the July 23rd New Designation, not that the agency’s designation, in and

of itself, was unlawful. (See Pls.’ Reply at 18 (“Plaintiffs are not challenging the

‘designation’ at all.”).) And no one appears to dispute that there are procedural

standards established in the APA that address the process that an agency must follow

when it undertakes its discretionary power to promulgate a rule.

       Thus, even if Congress has granted DHS broad discretion—and perhaps even the

“most possible discretion[,]” as defense counsel insisted at the motion hearing (AM

Hr’g Tr. at 68:18)—to make the final section 1225(b)(1)(A)(iii) designation, due to the

agency’s foreign policy chops or otherwise (see Defs.’ Opp’n at 42), that grant does not

necessarily carry with it the freedom to make the ultimate discretionary determination

however the agency wants to (see AM Hr’g Tr. at 67:15–20 (Court explains that this

may be “a world in which discretion is conferred, and in so doing, Congress is saying

[the agency] get[s] the final word. . . . [B]ut that does not necessarily indicate

Congress’s intent to allow [the agency] to use a Ouija board[.]”); see also id. at 67:21–

23 (“That the APA still applies as to how [the agency] make[s] that determination [is]

not inconsistent with language in which Congress says [the agency] get[s] to decide [the

final policy].”). Moreover, and similarly, the fact that an agency might well reach the

same conclusion about the ultimate discretionary issue if it makes the decision

randomly as it would have if it followed the necessary process is neither here nor there

when it comes to deciding whether Congress intended for the APA’s procedures to be




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followed. (See id. at 61:13–17 (“The Ouija board can come up with the ultimate

decision that the agency also comes up with once [the agency] does the right

procedures. But the APA says they’ve got to do the right procedures. They can’t just

do it randomly.”).); cf. Pierce v. Dist. of Columbia, 128 F. Supp. 3d 250, 271 (D.D.C.

2015) (observing that “even a broken clock gets the time right twice a day” (citing

Charles Clay Doyle et al., Dictionary of Modern Proverbs 287 (2012)). In other words,

without regard to Congress’s intent to vest an agency with unreviewable discretion to

make a substantive decision, it can also intend for the APA to apply to constrain an

agency’s decision making process with respect to that entirely discretionary judgment

call, and when it does, an agency that fails to follow the mandated process risks having

its policy decision “held unlawful and set aside” under the APA. 5 U.S.C. § 706(2). 21

        The cases that Defendants cite do not detract from this conclusion, for the very

simple reason that each of those cited authorities involves a challenge to the substantive

decision that the agency has made, and not to its decision making process. See, e.g.,

Gebhardt v. Nielsen, 879 F.3d 980, 984–85 (9th Cir. 2018) (finding that judicial review

was precluded with respect to the Secretary’s “‘sole and unreviewable discretion’ to

make ‘no risk’ determinations” under the Adam Walsh Act, 8 U.S.C.

§ 1154(a)(1)(A)(viii)(I)); Bremer v. Johnson, 834 F.3d 925, 930 (8th Cir. 2016) (same);

Bernardo ex rel. M & K Eng’g, Inc. v. Johnson, 814 F.3d 481, 484 (1st Cir. 2016)

(finding that decision to revoke an individual’s visa petition “is discretionary, and so

not subject to judicial review”); Jilin Pharm. v. Chertoff, 447 F.3d 196, 203–04 (3d Cir.


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  As this Court suggested at the outset, one might argue that Congress’s intent to constrain an agency’s
decision making process through application of the APA is an even more evident (and important) when
a statute simultaneously provides an agency with a substantial amount of discretion to make a
consequential policy determination.


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2006) (same); cf. Amgen, Inc. v. Smith, 357 F.3d 103, 112–13 (D.C. Cir. 2004) (“[W]e

construe [the relevant statutory provision] to prevent review only of those ‘other

adjustments’ that the Medicare Act authorizes the Secretary to make; in other words,

the preclusion on review of ‘other adjustments’ extends no further than the Secretary’s

statutory authority to make them.”). And DHS gets no additional traction from its

observation that Congress has authorized the agency to modify the discretionary

designation regarding who will be subject to expedited removal “at any time.” (Defs.’

Opp’n at 19, 42 (emphasis omitted) (quoting 8 U.S.C. § 1225(b)(1)(A)(iii)).) This

language comes nowhere close to expressing clearly Congress’s intention to override

the presumptive applicability of the APA. See Abbott Labs. v. Gardner, 387 U.S. 126,

140 (1967), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977)

(noting that the APA “embodies the basic presumption of judicial review to one

‘suffering legal wrong because of agency action, or adversely affected or aggrieved by

agency action within the meaning of a relevant statute,’ so long as no statute precludes

such relief or the action is not one committed by law to agency discretion” (quoting 5

U.S.C. § 702; citing 5 U.S.C. § 701(a)). see also, e.g., Sackett v. EPA, 566 U.S. 120,

129–30 (2012) (outlining cases in which the Supreme Court has ruled that statutes had

overcome the APA’s presumption of reviewability); Eagle Trust Fund v. USPS, 365 F.

Supp. 3d 57, 64–65 (D.D.C. 2019) (“Congress has expressly exempted USPS actions

from review under the APA, with limited exceptions.” (emphasis omitted) (citing 39

U.S.C. § 410(a))).

      Congress’s “at any moment” reference could just as easily be construed to mean

that DHS can modify the section designation at any time after the enactment of the




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IIRIRA in 1996, without additional authorization from Congress, rather than as an

indication of Congress’s intent to authorize DHS to be able to change the designation at

a moment’s notice and without public input. And, of course, even if Congress intended

the moment’s-notice reading of “at any time,” that interpretation is not necessarily

inconsistent with the APA’s application under the circumstances presented here,

because the APA itself permits an agency to respond to changed circumstances

quickly—without first engaging in notice and comment or similar procedures—when

there is “good cause” for doing so. 5 U.S.C. § 553(b)(B); (see also infra Part V.3.b.)

       In short, the key to understanding why Defendants’ cause-of-action argument

fails is the recognition that Plaintiffs here are clearly claiming that the process that

DHS employed to arrive at its conclusion that the Acting DHS Secretary should

exercise his discretion to expand the expedited removal process to the fullest extent

allowed by the law was fatally flawed under the standards laid out in the APA. (See

Compl. ¶¶ 129–34 (citing 5 U.S.C. § 553, which requires agencies to employ notice-

and-comment procedures when “[r]ule making”); id. ¶¶ 149–51 (citing 5 U.S.C.

§ 706(2)(a), which requires that courts “hold unlawful and set aside agency action” that

is “arbitrary, capricious, . . . or otherwise not in accordance with law”); Pls.’ Mem. at

26–32 (arguing that DHS violated the APA by failing to engage in notice-and-comment

rulemaking); id. at 47–49 (arguing that DHS violated the APA by implementing the July

23rd Notice without “accounting for the serious procedural flaws” in the existing

expedited removal system).) Given these claims, this Court finds it unlikely that the

INA (which places the designation decision in the sole and exclusive purview of the

agency, but says nothing about the process the agency employs to reach that




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conclusion) commits the agencies’ decision making process to DHS’s discretion in a

manner that renders the APA’s procedural mandates inapplicable.

       To put a finer point on this conclusion, the Court offers the following concrete

example: DHS might well be right that Congress intended to commit entirely to the

agency the discretion to decide whether to expose to expedited removal undocumented

non-citizens who have been in the this country for, say, six months or less, versus 12

months or less, versus 18 months or less, and so on (up to the statutory limit of two

years). And it is also true that there is no meaningful legal standard that this Court can

employ to determine whether the agency’s selection of six or 12 or 18 months as the

required term of residence to avoid expedited removal constitutes a violation of the

INA. But the INA also plainly preserves this Court’s power to review a claim that

DHS’s implementation of the expedited removal process is unlawful; therefore, the

INA’s plain text unambiguously indicates that Congress did not intend to remove claims

about the manner in which DHS exercises its discretion entirely off the table of

potential claims for relief that can be brought against the agency. Moreover, as this

Court has already determined, the APA itself provides a fitting and available cause of

action to bring such a procedural-violation claim in this Court. See Delta Air Lines,

Inc. v. Export-Import Bank of the U.S., 718 F.3d 974, 977 (D.C. Cir. 2013) (per curiam)

(noting that a ‘statute can confer on an agency a high degree of discretion, and yet a

court might still have an obligation to review the agency’s exercise of its discretion to

avoid abuse,’ especially on procedural grounds” (quoting 3 Richard J. Pierce, Jr.,

Administrative Law Treatise § 17.6 (4th ed. 2002)); cf. Nation v. Dalton, 107 F. Supp.

2d 37, 42–43 (D.D.C. 2000) (“Because adjudication of plaintiff’s ‘claims requires the




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[Court] to determine only whether the Secretary’s decision making process was

deficient, not whether his decision was correct,’ it would not require the Court to

substitute its judgment for that of the Secretary in the sensitive area of military

personnel decisions.” (alteration in original) (quoting Kreis v. Sec’y of the Air Force,

866 F.2d 1508, 1511–12 (D.C. Cir. 1989))).

              3.     Plaintiffs Are Likely To Succeed On The Merits Of Their APA
                     Arguments

       The Court has now concluded that Plaintiffs are likely to succeed in establishing

that this Court has subject-matter jurisdiction over the procedural claims they have

brought under the APA and also in demonstrating that they have associational standing.

(See supra Part V.A.1) It is also likely that the APA provides a cause of action for the

procedural violations that Plaintiffs’ complaint alleges, notwithstanding the fact that the

INA commits the section 1225(b)(1) designation decision entirely to DHS’s discretion.

(See supra Part V.A.2.) This brings us to the heart of the claims that Plaintiffs are

making in this action regarding the alleged impropriety of DHS’s decisionmaking

process. As explained above, Plaintiffs maintain that DHS failed to engage in required

notice-and-comment rulemaking before implementing the July 23rd Notice, in violation

of the APA (see Compl. ¶¶ 129–34), and that the July 23rd Notice was adopted in an

arbitrary and capricious fashion, also in violation of the APA (see id. ¶¶ 149–51). For

the purpose of the instant motion for a preliminary injunction, and given the well-worn

procedural standards that the APA establishes for the proper conduct of administrative

agencies, this Court concludes that Plaintiffs are likely to prevail on the merits of these

claims.




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                     a.     The APA requires that agencies seek public comment prior
                            to rulemaking, and that they conduct their deliberations so
                            as to minimize the risk of reaching arbitrary and capricious
                            conclusions

       One must be clear eyed about the particular duties that a statute imposes in order

to evaluate properly the likelihood that a plaintiff will be able to demonstrate that the

defendant has breached those obligations, as a matter of fact and law. To this end, here,

it is important to understand that a key component of the Administrative Procedure Act

is Congress’s requirement that an agency provide notice to the public, and an

opportunity for members of the public to comment, prior to agency rulemaking

(whether promulgation, amendment, modification, or repeal). See 5 U.S.C. § 553(b)–

(c); see also Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1044 (D.C. Cir. 1987)

(explaining that notice-and-comment requirements fulfill “policy goals of maximum

participation and full information”). Specifically, the APA generally requires that the

agency publish “notice of proposed rulemaking . . . in the Federal Register,” and that

such notice include “a statement of the time, place, and nature of public rule making

proceedings”; “reference to the legal authority under which the rule is proposed”; and

“either the terms or substance of the proposed rule or a description of the subjects and

issues involved.” 5 U.S.C. § 553(b), (b)(1)–(3). Then, after publishing the notice of

proposed rulemaking, “the agency shall give interested persons an opportunity to

participate in the rule making through submission of written data, views, or

arguments[.]” Id. § 553(c). Furthermore, “[a]fter [its] consideration of the relevant

matter presented,” the APA directs that “the agency shall incorporate in the rules

adopted a concise general statement of their basis and purpose.” Id.; cf. Home Box

Office, Inc. v. FCC, 567 F.2d 9, 35–36 (D.C. Cir. 1977) (“[T]he opportunity to comment



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is meaningless unless the agency responds to significant points raised by the public.”

(citation omitted)).

       Notably, not every kind of action that an agency undertakes is subject to the

APA’s notice-and-comment requirements. Indeed, the APA expressly exempts

“interpretative rules, general statements of policy, or rules of agency organization,

procedure, or practice[.]” 5 U.S.C. § 553(b)(A). What is left (i.e., those rules that are

not exempted from notice and comment by section 553(b)(A)) are typically referred to

as “substantive” or “legislative” rules. See Clarian Health West, LLC v. Hargan, 878

F.3d 346, 356 (D.C. Cir. 2017); U.S. Tel. Ass’n v. FCC, 28 F.3d 1232, 1234 (D.C. Cir.

1994). The question of whether an agency action qualifies as a substantive rule that is

required to proceed through notice-and-comment rulemaking is a pure question of law

that does not require any special “deference . . . to an agency’s characterization of its

own rule.” Clarian Health West, LLC v. Burwell, 206 F. Supp. 3d 393, 407 (D.D.C.

2016), rev’d on other grounds sub nom. Clarian Health West, LLC v. Hargan, 878 F.3d

346 (D.C. Cir. 2017) (citations omitted); see also Am. Hosp. Ass’n, 834 F.2d at 1056

(“[W]e are not compelled to defer to agency characterizations of rules as ‘general

statements of policy[.]’”); Citizens to Save Spencer Cty. v. EPA, 600 F.2d 844, 879

n.171 (D.C. Cir. 1979) (finding that agency’s “characterizations of these rules as

interpretive . . . are of no avail”).

       Even when an agency promulgates a substantive rule that would otherwise be

required to proceed through notice and comment, the APA does not require the agency

to engage in notice-and-comment rulemaking “when the agency for good cause finds

(and incorporates the finding and a brief statement of reasons therefore in the rules




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issued) that notice and public procedure thereon are impracticable, unnecessary, or

contrary to the public interest.” 5 U.S.C. § 553(b)(B). Notice-and-comment is

considered “‘impracticable’ when an agency finds that due and timely execution of its

functions would be impeded by the notice otherwise required in § 553,” Util. Solid

Waste Activities Grp. v. EPA, 236 F.3d 749, 754 (D.C. Cir. 2001) (citation and

alteration omitted), and notice-and-comment has been deemed “contrary to the public

interest” when “delay could result in serious harm[,]” Jifry v. FAA, 370 F.3d 1174, 1179

(D.C. Cir. 2004).

      However, courts need not defer to an agency’s own finding of good cause, see

Sorenson Commc’ns Inc. v. FCC, 755 F.3d 702, 706 (D.C. Cir. 2014), and

“circumstances justifying reliance on [the good cause] exception are indeed rare and

will be accepted only after the court has examined closely proffered rationales

justifying the elimination of public procedures.” Council of S. Mountains, Inc. v.

Donovan, 653 F.2d 573, 580 (D.C. Cir. 1981) (internal quotation marks, citation, and

alteration omitted). “[T]he good-cause inquiry is ‘meticulous and demanding[,]’”

Sorenson Commc’ns, 755 F.3d at 706 (quoting N.J. Dep’t of Envtl. Prot. v. EPA, 626

F.2d 1038, 1046 (D.C. Cir. 1980)), and the agency must point to “more than an

unsupported assertion[,]” including “factual findings” and “record support proving the

emergency,” id. at 707.

      In addition to requiring notice-and-comment rulemaking where applicable, the

Supreme Court has also made quite clear that, under the APA, an administrative agency

cannot promulgate rules in an arbitrary or capricious fashion. See Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42–43 (1983). The




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APA itself requires that a court that is reviewing a challenged agency decision shall

“hold unlawful and set aside agency action, findings, and conclusions found to be[,]”

among other things, “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law[.]” 5 U.S.C. § 706(2)(A). Furthermore, a trusted text—Black’s

Law Dictionary—defines “arbitrary” as “[d]epending on individual discretion; of,

relating to, or involving a determination made without consideration of or regard for

facts, circumstances, fixed rules, or procedures” or “founded on prejudice or preference

rather than on reason or fact.” Black’s Law Dictionary 125 (10th ed. 2014). Likewise,

a “capricious” decision is defined as a decision that is “contrary to the evidence or

established rules of law.” Id. at 254. Thus, by prohibiting “arbitrary” or “capricious”

rulemaking, the APA mandates that agencies must consider relevant “facts,

circumstances, fixed rules, or procedures[,]” and must ignore “prejudice or preference”

that is not grounded in fact, id. at 125, when they undertake to exercise the discretion

that they have been given under the law.

       Notably, when it evaluates agency actions for alleged arbitrariness, a federal

court must be satisfied that the agency has “examine[d] the relevant data and

articulate[d] a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.” State Farm, 463 U.S. at 43 (internal

quotation marks and citation omitted). This standard is “very deferential[,]” and the

law “forbids a court from substitut[ing] its judgment for that of the agency.” Van

Hollen, Jr. v. FEC, 811 F.3d 486, 495 (D.C. Cir. 2016) (second alteration in original)

(internal quotation marks and citation omitted). Thus, at the end of the day, an agency

action must “be upheld as long as the [agency has] considered the relevant factors” and




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has “articulated” a rational explanation for the choice it made, given the facts that it

found. Am. Rivers v. Fed. Energy Regulatory Comm’n, 895 F.3d 32, 45 (D.C. Cir.

2018) (internal quotation marks and citation omitted). The required deference does not

countenance “rubber stamp[ing] agency actions,” however. Nat’l Parks Conservation

Ass’n v. Jewell, 965 F. Supp. 2d 67, 74 (D.D.C. 2013) (internal quotation marks and

citation omitted). To the contrary, “courts retain a role, and an important one, in

ensuring that agencies have engaged in reasoned decisionmaking[,]” Judulang v.

Holder, 565 U.S. 42, 53 (2011), and the Supreme Court has long held that if “the

agency has relied on factors which Congress has not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency,” or reached a decision that

“is so implausible that it could not be ascribed to a difference in view or the product of

agency expertise[,]” State Farm, 463 U.S. at 43, then the reviewing court must “hold

unlawful and set aside” the agency action, as the APA requires, 5 U.S.C. § 706(2).

       This all means that, as this Court explained during the motion hearing,

government officials are different from private actors when it comes to determining

policy; agencies have to seek public input and engage in reasoned deliberations, at the

risk of having a federal court invalidate their policy decisions, while, of course, private

decision makers have no similar duty. (See, e.g., AM Hr’g Tr. at 67:15–23.) Indeed,

private individuals are free to engage in whatever decision making process suits their

fancy when they choose their course of conduct. By contrast, under federal law,

government actors who make policy decisions in their official capacities cannot

succumb to whims or passions while rulemaking; instead, they must carefully evaluate




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all of the relevant facts and circumstances and take into account the feedback they have

to solicit and receive from interested members of the public. See 5 U.S.C. §§ 553(b)–

(c), 706(2)(A). Put in common parlance, if a policy decision that an agency makes is of

sufficient consequence that it qualifies as an agency rule, then arbitrariness in deciding

the contours of that rule—e.g., decision making by Ouija board or dart board,

rock/paper/scissors, or even the Magic 8 Ball—simply will not do. There are well-

established legal constraints on the manner in which an agency exercises its discretion

to make discretionary policy decisions, and there are also legally established

consequences if an agency does not adhere to these procedural requirements when it

determines the policies that it imposes. See, e.g., Nat’l Envtl. Dev. Ass’n’s Clean Air

Project v. EPA, 752 F.3d 999, 1008–09 (D.C. Cir. 2014) (invalidating EPA action under

section 706(2)(A) of the APA); Daimier Trucks N. Am. LLC v. EPA, 737 F.3d 95, 103

(D.C. Cir. 2013) (vacating EPA rule for failure to proceed through notice-and-comment

rulemaking); Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831, 839, 845 (D.C. Cir.

2006) (vacating FERC actions under section 706(2)(A) of the APA); Sprint Corp. v.

FCC, 315 F.3d 369, 377 (D.C. Cir. 2003) (vacating FCC rule for failure to proceed

through notice-and-comment rulemaking).


                     b.     It is likely that DHS needed to proceed through notice-and-
                            comment rulemaking prior to issuing the July 23rd Notice
                            and that no good cause existed for the agency not to have
                            complied with these mandates in this instance

       DHS points out that, in order to succeed with respect to a notice-and-comment

claim brought under the APA, the plaintiff must show that that the defendant-agency’s

challenged activity constitutes a “final agency action” and that the agency took that

action without first engaging in the mandated notice-and-comment procedures (see


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Defs.’ Opp’n at 45–46), and it maintains that Plaintiffs will fail to satisfy these

elements with respect to a notice-and-comment claim that they have brought to

challenge Acting Secretary McAleenan’s July 23rd Notice for various reasons, the most

significant of which is that, according to DHS, the July 23rd Notice does not qualify as

“a reviewable ‘final agency action[.]’” (Id. at 45 (quoting 5 U.S.C. § 704).) 22 This

Court explains, in the discussion that follows, why DHS’s characterization of the July

23rd Notice must be rejected, and why the Court has concluded that it is by far more

likely that the New Designation that is set forth in the July 23rd Notice counts as a final

agency action that the agency needed to promulgate pursuant to the APA’s notice-and-

comment procedure.

        First of all, there can be no dispute that, for APA purposes, “[a]n ‘agency action’

includes any ‘rule,’” which the APA defines in relevant part as “‘an agency statement

of general or particular applicability and future effect designed to implement, interpret,

or prescribe law or policy[.]’” Abbott Labs., 387 U.S. at 149 (quoting 5 U.S.C.

§ 551(13), (4)). Moreover, any such “[a]gency action is considered final to the extent

that it imposes an obligation, denies a right, or fixes some legal relationship.” Reliable

Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731 (D.C.

Cir. 2003) (citation omitted). Thus, a “[f]inal agency action ‘mark[s] the consummation

of the agency’s decisionmaking process’ and is ‘one by which rights or obligations have




22
  While, technically, DHS’s brief casts this argument as a reason why the APA does not provide a
cause of action (see Defs.’ Mem. at 41), this Court perceives it as a reason why these Plaintiffs cannot
avail themselves of the cause of action that the APA provides. Thus, DHS’s lack-of-final-agency-
action contention relates to the merits of Plaintiffs’ claims, and the Court considers it in this part of the
Memorandum Opinion accordingly.


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been determined, or from which legal consequences will flow.’” Id. (second alteration

in original) (quoting Bennett v. Spear, 520 U.S. 154, 178 (1997)).

       To the Court, it seems fairly obvious that “legal consequences will flow” from

Acting DHS Secretary McAleenan’s July 23rd designation. Bennet, 520 U.S. at 178.

The Notice itself specifically acknowledges that, before the agency issued that

statement, immigration officers could not have subjected an undocumented non-citizen

who had arrived by land and had been present in the United States for more than 14

days to the expedited removal process, whereas, as of July 23, 2019, pursuant to the

issuance of the Notice, such officers were authorized to do so. See 83 Fed. Reg. at

35,411 (notifying the public that Acting Secretary McAleenan was “[f]ully exercising

DHS’s statutory expedited removal authority to include certain aliens who would not be

subject to expedited removal under the Previous Designations”); see also id. (“Under

the New Designation, ICE will be able to use expedited removal for certain aliens

who[m] it arrests in the interior[.]”). Furthermore, it appears that, just as with the

regulation that the Supreme Court found to be a final agency action in Abbott

Laboratories v. Gardner, the July 23rd Notice published here “is quite clearly

definitive. There is no hint that this regulation is informal, or only the ruling of a

subordinate official, or tentative.” 387 U.S. at 151 (internal citations omitted).

Additionally, and importantly, the policy change that the Notice announced “was made

effective upon publication,” id., and the DHS Secretary made clear that the “immediate

implementation of DHS’s full statutory authority over expedited removal” was

“warrant[ed][,]” 84 Fed. Reg. at 35,412 (emphasis added).




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       Defendants’ insistence that “unless and until an alien is placed in expedited

removal proceedings as [a] result of the [July 23rd] Notice,” the designation is not a

final agency action (Defs.’ Opp’n at 46) is clearly misguided, and thus easily dismissed.

From the start, DHS relies on the questionable proposition that “Plaintiffs cannot

credibly argue that the Notice is or will be imminently applied to a single Plaintiff in

this lawsuit,” and on this basis, it argues that “until ‘further administrative action’ in

the form of an order of expedited removal occurs, no final agency action is present.”

(Id.) But DHS’s has not offered a single case that supports its spurious suggestion that

a plaintiff’s standing to sue (which is it likely that these Plaintiffs have, as the Court

explains in Part V.A.1.b, supra), or lack thereof, has anything whatsoever to do with

whether or not a challenged regulation constitutes a final agency action. And try as

they might to muddy the waters by floating this untenable theory, buoyed by inapposite

case law, Defendants have done little to sink this Court’s confidence that the

appropriate point of reference when evaluating whether an agency has engaged in a

final agency action is the agency’s conduct, not its purported effect on the plaintiff, and

that the July 23rd Notice is sufficiently definitive to qualify as a final agency action,

despite the fact that it has yet to be applied to these Plaintiffs or, for that matter, anyone

else. See Bennett, 520 U.S. at 178 (explaining that final agency action “mark[s] the

‘consummation’ of the agency’s decisionmaking process,” as opposed to “be[ing] of a

merely tentative or interlocutory nature” (citation omitted)).

       Defendants’ argument that Plaintiffs still cannot succeed on the merits of their

claim that the agency has improperly promulgated a final rule because Acting Secretary

McAleenan’s July 23rd Notice is merely a general statement of policy, rather than a




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substantive rule that needed to be subjected to notice-and-comment procedures (see

Defs.’ Opp’n at 19), is also seemingly mistaken. DHS urges the Court to conclude that

the July 23rd Notice “merely ‘advise[s] the public prospectively of the manner in which

the agency proposes to exercise a discretionary power’” (id. at 19 (quoting Lincoln v.

Vigil, 508 U.S. 182, 197 (1993)); see also Defs.’ Opp’n at 48–49)), insofar as the

Notice states only “that DHS intends to exercise its discretionary authority to the full

extent permitted under section 1225(b)(1)(A)(iii) going forward” (id. at 48), and “does

not require officers to exercise discretion in any particular way” (id.). Indeed, says

DHS, the Notice quite clearly “provides—through repeated use of the word ‘may’—that

officers retain authority ‘as an exercise of prosecutorial discretion’ to choose whether

to place aliens subject to the Notice in either expedited or full removal proceedings

even where aliens are ‘otherwise eligible for placement into expedited removal

proceedings.’” (Id. (quoting 84 Fed. Reg. at 35,412).)

       DHS appears to misunderstand the established distinction between substantive

rules that require notice-and-comment rulemaking and general statements of policy,

which do not. The D.C. Circuit has explained that “a substantive rule ‘establishes a

standard of conduct which has the force of law’ in subsequent proceedings,” whereas

“‘[a] general statement of policy, on the other hand, does not establish a ‘binding

norm[]’” and “is not finally determinative of the issues or rights to which it is

addressed.” Am. Hosp. Ass’n, 834 F.2d at 1046 (quoting Pac. Gas & Elec. Co. v. Fed.

Power Comm’n, 506 F.2d 33, 38 (D.C. Cir. 1974)). In other words, unlike a substantive

rule, “[t]he agency cannot apply or rely upon a general statement of policy as law[.]’”

Id.




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        This binding D.C. Circuit precedent plainly supports a finding that the July 23rd

Notice, which was published in the Federal Register and expressly purports to be a

designation under 8 U.S.C. § 1225(b)(1)(A)(iii) that provides immigration officers with

previously unavailable authority to place certain undocumented non-citizens on the

expedited removal track, counts as a substantive rule that DHS needed to promulgate

through the notice and comment process. 23 The hallmarks of agency rulemaking are

clearly evident: the DHS-proclaimed New Designation “modifies or adds to a legal

norm based on the agency’s own authority.” Syncor Int’l Corp. v. Shalala, 127 F.3d 90,

95 (D.C. Cir. 1997) (emphasis in original). And, as noted, prior to July 23, 2019,

immigration officers under DHS’s command could not have subjected the newly

designated class of non-citizens to expedited removal; however, per the July 23rd

Notice, they now can. 24 DHS cannot deny (and, indeed, it incessantly repeats) the fact

that the agency exercised its statutory authority under the INA’s section

235(b)(1)(A)(iii)(I) when it issued the Notice. See, e.g., 84 Fed. Reg. at 35,413; (AM

Hr’g Tr. at 66:17–67:6). Thus, it appears to have conceded that its “authority” to have

issued the July 23rd Notice “flows from a congressional delegation to promulgate



23
  The D.C. Circuit has also helpfully “observed” that while “an agency’s characterization of its own
action . . . is a factor that we do consider[,]” that characterization is “not decisive.” Am. Hosp. Ass’n,
834 F.2d at 1047. Thus, this Court is not bound by DHS’s feeble attempt to cast the July 23rd Notice
as merely the agency’s stated (and published) intention to pursue some policy in the future. (See Defs.’
Opp’n at 48.) Moreover, the Notice itself makes it crystal clear that, effective immediately,
undocumented non-citizens who have not been admitted or paroled and who cannot establish that they
have been continuously present in the United States for at least two years may be subject to expedited
removal.

24
  And, again, it makes no difference to the rule’s proper characterization that no immigration officer
has yet pulled the trigger with respect to the authority that the July 23rd Notice provides. DHS might
well intend to train the officers who now have this authority (see AM Hr’g Tr. at 35:10–12), and such
training might cause a delay in the execution of the agency’s New Designation (see id. at 35:12–14),
but that is of no moment when the question on the table is whether DHS has exercised its statutory
authority to implement a rule that governs such officers’ conduct.


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substantive rules, to engage in supplementary lawmaking.” Syncor Int’l Corp., 127

F.3d at 95. And, as a result, the Court is likely to find that “the agency [was] engaged

in lawmaking [such] that the APA require[d] it to comply with notice and comment.”

Id.

       Defendants’ other argument in opposition to a finding that the July 23rd Notice

should be deemed a substantive rule—i.e., that ICE officers retain discretion to place

those non-citizens subject to expedited removal into those proceedings, so the July 23rd

Notice cannot be deemed a substantive rule that triggers the notice-and-comment

duty—is even less persuasive. The D.C. Circuit has long held that “[i]t is enough for

the agency’s statement to ‘purport to bind’ those subject to it, that is, to be cast in

‘mandatory language’ so ‘the affected private parties are reasonably led to believe that

failure to conform will bring adverse consequences.’” Elec. Privacy Info. Ctr. v. DHS,

653 F.3d 1, 7 (D.C. Cir. 2011) (quoting Gen. Elec. Co. v. EPA, 290 F.3d 377, 383–84

(D.C. Cir. 2002)). So it is here. Although individual immigration officers have the

power to opt on a case-by-case basis to stay their hands with respect to their new-found

authority, the New Designation plainly binds the undocumented non-citizens who make

up the newly designated class, and it places them at risk of being targeted for expedited

removal, when they were not in such jeopardy before. Explained in a different fashion,

the potential benevolence of individual line-agents is cold comfort from the standpoint

of those persons who are located far from the border and are now in the agency’s

crosshairs, when, prior to the New Designation, they were not.

       The D.C. Circuit rejected similar agency deflection regarding the significance of

the potentially less-than-uniform impact of its policy change in Electronic Privacy




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Information Center v. United States Department of Homeland Security. See 653 F.3d at

7 (noting, with respect to a challenge to the Transportation Security Administration’s

(“TSA”) decision to use advanced imaging technology (“AIT”) to screen airline

passengers, instead of magnetometers, that “[t]he TSA seems to think it significant that

there are no AIT scanners at some airports and [that] the agency retains the discretion to

stop using the scanners where they are in place[,]” and explaining that “[m]ore clearly

significant is that a passenger is bound to comply with whatever screening procedure

the TSA is using on the date he is to fly at the airport from which his flight departs”).

This Court, too, finds it doubtful that the fact that the July 23rd Notice allows officers

discretion to apply the binding policy defeats the conclusion that the Notice counts a

substantive rule.

       Finally, the Court notes that DHS’s underdeveloped, hail-Mary assertion that the

July 23rd Notice is not subject to notice-and-comment rulemaking procedures because it

is subject to the “agency rule” exemption (see Defs.’ Opp’n at 49 n.10) likely fails as

well. “A useful articulation of [that] exemption’s critical feature is that it covers

agency actions that do not themselves alter the rights or interests of parties, although it

may alter the manner in which parties present themselves or their viewpoints to the

agency.” Am. Hosp. Ass’n, 834 F.2d at 1047 (quoting Batterton, 648 F.2d at 707). As

outlined above, the July 23rd designation undeniably alters the rights and interests of

those non-citizens who otherwise could not have been subject to expedited removal.

       Given that (1) Plaintiffs are likely to be able to establish that the July 23rd

Notice qualifies as a substantive rule, (2) Congress did not expressly exempt the

expedited removal designation that DHS is authorized to issue under the INA’s section




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1225(b)(1)(A)(iii)(I) from the APA’s procedural requirements, and (3) DHS did not

notify the public of the New Designation or seek public comment prior to announcing

that the New Designation was a fully effective statement of agency policy, the only

remaining factor that might thwart Plaintiffs’ success with respect to establishing the

claimed violation of the APA’s notice-and-comment requirements is whether there was

good cause for DHS to issue this rule without engaging in notice-and-comment

rulemaking. See Council of S. Mountains, 653 F.2d at 580. Defendants dutifully try

this tack. (See Defs.’ Opp’n at 49–52.) But record facts are pesky things; here, the

agency’s own conduct in waiting two and a half years to issue the New Designation

after the President first brought this matter to the agency’s attention, and also its own

statements (made in the course of this litigation) confidently asserting that none of

Plaintiffs’ members are in danger, will likely impede the agency’s progress with respect

to any good-cause showing.

       First, though, it is important to address Defendants’ broad contention that the

INA itself dispenses with the need to show good cause with respect to any particular

implementation decision by the agency. DHS asserts that “[t]he clear import of the

unfettered discretion accorded the Secretary [in section 1225(b)(1)(A)(iii)] is to permit

the Secretary ‘to apply the expedited removal procedures to additional classes of aliens

within the limits set by the statute if, in the [Secretary’s] discretion, such action is

operationally warranted’” and in the agency’s view, that “includ[es] in ‘specific

situations such as a sudden influx of illegal aliens motivated by political or economic

unrest or other events or by a general need to increase the effectiveness of enforcement

operations at one or more locations.’” (Defs.’ Opp’n at 47 (second alteration in




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original) (quoting 62 Fed. Reg. at 10,313–14).) In other words, according to

Defendants, “[n]otice-and-comment procedures are incompatible with that clear

statutory goal, and would eviscerate the statutory purpose that the Secretary be able to

‘modif[y]’ a designation ‘at any time.’” (Id. (second alteration in original) (quoting 8

U.S.C. § 1225(b)(1)(A)(iii)).)

      Defendants’ arguments in this regard are not likely to succeed. In a nutshell, this

Court sees nothing in the INA that suggests that Congress intended to displace the

standard order when it comes to agency decision making; for example, unlike other

statutes, the INA’s expedited removal provisions do not establish “a comprehensive,

freestanding scheme with particularized procedures that are different and unique from

those provided by the APA,” such that it is clear that Congress intend for DHS not to

follow the APA’s notice-and-comment prescriptions. Envtl. Integrity Proj. v. EPA, 177

F. Supp. 3d 36, 43 (D.D.C. 2016) (internal quotation marks omitted); (see also Defs.’

Opp’n at 47 (quoting same)). And, again, the mere fact that section

1225(b)(1)(A)(iii)(I) states that DHS may modify the designation as to who is subject to

expedited removal “at any time,” does not mean Congress wanted DHS to be allowed to

modify the designation randomly, without giving considered thought to that decision,

and at a moment’s notice. (See supra Part V.2.b.)

      And with respect to the New Designation that Acting Secretary McAleenan

announced on July 23, 2019, there appears to be no good reason why DHS failed to

solicit public comment that might well have brought additional and significant

information to light. DHS’s assertion that it would have been “impracticab[le]” to do

so under the circumstances presented here (Defs.’ Opp’n at 51 (citing 84 Fed. Reg. at




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35,413)) makes a mockery of that otherwise legitimate criterion; indeed, DHS appears

to have had nothing but time—29 months, to be exact—between then-Secretary Kelly’s

public announcement that the agency would be implementing a new expedited removal

designation and the agency’s actual issuance of the July 23rd Notice, and, surely, it was

possible for DHS to have laid the necessary groundwork and to craft a proposed rule for

submission to the public in that span. What its impracticality argument really conveys

is the agency’s mistaken conclusion that it did not need to do so (see id. (arguing that

“[t]he Notice cannot be ‘effective immediately’ or ‘modified at any time’ if notice-and-

comment is required, and therefore it is impracticable to provide such notice”)), but that

is not the stuff of which a valid “impracticability” argument is made.

       Nor can Defendants credibly contend that this Court should find good cause for

its failure to comply with the APA’s procedural requirements when it promulgated the

New Designation based on the public’s interest in the agency’s being in a position to

respond to a “surge” at the border. 84 Fed. Reg. at 35,413; (see also Defs.’ Opp’n at 49

(arguing that notice-and-comment rulemaking was “contrary to the ‘public interest’”

within the meaning of 5 U.S.C. § 553(b)(B))), given that “‘delayed implementation

could lead to a surge in migration across the southern border across a notice-and-

comment period,’ threatening ‘national security and public safety,’ and causing possible

‘destabilizing effect[s] on the region,’ and ‘significant loss of human life’” (id.

(alteration in original) (quoting 84 Fed. Reg. at 35,413).) As noted, this Court need not

defer to the agency’s judgment about whether or not it had the need to move quickly,

see Sorenson Commc’ns Inc., 755 F.3d at 706, but DHS has also repeatedly suggested

(in the context of this litigation) that, really, no one needs to worry about its execution




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of this new policy, because the agency may not be moving to enforce expeditious

removal of settled undocumented non-citizens per the power of the July 23rd Notice

anytime soon. (See, e.g., Defs.’ Opp’n at 39–41; AM Hr’g Tr. at 35:8–14.)

       Such representations contradict—and undermine—the agency’s contention that

the reason notice-and-comment was, in the agency’s view, expendable, was that it had

to implement the New Designation policy fast, to provide it with tools to deal with “the

ongoing crisis” at the border. 84 Fed. Reg. at 35,411. And it is hard to know which of

the agency’s representations to credit, because if there is no imminent threat that

Plaintiffs’ members will be subjected to expedited removal under the July 23rd Notice,

and the execution of that Notice is not an agency priority, how much weight can its

assertions about its need to hastily “remov[e] from the United States . . . aliens who

cannot establish a credible fear of persecution or torture[,]” id. at 35,412, such that

notice-and-comment procedures were not required prior to its issuance of the New

Designation, be given?

       Thus, in the end, it is not likely that this Court will be persuaded that DHS had

good cause for side-stepping the ordinary rulemaking gauntlet, or that skipping the

notice-and-comment procedure was in the public’s interest, due to the agency’s need to

rise rapidly to meet the challenge that an influx of undocumented non-citizens at the

border presents. The fact is, DHS did not respond quickly to a purported urgent need to

issue the New Designation. Instead, it waited for more than two and a half years after

the President publicly identified the need before it actually issued its Notice.

Furthermore, DHS showed no urgency even after the policy that it announced became

effective; indeed, somewhat inexplicably, the agency announced, on July 23, 2019, that




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the New Designation was “effective immediately,” id. at 35,410, but failed to take any

steps to enforce that policy until 40 days later, on September 1, 2019 (see, e.g.,

Teleconf. Tr. at 3:7–8). And here, still, government counsel reminds us that the agency

has not yet acted to impose the policy on an any of the individuals whom it affects.

(See AM Hr’g Tr. at 35:8–14.) But DHS also invites the Court to find, as a matter of

law, that “a surge in migration” can happen quickly (Defs.’ Opp’n at 49 (quoting 84

Fed. Reg. at 35,413)), and that this mere prospect justifies the agency’s failure to

comply with the APA with respect to promulgating the rule that it has not yet chosen to

enforce. All things considered, this Court is unlikely to accept that contention.

       Consequently, the much more likely scenario is that the Court will conclude at

the end of the day that DHS was required by the APA to provide the public with notice,

and an opportunity to comment, before the agency adopted the New Designation and

announced that policy change. In addition, the Court is likely to conclude that there

was no good reason for DHS to fail to comply with the APA’s notice-and-comment

requirements, under the circumstances presented in this case. As a result, Plaintiffs

have a likelihood of succeeding on the merits of their notice-and-comment claim.

                     c.     It is likely that the July 23rd Notice resulted from arbitrary
                            and capricious decision making

       Based on the evidence presented here, it is also likely that Plaintiffs will be

successful in persuading the Court that DHS’s New Designation rule was promulgated

in an arbitrary and capricious fashion. Plaintiffs’ primary argument in this regard is

that, even now, DHS “fails to acknowledge . . . the due process problems in the existing

expedited removal system,” and they argue that, due to this unexplained oversight, the

record amply demonstrates that the agency cannot have “ensure[d]” the New



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Designation’s “fair application to those newly subject to the Rule.” (Pls.’ Mem. at 47

(capitalization altered).) And with respect to their contention that problems abound,

Plaintiffs bring the receipts: the evidence includes supporting declarations that outline

the flaws in the existing expedited removal system. (See id. at 18–23.) Boiled to bare

essence, Plaintiffs’ arbitrariness claim appears to be that the flaws in the pre-existing

scheme were so glaring that the agency’s failure to account for them when it adopted

the New Designation renders the July 23rd Notice irretrievably infirm.

       For example, according to Plaintiffs, prior applications of the expedited removal

policy featured erroneous identifications of persons as being subject to removal (see id.

at 19), as well as instances in which such erroneously identified persons were also

actually deported (see id. at 18–19). In addition, there have allegedly been egregious

errors in recording “material statements made by noncitizens who express a fear of

persecution or torture” (id. at 19; see id. at 19–21); failures to provide translators (see

id. at 22); and failures “to advise noncitizens that they may request to withdraw their

applications for admission, which allows noncitizens to leave the United States

voluntarily and avoid penalties that include permanent inadmissibility to the country”

(id.). Plaintiffs also say that evidence concerning these and other problems was widely

available before DHS issued the July 23rd Notice; for example, it is purportedly

included in studies that the United States Commission on International Religious

Freedom—a government entity—has conducted. (See, e.g., id. at 18 (citing U.S.

Comm’n on Int’l Religious Freedom, Report on Asylum Seekers in Expedited Removal:

Volume I: Findings & Recommendations 4-5, 10 (2005); U.S. Comm’n on Int’l Religious

Freedom, Barriers to Protection: The Treatment of Asylum Seekers in Expedited Removal 2

(2016)).)


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           Amici contend that “DHS’s decision to expand expedited removal will inflict

broad and systemic harm on the individuals, families, communities, and the broader

public” (Amicus Br. at 26), because “[p]eople who have lived in this country for one or

two years . . . have begun to build lives here. They contribute to our economy and civic

life in countless ways” (id. at 26–27). Amici note, for example, that “undocumented

immigrants in California each year contribute an estimated $3 billion in state and local

taxes” (id. at 27), 25 and that “[u]ndocumented immigrants in New Jersey paid an

estimated $587.4 million in state and local taxes in 2014” (id. at 27–28). 26 Amici also

outline the impact that DHS’s expanded expedited removal designation could have on

children and families, as “millions of people live in ‘mixed-status’ households, where

one or both parents may be undocumented, while some or all of the children (and,

sometimes, a spouse) are U.S. citizens.” (Id. at 28.) 27 Amici maintain that

“[e]xpanding expedited removal means that these ‘mixed-status’ families face

separation with little or no time to prepare” (id.), and, indeed, according to the amicus

brief, “[s]tudies show that children faced with the likelihood of a family member[’s]

deportation can experience serious mental health problems, including depression,

anxiety, self-harm, and regression” (id.). 28 Amici also contend that “deporting a


25
 Citing Inst. on Taxation & Econ. Policy, State and Local Tax Contributions of Undocumented
Californians, at 1 (Apr. 2017), https://tinyurl.com/ITEP-Taxes.

26
     Citing Am. Immigration Council, Immigrants in New Jersey, at 4 (Oct. 13, 2017), https://tinyurl.com/AmIC-NJ.

27
  Citing Randy Capps, et al., Urban Inst., Implications of Immigration Enforcement Activities for the
Well-Being of Children in Immigrant Families: A Review of the Literature, at 8–12 (Sept. 2015),
https://tinyurl.com/CappsMPI.
28
  Citing Hirokazu Yoshikawa, Immigrants Raising Citizens: Undocumented Parents and Their Young
Children 120-136 (2011); Capps, Implications of Immigration Enforcement Activities, at 8-9. “In one
[such] study, children with deported parents refused to eat, pulled out their hair, had persistent
stomachaches and headaches, engaged in substance abuse, lost interest in daily activities, and had
trouble maintaining positive relationships with non-deported parents.” (Amicus Br. at 29 (citing


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family’s financial breadwinner can lead to economic hardship and loss of housing for

remaining family members, and can put children, seniors, and disabled family members

at serious risk[,]” such that, “[a]s a result of increased deportations under the new rule,

many families will be forced to seek increased social services[.]” (Id. at 29.) 29

          All that said, what matters for present purposes is whether DHS disputes any of

these accounts of the lived experiences of settled undocumented non-citizens and the

potential impact of their coming into contact with DHS’s expedited-removal practices,

and if not, whether the agency took that into account when it determined that the

expedited removal policy should be expanded. In this regard, the Court observes that

nowhere in DHS’s brief does the agency say: “your Honor, what Plaintiffs are

representing about the state of affairs that might occur as a result of the expansion of

our expedited removal practice is wrong” or that “Plaintiffs’ accounts of what might

happen are grossly exaggerated.” And in the absence of any such representation, the

Court is left to wonder where in the administrative record does the agency consider, and

attempt to address, these flaws and issues as part of its decision making process

regarding whether or not to adopt this new policy? There is no question in this Court’s

mind that an agency cannot possibly conduct reasoned, non-arbitrary decision making

concerning policies that might impact real people and not take such real life

circumstances into account. See, e.g., Nat’l Lifeline Ass’n v. FCC, 921 F.3d 1102, 1113

(D.C. Cir. 2019) (“[T]he Commission’s decision does not indicate that it considered the



Heather Koball, et al., Urb. Inst., Health and Social Services Needs of US-Citizen Children with
Detained or Deported Immigrant Parents, at 5 (Sept. 2015), https://tinyurl.com/MIRFinal; Mary
Papenfuss, Weeping Girl Left Abandoned by ICE Pleads with ‘Government’ to ‘Let my Parent be Free’,
Huffington Post (Aug. 8, 2019), https://tinyurl.com/Papenfuss-HuffPost).)
29
     Citing Capps, Implications of Immigration Enforcement Activities, at 9–14, 17–22.


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effect of eliminating the enhanced subsidy for non-facilities-based providers, namely

that many low-income consumers on Tribal lands will lose access to affordable

telecommunications service.”); Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d

914, 931 (D.C. Cir. 2017) (finding that agency failed to address the “relevant

environmental concern” and “denied its very existence”).

      Because of the potentially serious implications that DHS’s expansion of

expedited removal might have on the persons who would be subjected to expedited

removal under the New Designation, as well as the potential impact on their families

and the communities in which they live—DHS admits that its new designation could

subject “hundreds of thousands” of non-citizens to rapid removal, 84 Fed. Reg. at

35,411; (see also Defs.’ Opp’n at 66–67)—the Court is persuaded that there is a

substantial likelihood that DHS “entirely failed to consider an important aspect of the

problem,” State Farm, 463 U.S. at 43, before issuing the July 23rd Notice, and as result,

that the agency failed to engage in reasoned decision making, as required by law, see 5

U.S.C. § 706(2)(A). In particular, it appears to the Court that DHS only considered the

upsides of the New Designation in terms of its potential effects on “national security

and public safety” and the fact that the rule had the potential of “reducing government

costs[.]” 84 Fed. Reg. at 35,409. But there is no evident consideration of the

considerable downsides of adopting a policy that, in many respects, could significantly

impact people’s everyday lives in many substantial, tangible, and foreseeable ways.

      To be clear: DHS is more than entitled to consider the issues that it did take into

account, i.e., whether expanding expedited removal in the manner outlined in the July

23rd Notice would “alleviate some of the burden and capacity issues currently faced by




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DHS and [the Department of Justice][,]” id. at 35,411; or would “more quickly make

available additional ICE bed space, which can be used for additional interior arrests and

removals[,]” id.; or would “mitigate additional backlogs in the immigration courts” and

“reduce the significant costs to the government associated with full removal

proceedings before an immigration judge, including the costs of a longer detention

period and government representation in those proceedings[,]” id. at 35,412. These are

all relevant and important considerations, and the fact that the agency lists them in the

July 23rd Notice suggests that the agency may well have gone part-way to where it

needs to be on the continuum between reasoned decision making and irrationality. But

an agency cannot consider only the perceived shiny bright spots of a policy that it is

mulling—the silver lining, if you will. To make a reasoned decision that passes muster

under the APA, the agency must also attempt to forecast the storm clouds that might be

spawned if it adopts the proposed policy, and it must at least acknowledge the potential

impact that such dark clouds might actually have on the people and communities the

policy would affect.

       With respect to the policy at issue here, the potential devastation is so obvious

that DHS can be fairly faulted for its unexplained failure to predict, and attempt to

mitigate, the fully foreseeable future floods. For one thing, the evidence plainly

indicates that the prior expedited removal practices have known and significant glitches

when they have been applied to undocumented non-citizens who have just arrived in

this country. (See Pls.’ Mem. at 18–23.) Did DHS consider the order-of-magnitude

difference that applying this policy would have if such problems occur with respect to

immigrants who are in the United States, lawfully, and who have been here for a




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considerable period of time, and would face a substantially increased risk that they

might be erroneously identified and flagged for rapid removal as a result of the

expanded expedited removal practice? (Cf. id. at 18–19.) 30 At the very least, it would

seem that some consideration of how many people might be erroneously swept up in the

expanded expedited-removal dragnet, and/or how often such identification errors have

occurred with respect to the agency’s expedited-removal practices in the past, would be

in order if the agency endeavors to undertake a rational consideration of whether to

ramp up the practice. Yet, at least at this preliminary stage, no one has pointed to any

data or information about such cautionary tales in the administrative record at issue

here.

        There is also the matter of the real-world consequences of implementing a policy

that permits immigration officers to eject individuals immediately (even undocumented

non-citizens) if such folks have been living and working inside the United States for

lengthy periods of time. (See Amicus Br. at 26–27 (“People who have lived in this

country for one or two years (or more) have begun to build lives here.”).) DHS has not

persuasively argued that the burden of having to (a) avoid immigration officials

entirely—which Plaintiffs show is likely difficult or impossible for many non-citizens

who would be subject to expedited removal (see, e.g., Pls.’ Suppl. Br. at 6 (explaining

that “[immigration] enforcement actions occur across contexts—they include

surveillance and arrests at courthouses, buses, and trains, as well as raids on workplaces

and homes” (citation omitted)))—or (b) carry around documents establishing one’s


30
  This is not to suggest that the potential injury to such people is a sufficient basis for them to assert
Article III standing, as Plaintiffs suggest. (See Pls.’ Suppl. Br. at 6.) Rather, it goes to show that such
individuals exist, and to the extent that they might be harmed, DHS was likely obliged to take potential
injury to such persons into account.


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continuous presence or lawful status at all times in perpetuity, is irrelevant to a rational

assessment of a policy that would likely generate this outcome. And if that factor

matters, then DHS was required to take it into account. See State Farm, 463 U.S. at 43.

However, in this respect, too, the Court has yet to find any record evidence that DHS

actually considered such burdens as part of its decision making process before it

adopted the New Designation (and perhaps for good reason, because, as far as this

Court can tell at this early stage in the case, such matters were not factored in at all).

       Nor does it appear that DHS employed its expertise to engage in the kinds of

careful line-drawing that Congress likely intended when it authorized the agency to

designate classes of individuals as subject to the expedited removal process. Congress

routinely sets maximum parameters within which agents of the government may

exercise discretion. See, e.g., United States v. Booker, 543 U.S. 220, 233 (2005)

(reinforcing, in the context of criminal sentencing, a federal judge’s authority “to

exercise broad discretion in imposing a sentence within a statutory range”). But it

typically does so with the expectation that those agents will exercise that discretion in a

reasoned manner, i.e., by doing the work necessary to make rational, non-arbitrary

decisions about the policies that will be implemented pursuant to that authority. Cf.,

e.g., 28 U.S.C. § 991 (establishing and outlining purpose of the United States

Sentencing Commission, which is to “establish sentencing policies and practices for the

Federal criminal justice system[,]” including, among other things, “provid[ing]

certainty and fairness in meeting the purposes of sentencing”). That intent is evident

with respect to the INA, because Congress plainly established the outer contours of

acceptable implementation of the expedited removal process, see 8 U.S.C.




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§ 1225(b)(1)(A)(iii)(II), and then asked the Attorney General to exercise his discretion

to designate the categories of persons who will be subjected to expedited removal

within those contours, see id. § 1225(b)(1)(A)(iii)(I).

       Consistent with legislative authorization in other areas, this grant of

discretionary authority should not be taken to mean Congress must have intended for

the agency to have full power to exercise its discretion in an irrational way. (But see

Defs.’ Opp’n at 67–68.) In fact, it is much more likely that Congress wanted the

Attorney General (now, DHS) to make expedited removal designations under section

1225(b)(1)(A)(iii) in a manner that reflects the agency’s expertise, which, of course, is

likely the reason why Congress thought it best to tap the agency at all. That is, in 1996,

when Congress undertook to create the expedited removal process by statute, it could

have easily dictated precisely who would be subject to expedited removal at that time,

in the first instance, rather than enlisting the Attorney General’s help. But, instead,

Congress intentionally delegated the designation authority to the expert agency that it

likely believed was best equipped to make rational decisions about who should be

exposed to the significant and consequential risks it was creating.

       In this Court’s view, this means that DHS is not at all exempt from the

reasonable rulemaking requirement. (See Defs.’ Opp’n at 67–68 (arguing that the

agency had every right to just adopt, wholesale, the statutory limit in its rules).) To the

contrary, it is likely that DHS only has such authority precisely because Congress and

the Attorney General believed that an administrative agency with DHS’s portfolio could

be counted on to ask the right questions, to look at all the facts, and to evaluate, fully,

the best course of action with respect to expedited removal process.




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        Thus, in this Court’s considered judgment, in order to have fulfilled that duty

with respect to the designation decision that is at issue here, at a minimum, DHS needed

to consider such questions as “how long is too long” for an undocumented non-citizen,

who has been living in this country for an extended period of time, to carry the burden

of having to provide immediate proof of his identity and alienage, without access to

counsel or other procedures. Also important is an inquiry into whether imposing such a

burden on individuals living anywhere in the nation’s approximately 3.5 million square

miles is really needed. 31 Another way of getting at these same relevant concerns would

be for the agency to consider, with respect to the category of settled undocumented non-

citizens who might have substantial ties to the United States at the time they are

encountered, which public interests weigh more heavily in the balance between rapid

removal and providing procedural rights. 32

        None of the statements that the Acting DHS Secretary makes in the July 23rd

Notice indicates that the agency took into account any of these matters. And based on

what the Notice says and the administrative record, Plaintiffs are likely to be able to

demonstrate that the agency’s only concern was the potential impact of this policy

change on its own resources and the efficiency of the immigration removal system.

This Court is of the opinion that, even assuming that DHS fairly and accurately

assessed those impacts and has stated a rational connection between the agency’s goals

and the policy it has adopted (which is not crystal clear), the agency’s apparent failure




31
 See The World Factbook, Central Intelligence Agency, https://www.cia.gov/library/publications/the-
world-factbook/geos/us.html.

32
  And, of course, one way to figure this out would be to put the proposed rule in the Federal Register
and seek public comment about it.


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to evaluate the impact of the policy on the individuals who would be subject to the New

Designation, and their communities, means that it has ignored a significant aspect of the

problem that its proposed policy creates—i.e., the fact that the greatly expanded

category of individuals who would be newly subject to expedited removal might have

ties to the community that individuals arriving at ports-of-entry, or those who are found

within 100 miles of a border and who have not been in the United States for at least two

weeks, generally do not. 33

       In reviewing the evidence and considering the arguments that the parties in this

lawsuit have made regarding the allegedly arbitrary and capricious nature of DHS’s

New Designation, this Court has struggled to provide a concrete way to convey its

conclusions about what the evidence is likely to show and what the law indisputably

requires with respect to DHS’s decision making process in regard to the policy it has

adopted. The Court has come to realize a helpful fact that is easily inferred from the

panoply of statements that 17 states, and the District of Columbia, make in their joint

amicus brief (see Amicus Br. at 26–32), as well as the press accounts they cite. As

summarized above, amici persuasively point to the significant harms that are likely to

occur if the New Designation that DHS has adopted is enforced around the country, and

the inference of fact that they amply support is this: the expedited removal of an

individual who may have been living and working in the United States for a significant

period of time has the potential to cause trauma. And not just to the individuals

themselves; indeed, the anticipated radius of injury also encompasses those persons’



33
  The distinction between these two categories of persons explains why the D.C. Circuit’s alleged
endorsement of DHS’s prior expedited removal practices (see Defs.’ Opp’n at 68) is not sufficient to
warrant the conclusion that the Circuit would overrule all objections to the July 23rd Notice.


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households, neighborhoods, communities, workplaces, cities, counties, and States. (See

id.) When DHS evaluates whether or not such inflicted pain is really worth it (as it

must), it can certainly assess all of the benefits it can identify with respect to the

humanity voids that an expanded expedited removal policy creates, including the

agency’s own saved resources, see 84 Fed. Reg. at 35,411; the effect on the agency’s

ability to protect our national security, see id.; and anything else the facts support. But

any reasonable decisionmaker would also want to know about the problems, and would

undoubtedly do its best to temper, or, at the very least, acknowledge, those effects.

       This means that, in the instant context, before DHS decides to authorize the swift

ejection of someone who lives in the interior of the country and has been here for up to

two years, it would likely have to do some research regarding such matters as how long

a person must be here, on average, to be likely to have the kinds of substantial ties to

the community that would make her expedited removal more, or less, consequential for

all involved. DHS is certainly an expert with respect to that kind of information, and if

it had bothered to consider impact issues prior to issuing the July 23rd Notice, who

knows what that agency, with all its expertise about the effect of U.S. immigration law

on the communities in question, would have found? Perhaps two months is not long

enough to really lay down roots, but 18 months of being here, and then being yanked

away, would be problematic in myriad ways. Again, those are the kinds of judgment

calls that Congress plainly asked the agency to determine, and DHS had an opportunity

to bring its knowledge, and its judgment, to bear on that important question before it

decided that imposing expedited removal on persons who have been in the United States

for up to two years was going to be the call. Most importantly for present purposes, the




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APA and the cases that interpret it make clear that DHS’s apparent failure to undertake

any kind of assessment of any of the downside risks of the proposed New Designation

was a gross abdication of the agency’s statutorily designated responsibilities in this

regard. See Nat’l Lifeline Ass’n, 921 F.3d at 1113–14; Am. Wild Horse Pres.

Campaign, 873 F.3d at 930–31.

       Notably, this Court is not saying anything at all about whether the policy choice

that the July 23rd Notice reflects—i.e., up to two years of continuous residency; to be

employed in every state in the Union—is proper as a substantive matter. Plaintiffs have

tried (quite vigorously, in fact) to compel the Court to reach that conclusion in the

context of its emergency motion, but this Court is ever mindful of DHS’s, and

Congress’s, considerable expertise in these areas, as well as the established legal

principle that (up to constitutional limits) the Court cannot “substitut[e] its judgment

for that of the agency.” Van Hollen, Jr., 811 F.3d at 495 (internal quotation marks and

citation omitted).

       Furthermore, and most important, based on the record presented here, the Court

need not come anywhere close to making a due-process pronouncement and still

conclude that DHS likely engaged in arbitrary and capricious decision making with

respect to the rule at issue in this case. This is because clear and binding precedent

holds that it is the very definition of arbitrariness in rulemaking if an agency refuses to

acknowledge (or fails to obtain) the facts and figures that matter prior to exercising its

discretion to promulgate a rule. See Dep’t of Commerce v. New York, 139 S. Ct. 2551,

2569 (2019); State Farm, 463 U.S. at 43. And, indeed, in this Court’s view, an

administrative agency that just plows ahead and announces a new rule, without taking




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the reasonably foreseeable potential negative impacts of the policy determination into

account (as DHS appears to have to done) might as well have picked its policy out of a

hat. (See AM Hr’g Tr. at 61:13–17; see also id. at 67:24–68:1 (defense counsel,

expressing relief in response to the Court’s line of arbitrariness questions, and in jest,

that “thankfully, . . . there’s no suggestion that [the Acting Secretary] did use darts or a

Ouija board”).)

       B.     If Plaintiffs’ Members Are Subjected To DHS’s Expanded Expedited
              Removal Policy During The Pendency Of This Lawsuit, They Will
              Suffer Irreparable Harm

       Moving on to the second prong of the preliminary injunction analysis—at nearly

100 pages into this discussion—the Court is relieved to find that the irreparable-harm

inquiry need not detain it for long. Plaintiffs’ contention that their members are likely

to suffer irreparable harm without immediate judicial intervention is credible and

supported by the evidence, and the case for this conclusion was almost already made,

just on the basis of the Court’s prior evaluation of Plaintiffs’ members’ likely injury for

standing purposes. (See supra Part V.A.1.b.) With respect to the merits of the motion

for a preliminary injunction, the law defines “[a]n ‘irreparable harm’ [a]s an imminent

injury that is both great and likely, and for which legal remedies are inadequate[,]”

Jackson v. Dist. of Columbia, 692 F. Supp. 2d 5, 7 (D.D.C. 2010) (citing Wis. Gas Co.

v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)), and this Court has already concluded

that Plaintiffs have established a substantial likelihood that at least some of their

members face an injury that is imminent enough to provide the Plaintiff-organizations

with the legal right to file an action in federal court alleging that DHS has violated the

APA. Therefore, the Court’s assessment of whether the Plaintiff-organizations have

shown that their members are likely to face irreparable harm absent a preliminary


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injunction, which is a required showing for entitlement to such emergency relief, will

focus, first, on whether the harm alleged is sufficiently severe to compel the conclusion

that interim injunctive relief is warranted, and then, on whether the harms Plaintiffs

allege could be otherwise remedied.

       To this end, the Court begins by acknowledging that Plaintiffs maintain that their

organizations include members who would be legally subject to the expanded expedited

removal procedures, “because they entered without inspection[] and have been

continuously present in the United States for less than two years.” (Pls.’ Mem. at 53.)

Plaintiffs also proffer that they have members who are not subject to expedited removal

under DHS’s New Designation, because they have been continuously present here for

longer than two years, for example, but could be irreparably be harmed by being

mistakenly swept up in the agency’s wide-scale expansion of the fast-track procedures.

(See id.) Plaintiffs further assert that many of their members who have authorization to

be in the United States fear being subjected to expedited removal “because they do not

have or know what documents they could use to show their legal status or their

continuous presence, and do not know when and how they would be able to access this

crucial information if they encounter[ed] an immigration officer at work, on the street,

or [at] a courthouse.” (Id.) Finally, Plaintiffs argue that, in any event, they are being

irreparably “‘depriv[ed] of a procedural protection to which [they are] entitled’ under

the APA,” because the agency has not considered the comments that Plaintiffs would

have submitted as part of the required notice and comment process. (Id. at 54 (quoting

Sugar Cane Growers Coop. of Fla. v. Veneman, 289 F.3d 89, 94–95 (D.C. Cir. 2002)).)




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       Plaintiffs have presented several declarations to support these contentions, the

most helpful of which is the Declaration of Kara Hartzler, a criminal defense lawyer

who has worked as a public defender in San Diego, California, for seven years. (See

Decl. of Kara Hartzler, ECF No. 13-14, ¶ 1.) Hartzler has seen her share of expedited

removal situations; she generally avers to the “rushed nature of the [expedited removal]

proceedings” (id. ¶ 11), and helpfully explains that “[t]he [removal] order is usually

issued within a few days, if not hours” (id. ¶ 13). Other declarants also attest that

significant errors also occur, at times, with respect to these types of proceedings.

Joanna Delfunt, a Georgia-based lawyer with her own law firm (see Decl. of Joanna

Delfunt, ECF No. 13-11, ¶ 1), testifies that an expedited removal order was once issued

against a non-citizen who had been present in the United States for three years on a visa

(see id. ¶ 8). Leah Jones, an associate at a law firm in California (see Decl. of Leah A.

Jones, ECF No. 13-17, ¶ 1), recounts that an expedited removal order was issued

against an undocumented non-citizen who had arrived in the United States to escape

“horrific domestic violence” within 24 hours of her arrival at a port of entry, even

though the potential asylee explicitly told the immigration officer that she was afraid to

return to her home country (id. ¶¶ 11, 14). And Jose Rodriguez, another California

attorney (see Decl. of Jose Jesus Rodriguez, ECF No. 13-13, ¶ 1), avers that DHS

sometimes issues expedited removal orders against non-citizens who are not provided

with translators, and who are never asked about whether they have a fear of persecution

should they be returned to their home country (see id. ¶¶ 7–9).

       Plaintiffs have thus provided sufficient evidence that at least one of each

organization’s members has a substantially increased risk of facing substantial harm




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absent an order that enjoins DHS from enforcing the July 23rd Notice while the parties

litigate this matter on the merits, whether the member is legitimately subject to

expedited removal or not. This is so for several reasons.

       First, any member who is a citizen of the United States, a lawful permanent

resident, a refugee, an asylee, or a holder of a valid visa—all of whom have a legal

right to remain in the United States—would undeniably experience severe and

irremediable harm if they were improperly removed from this country. And by

presenting sworn declarations such as the ones that the Court has described, Plaintiffs

have established that such mistakes do happen, which supports an inference that

expanding expedited removal in the manner prescribed by the July 23rd Notice would

subject a not-insignificant number of such individuals to speedy and erroneous

deportation, given the scale of the expansion of expedited removal from its previous

scope. See, e.g., 84 Fed. Reg. at 35,411 (indicating DHS’s intention to subject

“hundreds of thousands” of non-citizens to rapid removal).

       Second, Plaintiffs’ evidence is also sufficient to establish that those non-citizen

members who meet the New Designation criteria, but would otherwise be subject to

deportation only via traditional removal procedures, face irreparable harm as well, due

to the delta between what the law requires with respect to the traditional process and the

process that might be afforded to them if they are encountered by immigration officers

now. For example, existing DHS regulations governing expedited removal requires the

detention of its subjects, see 8 C.F.R. § 235.3(b)(2)(iii), where traditional proceedings

do not, see id. § 236.1(b) (authorizing, but not requiring, arrest and detention pursuant

to a warrant); see also Ramirez v. USCIS, 310 F. Supp. 3d 7, 31 (D.D.C. 2018) (finding




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that plaintiffs faced irreparable harm from detention that “surely cannot be remediated

after the fact”). Additionally, and significantly, even an undocumented non-citizen who

has no defense to the charge that he is in this country illegally gets a few more hours to

spend with his family and friends, and to wind up his personal affairs, under the

traditional removal procedures, whereas the hallmark of the expedited removal process

is that the person is ordered removed to their home country quickly, “without further

hearing or review.” 8 U.S.C. § 1225(b)(1)(A)(i).

        Ask anyone who is facing the potentially abrupt termination of a close, personal

relationship with another person whether more time with that person makes a

difference. Likewise, if that bond is already broken, ask whether, if instead of extra

time, she could bank a dime for each missed second that she would have spent in that

person’s presence—would the cash be sufficient to compensate her fully for the loss?

This Court has no doubt that there is no adequate legal remedy to make those who are

forced to leave, or those who are left behind, completely whole in the wake of a forcible

ejection without warning, which is, in fact, the policy that DHS says it will execute on a

widespread basis, unless this Court grants Plaintiffs’ plea for interim emergency relief.

(See, e.g., Amicus Br. at 29 (documenting traumatic experiences of children whose

parents are suddenly and forcibly removed).) 34


34
  There is no doubt that Plaintiffs have primarily staked their claims on the alleged imminent injuries
of their members. (See Pls.’ Suppl. Br. at 5 (asserting associational standing).) Thus, the Court is
hard-pressed to conclude that harm to the organizations themselves from not being afforded the
opportunity to participate in notice and comment rulemaking with respect to the July 23rd Notice
counts as the type of irreparable harm that warrants judicial intervention at this stage of the case.
Moreover, as the Court notes at the conclusion of this Opinion, it is not at all clear that the loss of the
chance to provide comment is irreparable, since, if Plaintiffs win on their procedural claims, the July
23rd Notice will be vacated, and the parties will have another chance to participate in a rulemaking that
conforms to the mandates of the APA, should DHS seek again to designate a new class of
undocumented non-citizens as subject to expedited removal. (See infra, Part V.D.)



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       Third, and finally, it appears that the mere threat of being singled out and

subjected to the prospect of expedited removal and other similarly harsh DHS initiatives

may already be doing irreparable damage to settled immigrant communities. Amici

maintain, for example, that “health care providers are finding that immigrant families

are increasingly skipping health care appointments and abstaining from scheduling

routine prevention or primary care appointments for their children.” (Amicus Br. at

32); 35 see also Cal Matters, Immigrants Afraid of Trump’s ‘Public Charge’ Rule Are

Dropping Food Stamps, Medical (Sept. 22, 2019). 36 Thus, as the amicus brief makes

clear, with respect to these kinds of potentially irreparable secondary effects, no

speculation is required.

       Defendants counterarguments are cast, once again, in the broadest terms, and are

again based on general statements of law that are inapposite to the particular question

presented. Defendants do not engage at all with the actual record facts about the nature

of its rule and its impact; instead, DHS says, essentially, that no effects have occurred

yet as a result of the July 23rd Notice, because the agency has not yet opted to enforce

the policy. (See Defs.’ Opp’n at 73 (“[T]hese vague speculations premised on

subjective, amorphous fears that some unidentified member could be subject to the

immigration laws of this country if the Executive decides to enforce the statute as to

them at some unknown time in the future fails to show irreparable harm.” (emphasis in

original)).) In light of the evidence that Plaintiffs have presented, all this Court can



35
  Citing The Children’s P’ship, Healthy Mind, Healthy Future: Promoting the Mental Health and
Wellbeing of Children in Immigrant Families in California, at 25 (Sept. 22, 2018),
https://tinyurl.com/ChildrensPship-Healthy.

36
  Located at https://calmatters.org/economy/2019/09/immigrants-afraid-trump-public-charge-rule-food-
stamps-medical-benefits/.


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say, in response to the agency’s contention, is something that the Court suspects the

agency already knows: Plaintiffs’ members’ fear is real—right now, today—and not at

some hypothetical, unascertainable time in the future. (See, e.g., Amicus Br. at 32.)

Moreover, based on the statements that DHS itself has made, perhaps in an effort to

whip up that apprehension, Plaintiffs’ members’ fear of harm is not only realistic, its

broad effects cannot be remedied by the Court’s potential invalidation of the July 23rd

Notice six months hence. With children missing meals, and medicine not taken, it

actually borders on preposterous for DHS to say that all Plaintiffs’ members need to do

is wait until this case is over, and even if their loved-one has been shipped to

Guatemala, they can launch a legal action, and receive the requested injunctive remedy,

at that time. (See AM Hr’g Tr. at 42:6–9, 43:23–44:3; PM Hr’g Tr. at 115:15–19.)

       This Court rejects that contention, and it further finds that Plaintiffs’ evidence,

including amici’s brief, establishes ample grounds for an interim injunction to prevent,

temporarily, the enforcement of DHS’s legally dubious expanded expedited-removal

policy. The Court reaches this conclusion on the basis of the record evidence that (1)

some of Plaintiffs’ members who are lawful residents of the United States would face a

substantially increased risk of being erroneously removed; (2) some of Plaintiffs’

members who are undocumented non-citizens and therefore subject to the New

Designation could actually be removed through the expedited removal process, instead

of traditional deportation procedures; and (3) many people, including Plaintiffs’

members, are being traumatized right now by the paralyzing fear of the agency’s

persistent threat to invoke its potentially invalid rule and thereby foregoing necessary

activities of daily life. Consequently, this Court finds, that in the absence of a




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preliminary injunction that enjoins the agency’s enforcement of the July 23rd Notice

during the pendency of this case, Plaintiffs’ members will suffer irreparable harm.

       C.     Both The Balance Of The Equities And The Public’s Interest Weigh In
              Favor Of The Issuance Of A Preliminary Injunction

       Now that the Court has concluded that the most significant factors of the

preliminary injunction test—likelihood of success on the merits and irreparable harm—

weigh in favor of granting the relief Plaintiffs seek, it turns to the last two factors,

which require it to “balance the competing claims of injury[,]” and thereby “consider

the effect on each party of the granting or withholding of the requested relief.” Winter,

555 U.S. at 24 (internal quotation marks and citation omitted). The Court must also

consider whether granting a preliminary injunction is in the public’s interest. See id. at

20. For the reasons that follow, the Court finds that each of these factors weighs in

Plaintiffs’ favor as well.

       As to the balance of the harms, the Court finds that the equities weigh in

Plaintiffs’ favor, primarily due to the potentially significant harm to Plaintiffs’

members if the agency opts to enforce its rule while this litigation is pending. The

Court has already described, at some length, how the July 23rd Notice might impact,

and, indeed, is impacting, immigrant communities (even though the agency itself

appears not to have taken these negative consequences into account before it adopted

this rule). (See supra Part V.B; see also supra Part V.A.3.c.) The Court also gleans

(primarily from the States’ amicus brief) that the basket of harms that are likely to

occur if the Court refrains from preliminarily enjoining the agency’s conduct includes

potential damage to U.S. citizens, both inside and outside of communities that are

heavily populated by immigrants. (See, e.g., Amicus Br. at 26–28 (explaining that



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settled undocumented non-citizens “contribute to our economy and civic life in

countless ways”).)

       On the other hand, it is not entirely clear what harm DHS will experience if the

Court enjoins its rule on an interim basis, except, perhaps, the sunk costs of any

training expenditures that the agency has already made. (See AM Hr’g Tr. at 35:10–

14.) Setting its sights much higher, DHS says that “[a]n injunction would inflict

profound harm on the government, and specifically, the allocation of ‘limited

government resources’ to deal with [the] ‘increasing number of aliens . . . apprehended

within the United States.’” (Defs.’ Opp’n at 72 (ellipsis in original) (quoting 84 Fed.

Reg. at 35,411).) However, in light of the agency’s previously discussed lack of

urgency with respect to enforcement of the New Designation (see supra, Part V.3.b),

the connection between enforcing this rule and preventing an onslaught of unauthorized

entrants at the southern border seems tenuous, at best.

      Undaunted, DHS also maintains that “an injunction would inflict serious harm on

the government because it would ‘take[] off the table one of the few congressionally

authorized measures available’ to remove the thousands of aliens arriving in this

country illegally and absconding into the interior on a daily basis.” (Defs.’ Opp’n at 72

(quoting Innovation Law Lab v. McAleenan, 924 F.3d 503, 510 (9th Cir. 2019)).) That

might well be so. But, of course, removing options is what injunctions against the

government actors do, in every case, whenever they are issued. And, in this Court’s

view, an injunction harms the government in the way that DHS argues only if the tool

that it is stopped from using is needed at the time the government seeks to use it. Thus

despite DHS’s potentially accurate characterizations of the “crisis” at the southern




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border and the agency’s overall need to act, what is missing from the government’s

showing here is a clear link between the rule it has adopted and a problem, at the border

or elsewhere, that the government’s enforcement of the rule will plainly solve,

supported by evidence that the problem is happening now, such that the government can

argue, credibly, that it has to act during the pendency of this litigation. Instead,

Defendants’ counsel makes generalized representations about an overarching need to

address a complex issue that is primarily occurring in a geographical area that is not the

subject of the rule, and, again, the agency’s own conduct in delaying the

implementation and enforcement of its New Designation casts doubt on the agency’s

claims about its intention to enforce the new policy as a means of addressing the

problem it has identified.

       That’s not all. Defendants’ stated concerns about the impact of a preliminary

injunction from this Court on the government’s ability “to remove the thousands of

aliens arriving in this country illegally and absconding into the interior on a daily basis”

(id.) also appears not to be grounded in the evidence that the agency actually considered

when it decided to issue the July 23rd Notice, or the proof that has been offered to

justify that action in this case. Defense counsel provides no record citations that

support a contention of this nature in relation to the policy under review, and thus, this

Court cannot confidently conclude that an injunction against this particular agency

action would so impede the government’s efforts at the border that it qualifies as a

weighty and significant harm to the government, as Defendants’ brief maintains. To the

contrary, with respect to any injunction that this Court issues while this case is pending,

it seems most likely that DHS would just continue to experience the same delay in the




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execution of its New Designation policy that has been going on for a while. And,

certainly, if DHS wins this case, it can proceed apace with whatever plan it has

developed to enforce the expanded expedited removal process. What the agency has not

done, as yet, is cogently explain to this Court why an interim injunction should not

issue because the government will be significantly harmed if it does not execute the

challenged policy now.

       By contrast, primarily based, again, on the substantial harm that the Court has

already found would occur to Plaintiffs’ members and others if DHS is permitted to

execute the July 23rd Notice today, the Court concludes that the public-interest factor

also weighs in Plaintiffs’ favor. As discussed above, the public has a significant

interest in avoiding the erroneous application of a policy that can result in the swift and

largely unreviewable deportation, without almost any procedural safeguards, of

members of the public that have established strong ties to their communities. In this

Court’s view, Defendants have not shown that that public interest is outweighed by the

public’s legitimate interest in “the efficient administration of the immigration laws at

the border” (id. at 72 (quoting Innovation Law Lab, 924 F.3d at 510; United States v.

Cortez, 449 U.S. 411, 421 n.4 (1981)), at least under the circumstances presented in this

case, and at this time.

       Significantly, Plaintiffs also assert that “the public interest is served when

administrative agencies comply with their legal obligations.” (Pls.’ Mem. at 54.) If the

length and force of the instant Opinion has not been sufficient to express the Court’s

conclusions in this regard, it will underscore them now, by expressly confirming that

the Court agrees. Particularly when the agency rule that is under consideration




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implicates non-trivial concerns about having one’s family members, friends, and

neighbors potentially apprehended and swiftly deported—without the chance to check

in, or to establish that they do, in fact, belong here—this Court cannot emphasize

enough that the public’s interest in procedural safeguards against unconstrained

administrative agency action is especially strong. See Batterton, 648 F.2d at 703–04.

       D.     Defendants’ Argument That Any Injunction Can Only Restrict
              Agency Action As To These Plaintiffs Cannot Be Countenanced

       At long last, we have arrived at the most peculiar argument that DHS has made

in the rather long series of unpersuasive missives it has launched in opposition to

Plaintiffs’ motion for a preliminary injunction: its final assertion that, somehow, this

Court can—and, indeed, must—limit any injunctive relief that it issues to the agency’s

application of the facially defective rule to these plaintiffs, and these plaintiffs alone.

(See Defs.’ Opp’n at 75.) The strangeness of this position derives, first and foremost,

from DHS’s suggestion that the law requires this result, followed closely by the

agency’s assumption that such tailoring is even possible in the context of a typical case

that involves a facial challenge to a rule that has been promulgated by a federal

administrative agency. Even more troubling is the fact that DHS appears to be making

this argument on principle, and seemingly as part of a broader attempt to seek a

departure from standard practices in the realm of administrative law. See, e.g., East

Bay Sanctuary Covenant v. Barr, No. 19-cv-4073, 2019 WL 4265078, at *5 (N.D. Cal.

Sept. 9, 2019) (addressing Department of Justice’s argument that an invalid agency

policy could not be enjoined without geographic limitation, because to do so would be

to issuing an impermissible “nationwide injunction”). Ordinarily, in the wake of an

unfavorable judgment from a federal court regarding procedural claims brought under



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the APA, agency actors willingly refrain from imposing on anyone the rule that a

federal court has found to be unlawful (at least during the pendency of the litigation, up

to and including a prompt appeal). But, in this case, as elsewhere, DHS appears to be

engaged in a concerted effort to establish a precedent for judicial acquiescence to an

agency’s continued application of rules that courts have invalidated.

       In this Court’s view, federal courts countenance that effort at their peril. There

is neither space nor time, at this point in this Opinion, for the Court to provide a full

exposition of the range of actual and theoretical problems that DHS’s limited-injunction

arguments create. It suffices to explain, relatively briefly, that the government’s

limited-injunction remedy is problematic, when applied in the context of a challenge to

agency rulemaking that a plaintiff has brought on procedural grounds under the APA, in

at least the three ways that this Court sketches out below. In sum, and sternly put, the

argument that an administrative agency should be permitted to side-step the required

result of a fair-fought fight about well-established statutory constraints on agency

action is a terrible proposal that is patently inconsistent with the dictates of the law.

Additionally, it reeks of bad faith, demonstrates contempt for the authority that the

Constitution’s Framers have vested in the judicial branch, and, ultimately, deprives

successful plaintiffs of the full measure of the remedy to which they are entitled.

                                          * * *

       First of all, it cannot be disputed that both Congress and the D.C. Circuit have

spoken directly to the “sharply limited” injunctive remedy that DHS pushes in this

context (Defs.’ Opp’n at 75), and a good faith reading of the pronouncements of these

binding legal authorities establishes, indisputably, that DHS’s limited-injunction




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argument is foreclosed. Section 706 of Title 5 of the United States Code tells the

federal courts in no uncertain terms exactly what they must to do if they find that an

agency’s “action, findings, [or] conclusions” are “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with the law”; that is, “hold unlawful and set

aside” the facially defective agency action. 5 U.S.C. § 706(2)(emphasis added). DHS’s

suggestion here that the court must also sharply limit the scope of its injunction, by

holding that the agency’s unlawful rule is to be deemed invalid only with respect to the

plaintiff who appears in the case at bar, is nowhere in the statute. And many years ago,

a prescient panel of the D.C. Circuit addressed this very issue and explained why that is

so: the panel clearly stated, pursuant to “[t]raditional administrative law principles[,]”

that “[w]hen a reviewing court determines that agency regulations are unlawful, the

ordinary result is that the rules are vacated—not that their application to the individual

petitioners is proscribed.” Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir.

1989).

         Nearly a decade later, in National Mining Association v. United States Army

Corps of Engineers, 145 F.3d 1399 (D.C. Cir. 1998), the D.C. Circuit went further, to

point out that its view of the traditional scope of the remedy when a court determines

that an agency rule is facially invalid under the APA—i.e., that the court must

invalidate the agency’s rule—was shared by “all nine Justices” of the Supreme Court as

well, and was best expressed by Justice Blackmun, writing in dissent in Lujan v.

National Wildlife Federation, 497 U.S. 871 (1990):

         The Administrative Procedure Act permits suit to be brought by any
         person “adversely affected or aggrieved by agency action.” 5 U.S.C.
         § 702. In some cases the “agency action” will consist of a rule of
         broad applicability; and if the plaintiff prevails, the result is that the



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       rule is invalidated, not simply that the court forbids its application
       to a particular individual. Under these circumstances a single
       plaintiff, so long as he is injured by the rule, may obtain
       “programmatic” relief that affects the rights of parties not before the
       court.

Nat’l Min. Ass’n, 145 F.3d at 1409 (quoting Lujan, 497 U.S. at 913 (Blackmun, J.,

dissenting)).

       Notably, both Justice Blackmun and the D.C. Circuit also addressed, and put to

rest, the suggestion that the remedy called for by the APA necessarily constitutes a

disfavored “nationwide” injunction. Justice Blackmun ably explained the difference

when he emphasized that, if an agency’s rule is deemed facially invalid, then the

appropriate remedy under the APA is for the court to prohibit the rule’s applicability in

any and all circumstances, a ruling that unavoidably redounds to the benefit of parties

“not before the court.” Id. (citation omitted). “On the other hand,” if a court concludes

that “a generally lawful policy is applied in an illegal manner on a particular occasion,

one who is injured is not thereby entitled to challenge other applications of the rule.”

Id. The D.C. Circuit similarly flatly rejected the defendant agency’s reliance on a case

that had cast doubt on the propriety of nationwide injunctions (Baeder v. Heckler, 768

F.2d 547 (3d Cir. 1985)) to support the agency’s contention that “a court in some

circumstances may not order a nationwide injunction even after holding a regulation

invalid.” Nat’l Min. Ass’n, 145 F.3d at 1409. In response, the National Mining

Association panel explained that Baeder “did not involve a facial challenge to the

validity of a regulation; the Third Circuit [had] held simply that a sweeping injunction

would not be a proper remedy ‘in the context of [an individual plaintiff’s] claim for




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disability benefits.’” Id. (second alteration in original) (emphasis added) (quoting

Baeder, 768 F.2d at 553).

        In light of the unambiguous remedial requirements set forth in the APA, as

unequivocally discussed by the D.C. Circuit in the National Mining Association case, it

is hard for the Court to understand why DHS still insists that any injunction this Court

enters “would need to be strictly limited to individual aliens who are members of the

organizations currently in expedited removal and actually identified by plaintiffs in this

suit.” (Defs.’ Opp’n at 75; see also PM Hr’g Tr. at 131:17–132:19.) To the contrary,

the mandate that a federal court must invalidate an agency rule if it discovers fatal

procedural defects that make the rule invalid on its face is spelled out plainly in section

706 of the APA. See O.A., 2019 WL 3536334, at *2. Additionally, the bizarreness of

Defendants’ unexplained suggestion that the required remedy for a procedurally invalid

agency rule turns on whether the plaintiffs have “invoke[d] associational standing”

(Defs.’ Opp’n at 75; see also PM Hr’g Tr. at 132:4–7) cannot be overstated. Likewise,

Defendants’ attempt to support its limited-injunction argument by constructing a

convoluted narrative in which section 1252(e)(3) of the INA somehow overrides

traditional understandings of what is supposed to happen when a federal court

invalidates an agency rule as violative of procedural mandates of the APA misses the

mark. 37


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  In this regard, DHS argues that the INA’s section 1252(e)(1) limits any available remedies to those
provided for in section 1252(e)(3), which DHS interprets to authorize only a “‘determination[]’ on the
merits of ‘whether [section 1225(b)], or any regulation issued to implement such section, is
constitutional’ or . . . ‘is not consistent with applicable provisions of this subchapter or is otherwise in
violation of law.’” (Defs.’ Opp’n at 76 (alterations in original) (ellipsis added) (quoting 8 U.S.C.
§ 1252(e)(3)(A)(i), (ii)).) Thus, DHS asserts that section 1252(e)(3) authorizes only declarative relief,
and not injunctive relief. According to DHS, only section 1252(f) provides for interim injunctive relief,
and that provision prohibits the Court from “restrain[ing] the operation of the provisions of part IV of
this subchapter,” which includes section 1225(b)(1). 8 U.S.C. § 1252(f)(1); (see also Defs.’ Opp’n at


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        Importantly, the scope-of-remedy principle that is laid out in the APA and is

echoed in the clear pronouncements of both the Supreme Court and the D.C. Circuit

also reflects a common-sense understanding of what it means for a court to determine,

at the conclusion of a case, that a formerly binding legal act of one of the parties is null

and void. Take a contract, for example. Imagine if, instead of promulgating a rule,

DHS had drafted a contract that it intended to bind all of its affiliates throughout the

entire country, but, as it turns out (after a bout of litigation), a court rules that there are

defects in the drafting of the agreement that render the contract invalid from the start

(i.e., void ab initio). It would be manifestly unreasonable for the agency to argue that,

nevertheless, the contract should still be considered legally valid in some

circumstances, and that the court can only deem it invalid with respect to the particular

plaintiff who brought the defect to the court’s attention. With that peculiar argument,

the agency would, in effect, be seeking the court’s blessing of its continued application

of the contract’s invalid clauses in all of the other circumstances in which the agency

chose to apply it, despite the court’s pronouncements about the invalidity of the

agreement (which, presumably, the agency might still opt to appeal, or not).

                                                * * *

        Second, although DHS actively promotes this limited-injunction proposal, it has

offered little help as this Court has attempted to envision what the proposed “sharply

limited” injunction would look like in this context, as a practical matter. (Defs.’ Opp’n

at 75.) The agency simply parrots the Supreme Court’s general statement (made in



76). Of course, the interim relief that Plaintiffs are requesting has nothing whatsoever to do with
restraining the operation of the statute. And, in any event, DHS’s house of cards depends, almost
entirely, on an interpretation of “determinations” in section 1252(e)(3) that seems implausible.


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another context) that “[a] plaintiff’s remedy must be tailored to redress the plaintiff’s

particular injury.” (Id. (quoting Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018)).) Even

setting aside the fact that a court’s invalidation of a procedurally improper rule actually

does redress the injury that an APA plaintiff presents, DHS’s reliance on such generally

applicable statements goes only so far, and it does not distract from the nagging reality

that federal administrative agencies promulgate rules in all sorts of contexts, and such

rules regulate all sorts of conduct. Indeed, a world in which this Court would be

required to order an administrative agency to isolate the effects of a procedurally

invalid rule and terminate its impacts only with respect to a particular plaintiff has lots

of slippery slopes.

       As an example, consider the request for a preliminary injunction that this Court

evaluated in the case of Food & Water Watch, Inc. v. Vilsack, 79 F. Supp. 3d 174

(D.D.C. 2015), aff’d 808 F.3d 905 (D.C. Cir. 2015). The plaintiffs in that matter were

“two individual-plaintiff poultry consumers and an organization[,]” and they challenged

the United States Department of Agriculture’s Food Safety and Inspection Service’s

promulgation of new inspection procedures for poultry-processing establishments. Id.

at 178. Before the Department of Agriculture’s new rule was adopted, regulations had

“require[d] federal inspectors to be stationed at fixed points along the slaughter lines

within poultry-processing establishments” and also “mandate[d] that the federal

inspectors themselves control and direct the inspection process, including using sight,

touch, and smell to inspect each poultry carcass that travels down the line, with the

assistance of the establishments’ employees.” Id. (citation omitted). Plaintiffs sought a

preliminary injunction to enjoin enforcement of the newly promulgated regulations,




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which required “far fewer federal inspectors [to] be stationed along the slaughter lines”

and allowed “the employees themselves [to] conduct a preliminary screening of the

carcasses before presenting the poultry to a federal inspector for a visual-only

inspection.” Id. at 178–79 (citation omitted).

       In the actual Food & Water Watch case, this Court denied the plaintiffs’

emergency request that it enjoin the Department of Agriculture’s rule change, see id. at

206, but as the Court struggles to contemplate DHS’s proposed limited-injunction

remedy in the instant case, it finds it fair to ask: what if the plaintiffs in Food & Water

Watch had prevailed? Would DHS seriously maintain that the Court would have to

order that the Department of Agriculture somehow find a way to have poultry-

processing establishments inspect only those chickens that those particular plaintiffs—

one of which was an organization—would purchase (or consume?) in the manner

previously required, while otherwise allowing the agency to proceed to require poultry-

processors to inspect all other chicken carcasses as required by the new regulations?

And could that agency ever, realistically, comply with any such requirement?

       Perhaps, to avoid being held in contempt of the Court’s sharply limited

injunction, the Department of Agriculture could find a way to dispatch specified poultry

inspectors to specified poultry processing facilities to examine poultry that was

earmarked for the plaintiffs in accordance with the prior procedures, even as the bulk of

the nation’s poultry processing continued apace under the invalidated new rule. But

keeping the plaintiffs’ poultry segregated from the rest throughout the entire chain of

production could prove tricky, to say the least. Plus, the sheer cost of maintaining both

the old and new world orders with respect to the demanding and detailed poultry-




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inspection process would likely be prohibitive; thus, the plaintiffs would eventually

complain that the agency was cutting corners and that, despite their right to have their

chickens processed under the old rules, they were still at risk of having the new rule

applied to the chickens delivered to their tables. Calls for increased supervision, if not

an outright ban, would likely follow, potentially resulting in the very same legal

response that the plaintiffs initially asked for, and the agency decried.

       This striking scenario suggests that, while it might sound good in theory to

contend that any injunctive relief must be “strictly limited” to the instant plaintiffs

(Defs.’ Opp’n at 75), DHS has no good answer to the obvious practical problems that

partial invalidation of agency rules—including and especially rules that pertain to food,

air, and water—would pose. Even the partial invalidation of the instant rule—i.e., an

injunction that would enjoin DHS from enforcing the July 23rd Notice’s expansion of

expedited removal procedures only with respect to “individual aliens who are members

of the organizations currently in expedited removal and actually identified by plaintiffs

in this suit” (id.)—would create nearly insurmountable practical problems, because to

claim their prize of not being subjected to expedited removal by court order, the

undocumented non-citizens who are members of Plaintiffs’ organizations would first

have to identify themselves to the government, which, of course, is the first step in a

chain of events that might well lead to their deportation (cf. PM Hr’g Tr. at 140:15–19

(statement of defense counsel that “[y]ou have members, you have won your case.

Congratulations. Give us the names, they are not getting removed”)).

       It is clear beyond cavil, then, that whatever its merits as a theory, the remedy

that a federal court orders for an established violation of the law must also work in




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practice. And by this important measure, DHS’s proposed “sharply limited” injunction

falls far short.

                                          * * *

       Third, and finally, Defendants’ limited-injunction argument appears to reflect a

spirit of defiance of judicial authority in the aftermath of defeat that is not easily

reconciled with established constitutional norms or with standard, good faith practices

that seek to ensure that a successful plaintiff is made whole.

       In this regard, the jurisprudence that undergirds the Court’s concerns is well

established. It begins with the recognition that, while federal courts have limited power

in the constitutional framework (i.e., they can rule only on the cases and controversies

that are brought to them), since the days of Chief Justice John Marshall, it has been

universally accepted that federal courts do have the power to determine what the law is.

See Marbury v. Madison, 5 U.S. 137, 177 (1803) (“It is emphatically the province and

duty of the judicial department to say what the law is.”). Thus, in this respect, the

courts have the power to govern parties’ conduct going forward. The conceptual

problem with Defendants’ proposed limited-injunction remedy is that, when considered

in the context of a federal court’s review of agency action, it suggests that the court

cannot, in fact, announce the governing legal principle or otherwise tell the agency

what the law demands with respect to its behavior in the future. Rather, DHS maintains

that a federal district court can identify only the law that the agency will be obliged to

follow in its dealings with the particular plaintiff who has brought that particular

case—a suggestion that simultaneously enlarges agency power and undercuts judicial

authority, by undermining the courts’ ability to rule with precedential force.




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       And, of course, where the authority of the judiciary is diminished, the power of

the executive branch expands. At bottom, DHS’s position appears to be that an agency

need not curb its appetite for widespread application of an invalid rule that it likes,

regardless of what a federal court has said. Moreover, any agency that persists in

applying a rule that a federal court has deemed facially invalid under the APA (so long

it is not applied to the successful plaintiff) is undeterred even more broadly; that is, if

the agency can continue to impose preferred (yet procedurally invalid) rules on anyone

who is not that plaintiff, what incentive does it have to conform its rulemaking practices

to the APA’s requirements going forward?

       Thus, because our constitutional system clearly contemplates that the judiciary

will have the power to check the conduct of executive branch officials who violate the

law, DHS’s contention that the agency should be deemed to have the unfettered ability

to carry on with respect to pronounced unlawful behavior—in the wake of a ruling by a

federal judge that the particular conduct at issue (i.e., enforcement of a procedurally

invalid rule) violates a federal statute, and before the case has run its course through the

courts of appeals—is quite troubling. What is more, DHS makes the astonishing

suggestion that the Court itself should declare that, after a plaintiff successfully

establishes that an agency rule violates the law, the federal courts must stand

impotently by while the agency acts in direct defiance of that court’s legal

determination by continuing to apply the invalid rule with respect to any person who is

not the individual who filed the legal action that is before the Court. Given the

historical legions of aggrieved plaintiffs who have rightfully turned to the federal courts

for enforcement of federal statutes that constrain illegal and harmful government action,




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DHS’s limited-remedy claim has broad implications and is, quite frankly, untenable. At

the very least, it appears that DHS’s efforts to champion an agency’s ability to press its

prerogatives however it wants after being told specifically, by a federal court, that the

law requires cessation of that behavior, conflicts with core constitutional norms.

       Meanwhile, if a limited injunction does not incentivize the agency to rework the

invalid rule in accordance with the requirements of the APA (and why would it?), then

the plaintiff who wins in an APA lawsuit is deprived of the full measure of his well-

earned right to enforce the statute’s mandates. Here, DHS obscures this outcome, by

insisting that “an injunction as to aliens actually in expedited removal proceedings

who[m] Plaintiffs identify as dues paying members would provide them full interim

relief.” (Defs.’ Opp’n at 75 (emphasis added).) But that argument assumes that the

only thing that matters to a plaintiff who files a legal action under the APA is that, if

he’s successful, the agency cannot bind him with its invalid rule. Considering the

APA’s procedural requirements, that assumption is unfounded.

       Recall that the APA establishes the public’s right to have input into the

rulemaking process and to be bound by agency rules that are the product of reasoned

decision making that has been informed by all of the relevant facts. Thus, a plaintiff

who has sued to enforce those requirements seeks more than just the knowledge that the

agency’s invalid rule will not be applied to him. Indeed, that APA claim consists of the

contention that the plaintiff was improperly prevented from having a chance to

influence agency decisionmakers before they promulgated the rule, and/or that the

agency has exercised its discretion without taking relevant facts and circumstances into

account. And if the agency keeps on applying its uncounseled, uninformed rule to




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others despite the plaintiff’s success in persuading the court that the rule is procedurally

invalid, then the plaintiff loses his shot of persuading the agency to craft the rule in a

different way, in light of additional information, which is precisely the procedural right

that the APA protects.

       Put another way—and, in a sense, coming full circle, back to the core purposes

of the APA’s procedural mandates—to remedy an agency’s procedural violations of the

APA entirely, it is not enough for a court to prevent the application of the facially

invalid rule to a particular plaintiff, as DHS maintains, because the true gravamen of an

APA claim is not that the agency has exercised its discretion to select a policy with

which the plaintiff disagrees and to promulgate a rule that the plaintiff does not

endorse. Instead, under the APA, the plaintiff’s claim is that the agency has breached

the plaintiff’s (and the public’s) entitlement to non-arbitrary decision making and/or

their right to participate in the rulemaking process when the agency undertook to

promulgate the rule. Consequently, to provide the relief that any APA plaintiff is

entitled to receive for establishing that an agency’s rule is procedurally invalid, the rule

must be invalidated, so as to give interested parties (the plaintiff, the agency, and the

public) a meaningful opportunity to try again.


VI.    CONCLUSION

       For the reasons explained at considerable length in the preceding discussion, this

Court finds that Plaintiffs’ motion for a preliminary injunction (ECF No.13) must be

GRANTED, and therefore, Defendants will be PRELIMINARILY ENJOINED from

enforcing the policy change that Acting DHS Secretary McAleenan implemented with

the July 23rd Notice, pending the outcome of the litigation before this Court, as set



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forth in the accompanying Order. Consistent with the language of the APA, the Federal

Rules of Civil Procedure, and established constitutional norms, the Court’s preliminary

injunction treats the expanded expedited removal rule laid out in DHS’s July 23rd

Notice as void ab initio during the pendency of this action, based on the Court’s

preliminary finding that Plaintiffs are likely to be successful on the merits of their APA

claims; that Plaintiffs’ members would be irreparably harmed by the challenged agency

action in the absence of a preliminary injunction; and that both the public interest and

the balance of the harms weigh in favor of the issuance of a preliminary injunction.

Consequently, DHS is prohibited from applying the expanded expedited removal policy

to anyone to whom it would apply, while this action proceeds, until further Order of the

Court.



DATE: September 27, 2019                 Ketanji Brown Jackson
                                         KETANJI BROWN JACKSON
                                         United States District Judge




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8 U.S.C. § 1252(a). Applicable Provisions

...

(2) Matters not subject to judicial review

      (A) Review relating to section 1225(b)(1)

          Notwithstanding any other provision of law (statutory or nonstatutory),
          including section 2241 of Title 28, or any other habeas corpus provision, and
          sections 1361 and 1651 of such title, no court shall have jurisdiction to
          review—

             (i) except as provided in subsection (e), any individual determination or
                 to entertain any other cause or claim arising from or relating to the
                 implementation or operation of an order of removal pursuant to
                 section 1225(b)(1) of this title,

             (ii) except as provided in subsection (e), a decision by the Attorney
                  General to invoke the provisions of such section,

             (iii) the application of such section to individual aliens, including the
                  determination made under section 1225(b)(1)(B) of this title, or

             (iv) except as provided in subsection (e), procedures and policies adopted
                  by the Attorney General to implement the provisions of section
                  1225(b)(1) of this title.

      (B) Denials of discretionary relief

          Notwithstanding any other provision of law (statutory or nonstatutory),
          including section 2241 of Title 28, or any other habeas corpus provision, and
          sections 1361 and 1651 of such title, and except as provided in subparagraph
          (D), and regardless of whether the judgment, decision, or action is made in
          removal proceedings, no court shall have jurisdiction to review—

             (i) any judgment regarding the granting of relief under section 1182(h),
                 1182(i), 1229b, 1229c, or 1255 of this title, or

             (ii) any other decision or action of the Attorney General or the Secretary
                  of Homeland Security the authority for which is specified under this
                  subchapter to be in the discretion of the Attorney General or the
                  Secretary of Homeland Security, other than the granting of relief
                  under section 1158(a) of this title.




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      (C) Orders against criminal aliens

          Notwithstanding any other provision of law (statutory or nonstatutory),
          including section 2241 of Title 28, or any other habeas corpus provision, and
          sections 1361 and 1651 of such title, and except as provided in subparagraph
          (D), no court shall have jurisdiction to review any final order of removal
          against an alien who is removable by reason of having committed a criminal
          offense covered in section 1182(a)(2) or 1227(a)(2)(A)(iii), (B), (C), or (D)
          of this title, or any offense covered by section 1227(a)(2)(A)(ii) of this title
          for which both predicate offenses are, without regard to their date of
          commission, otherwise covered by section 1227(a)(2)(A)(i) of this title.

      (D) Judicial review of certain legal claims

          Nothing in subparagraph (B) or (C), or in any other provision of this chapter
          (other than this section) which limits or eliminates judicial review, shall be
          construed as precluding review of constitutional claims or questions of law
          raised upon a petition for review filed with an appropriate court of appeals in
          accordance with this section.


                                     *      *       *


U.S.C. § 1252(e). Judicial review of orders under section 1225(b)(1)

(1) Limitations on relief

    Without regard to the nature of the action or claim and without regard to the
    identity of the party or parties bringing the action, no court may—

      (A) enter declaratory, injunctive, or other equitable relief in any action
          pertaining to an order to exclude an alien in accordance with section
          1225(b)(1) of this title except as specifically authorized in a subsequent
          paragraph of this subsection, or

      (B) certify a class under Rule 23 of the Federal Rules of Civil Procedure in any
          action for which judicial review is authorized under a subsequent paragraph
          of this subsection.

(2) Habeas corpus proceedings

    Judicial review of any determination made under section 1225(b)(1) of this title is
    available in habeas corpus proceedings, but shall be limited to determinations of--

      (A) whether the petitioner is an alien,



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      (B) whether the petitioner was ordered removed under such section, and

      (C) whether the petitioner can prove by a preponderance of the evidence that the
          petitioner is an alien lawfully admitted for permanent residence, has been
          admitted as a refugee under section 1157 of this title, or has been granted
          asylum under section 1158 of this title, such status not having been
          terminated, and is entitled to such further inquiry as prescribed by the
          Attorney General pursuant to section 1225(b)(1)(C) of this title.

(3) Challenges on validity of the system

      (A) In general

          Judicial review of determinations under section 1225(b) of this title and its
          implementation is available in an action instituted in the United States
          District Court for the District of Columbia, but shall be limited to
          determinations of--

             (i) whether such section, or any regulation issued to implement such
                 section, is constitutional; or

             (ii) whether such a regulation, or a written policy directive, written policy
                  guideline, or written procedure issued by or under the authority of the
                  Attorney General to implement such section, is not consistent with
                  applicable provisions of this subchapter or is otherwise in violation of
                  law.

      (B) Deadlines for bringing actions

          Any action instituted under this paragraph must be filed no later than 60 days
          after the date the challenged section, regulation, directive, guideline, or
          procedure described in clause (i) or (ii) of subparagraph (A) is first
          implemented.

      (C) Notice of appeal

          A notice of appeal of an order issued by the District Court under this
          paragraph may be filed not later than 30 days after the date of issuance of
          such order.

      (D) Expeditious consideration of cases

          It shall be the duty of the District Court, the Court of Appeals, and the
          Supreme Court of the United States to advance on the docket and to expedite
          to the greatest possible extent the disposition of any case considered under



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          this paragraph.

(4) Decision

   In any case where the court determines that the petitioner--

      (A) is an alien who was not ordered removed under section 1225(b)(1) of this
          title, or

      (B) has demonstrated by a preponderance of the evidence that the alien is an
          alien lawfully admitted for permanent residence, has been admitted as a
          refugee under section 1157 of this title, or has been granted asylum under
          section 1158 of this title, the court may order no remedy or relief other than
          to require that the petitioner be provided a hearing in accordance with
          section 1229a of this title. Any alien who is provided a hearing under section
          1229a of this title pursuant to this paragraph may thereafter obtain judicial
          review of any resulting final order of removal pursuant to subsection (a)(1).

(5) Scope of inquiry

   In determining whether an alien has been ordered removed under section 1225(b)(1)
   of this title, the court's inquiry shall be limited to whether such an order in fact was
   issued and whether it relates to the petitioner. There shall be no review of whether
   the alien is actually inadmissible or entitled to any relief from removal.


                                     *      *       *




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